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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION



UNITED STATES OF AMERICA,                      )
                                               )
                 Plaintiff,                    )
                                               )
TEXAS LEAGUE OF YOUNG VOTERS                   )
EDUCATION FUND; and IMANI CLARK,               )   Civ. No. 2:13-cv-00263
                                               )
           Plaintiff-Intervenors,              )
                                               )
                     v.                        )
                                               )
STATE OF TEXAS; NANDITA BERRY, in              )
her official capacity as Texas Secretary of    )
State; and STEVE McCRAW, in his official       )
capacity as Director of the Texas Department   )
of Public Safety,                              )
                                               )
                Defendants.                    )



                                    EXPERT REPORT
                                            OF
                                Orville Vernon Burton, Ph.D.



       ON BEHALF OF PLAINTIFF-INTERVENORS THE TEXAS LEAGUE OF
            YOUNG VOTERS EDUCATION FUND AND IMANI CLARK
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I. INTRODUCTION

       I was asked by the NAACP Legal Defense and Educational Fund, Inc. (“LDF”) to render

an expert opinion regarding Senate Bill 14 (SB 14), the voter photo identification (ID) law

passed by the State of Texas’s 82nd legislature, signed by the Texas Governor in 2011, and im-

plemented in 2013. My report assesses the social and historical conditions in Texas, including

past and present official acts of racial discrimination, to determine whether SB 14 causes an ine-

quality in opportunities for African Americans and other minorities in Texas to vote in-person

and to otherwise participate in the electoral process. I conclude that, based on the totality of the

circumstances, SB 14 results in the disproportionate disfranchisement of African-American and

other minority voters because of race. Additionally, my analysis of the totality of the circum-

stances together with other factors related to the timing and legislative history of SB 14 strongly

suggests that Texas enacted and implemented the law with discriminatory intent.

       My analysis of the totality of the circumstances, which is based on the presence of Senate

Factors 1, 5, 6, and 9, as well as related historical facts, shows that SB 14 limits the ability of Af-

rican-American, Latino, and other minority voters to participate equally in Texas elections.

Throughout its history and into the present, Texas has implemented various disfranchising devic-

es similar to SB 14 in purpose and effect, including poll taxes and re-registration requirements.

Each of these devices was later invalidated by either the Voting Rights Act or the U.S. Constitu-

tion and, like SB 14, these devices acted as discriminatory prerequisites to even casting a ballot.

Also like SB 14, these predecessor “race-neutral” disfranchising devices erected unnecessarily

restrictive barriers to lawful African-American and minority voters’ access to the ballot and re-

lied on socioeconomic disparities, which themselves sprang from Texas’s state-sponsorship of

racial discrimination, to disproportionately prevent minorities from voting. Today, SB 14 inter-



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acts with racial disparities in education, employment, housing, and transportation to substantially

burden African-American and minority voters who must overcome significantly more financial

and logistical difficulties to comply with SB 14. Moreover, Texas’s stated impetus for passing

SB 14, i.e., the prevention of “voter fraud,” is not a novel pretext for discrimination: it is the very

same rationale that Texas has repeatedly used to pass laws that disfranchise minority voters.

        Thus, SB 14 represents a modern day continuation of Texas’s longstanding practice of

passing election laws that make it harder for African-American and other minority citizens to

vote. As my report demonstrates, the broader social and historical conditions in Texas result in

African Americans and other minorities disproportionately bearing the adverse effects of SB 14

because of their race. The report also concludes that these discriminatory results are intentional.

II. QUALIFICATIONS AND PROCESS

   A.      Professional Background and Experience

        I am Creativity Professor of Humanities, History, Sociology, and Computer Science at

Clemson University, as well as the Director of the Clemson CyberInstitute. From 2008 to 2010, I

was the Burroughs Distinguished Professor of Southern History and Culture at Coastal Carolina

University. I am emeritus University Distinguished Teacher/Scholar, University Scholar, Professor

of History, African American Studies, and Sociology at the University of Illinois. My research

and writing focus on American History and particularly on race relations. For the past four dec-

ades I have taught courses in U.S. History, Southern History, race and politics, the civil rights

movement, race relations, discrimination, ethnicity, family, and community. I am a Senior Re-

search Scientist at the National Center for Supercomputing Applications (NCSA) where I was

Associate Director for Humanities and Social Sciences (2004-2010). I was also the founding Di-




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rector of the Institute for Computing in Humanities, Arts, and Social Science (I-CHASS) at the

University of Illinois, and currently chair the Advisory Board.

       I have been recognized by my peers and was elected president of the Southern Historical

Association and of the Agricultural History Society and elected to the Society of American His-

torians. I was also elected as president of Faculty Senate at the University of Illinois and for the

three-campus University Senate conferences.

       I have extensive experience in analyzing social and economic status, discrimination, and

intent in voting rights cases and group voting behavior. I have been qualified as an expert in the

fields of districting, reapportionment, and racial voting patterns and behavior in elections in the

United States. I have been retained to serve as an expert witness and consultant in numerous vot-

ing rights cases by the Voting Section of the Division of Civil Rights of the United States DOJ,

the Voting Rights Project of the Southern Regional Office of the American Civil Liberties Un-

ion, the Brennan Center, the NAACP, the Mexican American Legal Defense and Educational

Fund, the California Rural Legal Association, the League of United Latin American Citizens, the

Lawyers’ Committee for Civil Rights Under Law, the Legal Services Corporation, and other indi-

viduals and groups. A detailed record of my professional qualifications is set forth in Appendix

A, attached “Orville Vernon Burton, Biography and Curriculum Vitae.” I am being compensated

at my customary rate of $200 per hour for my work on this report, including any deposition tes-

timony or testimony in court, however, I have agreed to limit total compensation in this matter.

       To the best of my knowledge and memory, in the last five years I have given testimony

and/or depositions in the following cases: (i) Perez v. Perry (case number 11CV00360 W.D.

Tex.); (ii) South Carolina v. United States (case number 1:12-cv-00203 D.D.C.); and (iii) in

2012, in the habeas proceeding of Albert Woodfox (case number 3:06-00789 M.D. La.).



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   B.      Statement of Inquiry and Description of Sources and Method

        I have examined a wide range of sources, including published works by historians, po-

litical scientists, and sociologists, newspapers, census reports, trial transcripts, deposition

transcripts, legislative journals, and other government documents and reports. (See Appendix

C: Materials Relied Upon). Particularly important to my investigation was the previous trial

records both for the latest round of redistricting where the court found that there was purpose-

ful intent to dilute the votes of people of color, Texas v. United States (case number 11-1303

D.D.C.), and also Texas’s suit seeking judicial preclearance of SB 14, Texas v. Holder (case

number 12-cv-128 D.D.C.). Especially useful were expert witness reports from those cases. I

also studied emails, blogs, and materials prepared by different organizations about the voter

ID law, press releases from legislators, and reports from special interest groups, election data,

and campaign ads, both TV commercials and mailings. For the most part, I gathered these ma-

terials independently or with the help of my research assistant, Beatrice Burton, a History Ph.D.

candidate and independent scholar. In some cases I requested specific documents which were

supplied by the attorneys for the Plaintiff-Intervenors.

        In preparing my report and my testimony in this case, I used sources that social scien-

tists commonly consult in investigating questions of this nature. The methodology that I have

employed in preparing my report is the same methodology experts in the fields of history and

sociology regularly employ when examining issues of the sort investigated here. Historians

are trained to determine motivation and intent. In investigating motivating factors of a particu-

lar act of legislation, historians look carefully at the historical background of the decision and

consider and evaluate the views expressed by decision-makers on related issues. Historians

study the specific sequence of events leading to the decision (including whether there has



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been a departure from the usual practices or procedures of the decision-making body), and

finally, analyze the anticipated or foreseen effect of the change. My selection and use of

sources and methodology for determining that SB 14 results in discrimination “because of

race” are consistent with the accepted standards of the field.

III. THE TOTALITY OF THE CIRCUMSTANCES

        In assessing the totality of the circumstances, I have used assumptions, methods, and ana-

lytical principles consistent with those employed by historians to determine a law’s effect. In

1982, with the 25-year renewal of the Voting Rights Act, the Senate Judiciary Committee issued

a report to accompany the amended Section 2, generally referred to as the Senate Report. The

U.S. Supreme Court has called the Senate Report “the authoritative source” on the meaning of

the amended statute. The Senate Report identified factors, taken from the Supreme Court’s anal-

ysis in White v. Regester, and the Fifth Circuit’s related decision in Zimmer v. McKeithen, that

are now commonly called “Senate Factors.” The Senate Factors provide a way of organizing an

independently verifiable historical/sociological analysis. Relying on Senate Factors 1, 5, 6, and

9, I conclude that SB 14 interacts with historical and social conditions in a way that dispropor-

tionally affects the ability of minorities to participate in the political process on account of their

race. From my totality of the circumstances analysis, the timing and legislative history of SB 14,

and other factors, I infer that SB 14 was enacted and implemented with a discriminatory intent.

   A.      Senate Factor 1: The History of Official Discrimination in Texas Voting

        The atmosphere that led to the enactment of SB 14 can only be fully understood in the

context of Texas’s longstanding official sponsorship and enforcement of various racially dis-

criminatory voting devices. “Texas has a long history of discrimination that has touched upon

the rights of African-Americans and Hispanics to register, to vote, or to participate otherwise in



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the electoral process. Devices such as the poll tax, an all-white primary system, and restrictive

voter registration time periods are an unfortunate part of this State’s minority voting rights his-

tory.”1 This history stretches back to the late nineteenth century, when voter registration re-

quirements were first used in Texas and elsewhere to disfranchise formerly enslaved African

Americans who were often required, but unable, to answer, questions of election officials about

their identity, since many did not know their exact age or place of birth. 2 Since then, Texas “has

been a major battleground on which the struggle over minority voting rights has occurred.” 3 In

many ways, SB 14 acts as a modern-day version of the poll tax, restrictive voter registration

laws, and similar devices.

                 1. All-white primary elections (1895-1944)

        The all-white primary came on the heels of the end of Reconstruction, a time when

emancipated slaves and other minority men first gained access to the ballot. For half a century,

the all-white primary elections in Texas served as an outright prohibition for African Americans

and other minority voters to participate in state general elections.4 As a traditional practice, this

method of disfranchisement started in the 1890s. Not coincidentally, the 1890s also saw the

Democratic Party’s rule threatened by the Populist Party, a multiracial coalition of poorer voters.




1
  League of United Latin American Citizens v. Perry, 548 US 399, 439-440 (2006) (quoting Vera v. Richards, 861 F.
Supp. 1304, 1317 (SD Tex. 1994)).
         Notably, my own expert witness report for the NAACP and LULAC from the 2003 redistricting trial is
available as part of the record before Congress in regard to the 2006 Reauthorization Act: see Voting Rights Act:
Evidence of Continued Need: Hearing Before the Subcomm. on the Constitution of the H. Comm. on the Judiciary,
109th Cong. Volume III 3063-3090 (2006).
2
  Brief Amici Curiae Of Historians And Other Scholars In Support Of Petitioners,” Crawford v. Marion County
Election Board et al. p. 7, 9; see also Minnite, The Myth of Voter Fraud, p. 25. (“[V]oter registration requirements
were designed and used to block voting by certain groups of people.”).
3
  Robert Brischetto et al., “Texas,” in Quiet Revolution in the South: The Impact of the Voting Rights Act ed. Chan-
dler Davis and Bernard Grofman (Princeton: Princeton University Press, 1994), 233..
4
  Brischetto et al., “Texas,” 236-39 has an excellent summary of the white primary, and table 8.9, Major Disfran-
chising Devices in Texas, p. 269 features the white primary.


                                                         6
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        The rise of the white primary in Texas began in 1895 when the Texas legislature first

supported efforts to pass a law requiring political parties to hold primary elections.5 In doing so,

Texas recognized political parties as a functional segment of the State’s governmental machin-

ery. Political parties also could set their own racist qualifications for who could participate in the

primaries. The Terrell Election Law of 1905 formalized this loose system: Texas state law now

encouraged both of the major parties, and the county election committees, to more widely adopt

the then-existing voter qualifications that directly barred African-American and other minority

voters from primary elections.6

        Because of restrictive voter qualifications, by the early twentieth century, the Democratic

Party was the only relevant party in Texas, so keeping African-American and other minority vot-

ers out of the Democratic primary amounted to total disfranchisement. 7 Professor David Mon-

tejano writes that one of the stated purposes of the Terrell Law was to prevent opening “the flood

gates for illegal voting as one person could buy up the Mexican and Negro votes,” i.e., to prevent

voter fraud. The effective result of the all-white primary system, however, writes Montejano,

was to prevent legitimate minority voters from participating in the nomination process in Texas.

For example, the Dimmit County newspaper reported on 12 June 1914 that the “White Man’s

Primary Association,” as the local white primary system was known, “absolutely eliminates the

Mexican vote as a factor in nominating county candidates, though we graciously grant the Mexi-

can the privilege of voting for them afterwards.”8 Thus, under the guise of preventing “fraud,”




5
  Henry Allen Bullock, “The Expansion of Negro Suffrage in Texas,” (The Journal of Negro Education: 1957), 370.
6
  Brischetto et al., “Texas,” 235, 237 n.37; J. Morgan Kousser, The Shaping of Southern Politics: Suffrage Re-
striction and the Establishment of the One-Party South, 1880-1910 (New Haven: Yale University Press, 1974), 208
7
  See Table 8.9 in Brischetto et. al., “Texas,” 269.
8
  David Montejano, Anglos and Mexicans in the Making of Texas, 1836-1986 (Austin: University of Texas Press,
1987), 143-47.


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white primary laws also permitted white Democrats to control the votes of registered, but effec-

tively disfranchised, minority voters during the primary elections.

         In 1918, African Americans first successfully challenged a nonpartisan white primary

system in Waco, Texas.9 In response, the Texas State legislature in 1922 enacted a law providing

that any “qualified elector under the laws of the Constitution (Texas) who is a Democrat shall be

eligible to participate in Democratic primaries, but in no event shall a [N]egro participate in a

Democratic primary in the State of Texas, and ballots cast by Negroes are void.” 10 Any person

voting in a party primary had to affirm “I am a white and I am a Democrat.”11

         In 1924, African Americans filed a federal lawsuit to stop the enforcement the 1922 stat-

ute on the grounds that it violated the Fourteenth and Fifteenth Amendments and prevent Texas

from drawing a tighter stranglehold on African-American suffrage. The U.S. Supreme Court in

1927 declared the Texas statute unconstitutional.12 The Texas legislature immediately responded

by stipulating that every political party in the state, through its Executive Committee, “shall in its

own way determine who shall be qualified to vote or otherwise participate in such political par-

ty.”13 Promptly thereafter, the Democratic Party again banned all non-white voters from the par-

ty’s primary elections.14 The new law barred African-American and Latino voters alike. As M.

C. Gonzalez, a founder of League of United Latin American Citizens, noted in 1929, “the estab-


9
  Brischetto et al., “Texas,” 237.
10
   Henry Allen Bullock, “The Expansion of Negro Suffrage in Texas,” (The Journal of Negro Education: 1957),
370-71; Mark V. Tushnet, Making Civil Rights Law: Thurgood Marshall and the Supreme Court, 1936-1961 (New
York: Oxford University Press, 1994), 100. For more on the all-white primary, see Tushnet, Making Civil Rights
Law, 100-2, 104-7, 109-12 and Darlene Clark Hine, Black Victory: The Rise and Fall of the White Primary in Texas
(Columbia, MO: University of Missouri Press, 2003).
11
   Alwyn Barr, Reconstruction to Reform: Texas Politics, 1876-1906 (Austin: University of Texas, 1971); Patrick G.
Williams, “Suffrage Restrictions in Post-Reconstruction Texas: Urban Politics and the Specter of the Commune,”
Journal of Southern History Vol. 68, No.1 (Feb. 2002).
12
   Nixon v. Herndon, 273 U.S. 536 (1927).
13
   Henry Allen Bullock, “The Expansion of Negro Suffrage in Texas,” (The Journal of Negro Education: 1957),
370-71.
14
   Brischetto et al., “Texas,” 238.


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lishment of ‘white man’s’ primaries to prevent [B]lacks and Mexican Americans from exercising

their right to vote” was a significant burden faced by Latinos in the 1920s. Not until 1944 did the

Supreme Court also rule this form of the Texas white primary laws unconstitutional.15

                 2. Discriminatory Literacy and Polling Place Requirements (1905-1970)

         At the same time when Texas implemented the all-white primary, the state also disfran-

chised African-American and Latino voters through secret ballots and polling place laws that re-

stricted or barred assistance for illiterate voters. The Terrell Election Law of 1903 first estab-

lished the secret ballot in Texas, but still allowed white Democratic partisan election judges to

“assist” illiterate voters with reading and completing their ballots.16 Prior to that, political parties

would print ballots and hand them out to supporters.17 Enslaved African Americans had largely

been prohibited from learning to read,18 and, after the Civil War, educational opportunities for

African Americans remained severely limited19 and racially segregated.20 So the racial impact of

the new secret ballot law upon its enactment was clear: in 1900, 45.1% of adult African-

American men were illiterate; by comparison only 8.6% of white men in Texas were illiterate.21

Thus, those African Americans who could not navigate complex ballots alone were largely dis-

franchised.

         Texas polling place laws later went even further, fully prohibiting an illiterate person


15
   Brischetto et. al., “Texas,” 237-39, quote 237-38; Montejano, Anglos and Mexicans, 143-45; Davidson, Expert
Report, Vera v. Richards, 7; Smith v. Allwright, 321 U.S. 649 (1944).
16
   Kousser, Shaping of Southern Politics, 208
17
   Kousser, Shaping of Southern Politics, 50
18
   “Although Texas had no law against the education of slaves as did most southern states, opposition to their in-
struction produced a black population over 95 percent illiterate at the end of the Civil War.” Alwyn Barr, Black Tex-
ans: A History of African Americans in Texas, 1528-1995 (Norman, OK: University of Oklahoma Press, 1996), 23.
19
   Alwyn Barr, Black Texans, 64-65.
20
   The 1875 Texas Constitution stated that “Separate schools shall be provided for the white and colored children,
and impartial provision shall be made for both.” Constitution of the State of Texas, Adopted by the Constitutional
Convention, Begun and Held at the City of Austin, on the Sixth Day of September, 1875. Official. Galveston: Printed
at the “News” Steam Book and Job Establishment. [1875.] p. 14.
21
   Kousser, Shaping of Southern Politics 55 (Table 2.1).


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from receiving any help with voting.22 Latino and other citizens who did not speak English fared

no better under Texas laws. According to Montejano, “in 1918, the legislature passed a law elim-

inating the interpreter at the voting polls and stipulating, moreover, that no naturalized citizens

could receive assistance from the election judge unless they had been citizens for twenty-one

years.”23

         It was not until 1970 that a federal court invalidated these restrictions on assistance for

illiterate voters as unconstitutional. As that court held: “We cannot perceive how exercise of the

‘fundamental right to vote’ . . . can be more than an empty ritual if the right itself does not in-

clude the right to be informed of the effect that a given physical act of voting will produce.”24

                 3. The Poll Tax (1902-1966)

         The poll tax was also a critical part of Texas’s system of disfranchisement. In 1902, after

the growing, multiracial Populist coalition emerged in the 1890s as a political threat to the Dem-

ocrats, the Texas legislature passed a state constitutional amendment requiring the payment of a

poll tax as a prerequisite for voting. As one of Texas’s primary disfranchising devices, the poll

tax was aimed directly at African Americans, but also adversely affected other minorities and

poor whites who were Populist sympathizers. Because minority voters were disproportionately

poor, the cost of paying the poll tax kept their registration and turnout rates low for much of the

twentieth century. The poll tax, equivalent to $15.48 in today’s dollars, cost some African-

American and Mexican laborers in Texas most of a day’s wage.25




22
   Garza v. Smith, 320 F. Supp. 131, 131-33 (W.D.Tex.1970), vacated and remanded, 401 U.S. 1006 (1971), appeal
dismissed for lack of jurisdiction, 450 F.2d 790 (5th Cir. 1971); Montejano, Anglos and Mexicans, 143.
23
   Montejano, Anglos and Mexicans in the Making of Texas, 143.
24
   Garza, 320 F. Supp. at 133-39.
25
   Brischetto et. al., “Texas, ” 239-40 has a good summary of the poll tax in Texas; Davidson, “Expert Report,” 12.


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         As with SB 14 in 2011, the creation of a poll tax was justified as a means of preventing

voter fraud. A.W. Terrell, the chief architect of the Texas poll tax,26 summarized the pretext for

poll taxes: that they would “protect the citizen against machine politics, convention dictation,

and corrupt methods at the polls.”27 The view at the time was that, because it costs nothing to

cast a ballot, “votes are quite cheap” and were “frequently sold for a trifle.” Forcing each voter to

pay a poll tax increased “value” of the vote made it more difficult for “political machines,” i.e.,

any political movements that conservative Democrats viewed as a threat, to “buy” the votes of

poor African-American and Latino voters.28 “Proponents of the poll tax argued that the re-

striction would eliminate ‘irresponsible’ voters. Voting, according to these conservatives, was

not a natural right, but a privilege which the state should deny to those unwilling to pay the

tax.”29 An article in the Houston Telegraph argued: “Must the low, groveling, equal-before-the-

law, lazy, purchasable Negro, who pays no taxes, have the privilege of neutralizing the vote of a

good citizen and taxpayer? Ought the miserable apologies for men with white skins, who exer-

cise the right to vote only because it furnishes them with whiskey, be allowed to vote, if they

dont [sic] pay the state a pittance for its protection and the privileges afforded them?”30 The poll

tax was a means of eliminating “the thriftless, idle and semi-vagrant element of both races.”31

Stopping poor minorities and whites who were unable or unwilling to pay was justifiable be-

cause, argued supporters, the poll tax reduced fraud, and eliminated a “turbulent element which

is always threatening our free institutions.”32 The threat of voter fraud was even used to excuse


26
   Davidson, Expert Report, Vera v. Richards, 21.
27
   A.W. Terrell, “Purity of Ballot,” Dallas Morning News, March 8, 1906, p. 3.
28
   W.S. Vickrey, “Poll Tax Amendment Views,” Dallas Morning News, October 26, 1902, 9.
29
   Kousser, Shaping of Southern Politics, 200.
30
   Lockwood, “Purity of the Ballot,” San Antonio Express, July 21, 1902, vol. XXXII, issue 212, p. 10.
31
   Lawrence D. Rice, The Negro in Texas, 1874-1900 (Baton Rouge: Louisiana State University Press, 1971), 133;
Chandler Davidson, Race and Class in Texas Politics (Princeton: Princeton University Press, 1990), 21.
32
   Vickrey, “Poll Tax Amendment Views,” Dallas Morning News, October 26, 1902, 9.


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the failings of the law: “It is better than no law at all,” one article pleaded, because “whatever

else may be said of it, it will be found effectual to prevent fraud.”33

         Nonetheless, in a revealing Houston Daily Post article published 31 October 1902 enti-

tled “The Poll Tax. Some Very Strong Reasons Why the Amendment Should Be Adopted,” it is

clear that the poll tax as a fraud prevention tool was a mere pretext to disguise poll tax support-

ers’ true intent – to disfranchise African-American voters. In the article, E.G. Senter, newspa-

perman and eventual Democratic state senator, initially states that “the poll tax amendment to the

constitution, if adopted by the people of the State at the coming general election, will preserve

the purity and integrity of the ballot in this State.” As he continues to argue for the adoption of

the poll tax, however, it becomes clear that, for Senter, the primary justification for a poll tax is

the suppression of African-American voters: “another and if possible, a more weighty reason

why the poll tax amendment should be adopted is that it means the elimination of the race issue

in politics… with two strong parties in Texas today, the negro would hold the balance of pow-

er.”34 Thus, preventing fraud was a pretext for the true discriminatory purpose: to minimize the

minority vote so to ensure the dominance of the Democratic Party in Texas.

         Through the mid-1960s, the poll tax continued to be viewed by some mainstream Texas

politicians and newspapers as a legitimate means of preventing fraud, even as the poll tax’s dis-

criminatory impact on African-American voters was clear. For example, in 1963, efforts to re-

peal the poll tax in Texas were denounced as a communist plot.35 In an article in the Dallas

Morning News, Congressman Ed Gossett portrayed the poll tax as the last defense against fraud-

ulent voting: “every pinko and every red in the country has always favored the elimination of

33
   “The Poll Tax Provision and the Election Law,” Dallas Morning News, January 22, 1904, 6.
34
   E.G. Senter, “The Poll Tax. Some Very Strong Reasons Why the Amendment Should Be Adopted,” The Houston
Daily Post, October 31, 1902, 6.
35
   “The Real Issue,” The Dallas Morning News, November 26, 1965, D2.


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poll taxes. They would go further and eliminate all voting regulations and restrictions. Their rea-

sons are obvious,” he continued. “The poll tax has been some small defense, at least, against

mass fraud, mass hysteria, mass ignorance, and mass indifference in the voters.”36

         By 1966, however, the poll tax’s discriminatory impact was clear: of the eligible persons

between the ages of 21 and 60 who were required to pay the poll tax, 57.3% of Anglo Texans

and just 45.3% of African Americans had paid the tax.37 In 1964, in part, in response to such dis-

crimination, the Twenty-fourth Amendment to the U.S. Constitution was ratified, outlawing the

poll tax for federal elections.38 In 1966, a federal court ruled the poll tax unconstitutional, and

found that one of its primary purposes had been “to disenfranchise the Negro.”39

                4. Voter Registration Requirements / Purging (1966-1976)

         The 1965 enactment of the Voting Rights Act and the end of the poll tax in 1966 marked

the potential for a substantial increase in African-American and Latino voter registration and par-

ticipation in Texas. In response, the Texas legislature quickly moved to replace the poll tax with

a restrictive annual re-registration requirement.40 Texas Governor John Connally immediately

called a special session of the Texas legislature to develop an annual re-registration system that a

newspaper at the time described as “patterned on the old poll tax system, but minus the tax.”41 In

1966, only five states had annual re-registration requirements. Using the “old canard of turn-of-

the-century disfranchisers,” Connally argued that “on the subject of annual registration or per-

manent registration, this legislature by a two-thirds vote submitted to the people a Constitutional

Amendment, to be voted upon in November, which states in part: ‘…before offering to vote at an

36
   “Poll Tax Defended by Gossett,” Dallas Morning News, Section 4, p. 5, November 1, 1963.
37
   United States v. State of Texas, 252 F. Supp. 234, 245 (W.D. Tex. 1966).
38
   Bruce Ackerman and Jennifer Nou, “Canonizing the Civil Rights Revolution: The People and the Poll Tax,”
Northwestern University Law Review 103 (2009), see especially page 67.
39
   United States v. State of Texas, 252 F. Supp. 234, 245 (W.D. Tex. 1966), aff'd 384 U.S. 155 (1966).
40
   Brischetto et al, “Texas,” 240.
41
   Houston Telegraph, October 10, 1875, also quoted in Kousser, Shaping of Southern Politics, 200.


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election a voter shall have registered annually…’ I agree with your position that annual registra-

tion is the most logical means of preventing fraud and guaranteeing the purity of the ballot

box.”42 The re-registration law was declared unconstitutional in 1971 due to its substantial dis-

franchising effect.43

         The following year, the state enacted a new voter purge law that would have required re-

registration of the entire state electorate, a tactic that, despite Texas’s proposals to minimize the

problem, would have caused substantial difficulties for minority voters.44 The extension of the

Voting Rights Act’s preclearance requirement to Texas in 1975, however, allowed the U.S. De-

partment of Justice to object to the new purge law, which a federal court then enjoined.45

                  5. Redistricting (1970-2014)

         Since Reconstruction, when the newly restored white supremacist Democratic Party re-

lied heavily on racially gerrymandered districts to dilute the voting power of African Americans

and African-American supported Republicans in the State, Texas has routinely sought to disfran-

chise minority voters through the decennial redistricting process.46 With the enactment of the

Voting Rights Act in 1965 and the expected surge in minority voting power, the redistricting tac-

tic again took center stage. In every redistricting cycle since 1970, Texas has been found by one

or more federal courts, including the U.S. Supreme Court, to have violated the Voting Rights Act


42
   The Journal of the House of Representatives of the First Called Session of the Fifty-Ninth Legislature of the State
of Texas, Begun and Held at the City of Austin, February 14, 1966, Connally quotation p. 7; Chandler Davidson,
Race and Class in Texas Politics (Princeton: Princeton University Press, 1990), 51.
43
   Brischetto et al., “Texas,” 240; citing 321 F. Supp. 1100 (S.D. Tex. 1971), aff'd sub nom Beare v. Briscoe, 498
F.2d 244 (5th Cir. 1974); Davidson, Race and Class in Texas Politics, 51.
44
   Letter from J. Stanley Pottinger (U.S. Assistant Attorney General for the U.S. DOJ) to Mark White (Texas Secre-
tary of State) 10 Dec. 1975, available at http://www.justice.gov/crt/records/vot/obj_letters/letters/TX/TX-1000.pdf.
45
   Brischetto et al., “Texas,” 240.
46
   Brischetto et. al., “Texas,” 240. The Texas legislature is required under one-person-one-vote rules to redistrict the
Texas Senate, Texas House of Representatives, Texas School Board, and Texas Congressional districts after every
decennial census. If the legislature and Governor cannot agree on a redistricting plan, a Legislative Redistricting
Board (LRB), composed of the Lt. Governor, Speaker of the House, Attorney General, State Comptroller, and the
State Land Commissioner, determine the plan.


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or the U.S. Constitution.47 Texas has vigorously fought each of these challenges, but has consist-

ently been forced to redraw districts to meet the requirements of federal law.

         Decade after decade, the Texas legislature has engaged in a pattern of racial discrimina-

tion that is apparent in statewide redistricting.48 Federal courts have continually overturned the

plans drawn by the Texas legislature and the state redistricting board and replaced them with

court-drawn plans. In LULAC v. Perry, in 2006, the U.S. Supreme Court rejected Texas’s at-

tempt to dilute the Latino vote in U.S. Congressional District 23. The Texas legislature in 2003

engaged in a mid-decade Congressional redistricting, which was quickly challenged in a case

that ultimately landed before the Supreme Court. In a strongly worded decision, the Court ob-

served that just as “District 23’s Latino voters were poised to elect their candidate of choice,” the

Texas legislature enacted a plan that “took away [that] opportunity because Latinos were about

to exercise it.” In view of “the long history of discrimination against Latinos and Blacks in Tex-

as,” the Supreme Court found that Texas’s actions “b[ore] the mark of intentional discrimination

that could give rise to an equal protection violation” and invalidated the 2003 redistricting plan.49

         These efforts by the courts to prevent discrimination by Texas were capped most recently

by the 2012 findings of the federal District Court in Washington, D.C.50 A federal court in Wash-

ington, D.C., found that the 2011 Texas legislature had engaged in “substantial surgery” in order

to remove key economic generators, such as hospitals, universities, sports centers, and even

Congressional district offices, from the districts of African-American and Latino members of

Congress, but that “[n]o such surgery was performed on the districts of Anglo incumbents.” The

47
   LULAC v. Perry, 548 U.S. 399 (2006); Bush v. Vera, 517 U.S. 952 (1996); Upham v. Seamon, 456 U.S. 37
(1982); White v. Weiser, 412 U.S. 783 (1973); White v. Regester, 412 U.S. 755 (1973); Terrazas v. Slagle, 789
F.Supp. 828 (W.D.Tex.1992), aff'd sub nom., Richards v. Terrazas, 505 U.S. 1214 (1992) (mem.).
48
   Monet Clarke, “Race, Partisanship, and the Voting Rights Act (VRA): African-Americans in Texas From Recon-
struction to the Republican Redistricting of 2004,” Texas Journal on Civil Liberties and Civil Rights (2005).
49
   548 U.S. 399, 442, 438,440, 439 (citation and internal quotation marks omitted).
50
   Texas v. United States, 887 F. Supp. 2d 133 (D. D.C. 2012).


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court noted that Texas’s surgical mapmaking “alone” could support a finding of discriminatory

intent because it was “unexplainable on grounds other than race.” The court also found credible

evidence that “the Senate Plan was enacted with discriminatory purpose.” In coming to this con-

clusion, the court found Texas “made no real attempt” to refute claims that “the [Texas] legisla-

ture deviated from typical procedures and excluded minority voices from the process even as mi-

nority senators protested that [S]ection 5 was being run roughshod.” The court also observed that

“at minimum, the full record strongly suggests that the retrogressive effect [of the State House

plan] may not have been accidental.”51 Importantly, here, the exact same Texas legislature that a

court found to be intentionally discriminating in the 2011 redistricting also was responsible for

enacting SB 14.

                 6. Waller County, Texas, and African-American students (1971-2008)

         Texas political subdivisions also have a long history of official discrimination. Scholars

have enumerated the disheartening number of court cases (brought pursuant to both Section 2

and 5 of the Voting Rights Act), and Section 5 Objections, which together illustrate how these

political subdivisions have used multimember districts, at-large elections, selective annexations,

malapportionment, slating, extraordinarily high candidate fees, numbered posts and placed sys-

tems, unusually large election districts, majority vote requirements, anti-single shot voting provi-

sions, and gerrymandering (including racial gerrymandering of local precinct lines) to exclude

minorities and dilute their votes.52 No better place illustrates this diversity of disfranchisement

tactics in the face of increased minority political activity than Waller County, home to Prairie

51
   Texas v. United States, 887 F. Supp. 2d 133, 160-62, 216-17 (D. D.C. 2012). The Court found that Texas’s history
of discrimination and the fact that minority members of Congress “were excluded completely from the process of
drafting new maps, while the preferences of Anglo members were frequently solicited and honored” were circum-
stantial evidence of intent. Ibid. 161.
52
   Brischetto et al., “Texas,” see esp. 242-48, 258-62; Nina Perales , Louis Figueroa, and Cridelda G. Rivas, Voting
Rights in Texas, 1982-2006 (A report for RenewtheVRA.org, June 2006).


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View A&M University (PVAMU), a historically Black university. For over forty years, Waller

County has consistently tried to prevent PVAMU students from voting in elections.

         After the Twenty-Sixth Amendment was ratified in 1971, allowing 18-year-olds to vote,

Waller County became a majority-African-American county in Texas. To forestall an increase in

African-American voter participation in Waller County, the county’s tax assessor and voter reg-

istrar, Leroy Symm, fought against PVAMU students’ right to vote. 53 The Texas election code

stated that students could only register in the county of their school if they planned on remaining

in the county after they were no longer a student. Using this provision, Symm furnished a ques-

tionnaire for student voters, allowing only students who owned property in Waller County or

whose parents lived in the county to vote. As all the elected officials in Waller County were

white and almost all PVAMU students were African-American, there was a clear racial compo-

nent to this challenge to student voting rights.54 Indeed, throughout the 1970s, Symm’s practice

was repeatedly challenged in federal courts. Only in 1979 did the matter end, when the U.S. Su-

preme Court summarily affirmed a lower court ruling in favor of the PVAMU students, finding

that the additional residency requirements violated the students’ federal constitutional rights.55

         Unfortunately, Waller County officials persisted in their campaign to suppress the Afri-

can-American student vote. In 1992, a county prosecutor indicted PVAMU students for “illegally

voting,” but, when the U.S. Justice Department wrote to Waller County in protest, the charges

were quickly dropped.56 In 2003, after a PVAMU student announced plans to run for a seat on

the Commissioner’s Court, the local district attorney again threatened to prosecute any students

53
   David Richards, Once Upon a Time in Texas: A Liberal in the Lone Star State (Austin: University of Texas,
2002), 154-55.
54
   Symm v. United States, 439 U.S. 1105 (1979) (mem.), summarily aff’g United States v. Texas, 445 F. Supp. 1245,
1245-52 (S.D. Tex. 1978) (three-judge court) (describing the county’s discriminatory use of the questionnaire).
55
   Texas, 445 F. Supp. 1245, 1261-62 (D. D.C. 2012).
56
   Perales et al., Voting Rights in Texas, 26; United States v. Texas, Amended Complaint, 17 (2013); Prairie View
Chapter of the NAACP v. Kitzman, Settlement Agreement, 5.


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for “voter fraud,”57 the familiar pretext of other Texas disfranchisers. On 5 November 2003, the

County Criminal District Attorney, Oliver Kitzman, wrote a letter to the Waller County Election

Administrator. The letter stated he would prosecute those who voted and did not meet his defini-

tion of domicile. In this letter, which was published as a Letter to the Editor in the 10 November

2003 issue of the Waller Times, Kitzman singled out PVAMU students as not meeting his defini-

tion, despite the 1978 case in which the Court stated the students should not be treated differently

than other residents on the issue of domicile.58

         PVAMU students later successfully sued Waller County to enjoin the district attorney

from making further improper threats of prosecution. Seemingly in response, Waller County of-

ficials contemporaneously voted to greatly reduce early voting nearest the campus, with the fore-

seeable result of reducing student voter turnout.59 Early voting hours were reduced from 17 hours

over two days, to six hours in one day. This reduction was especially egregious because Election

Day was during the school’s spring break. The NAACP filed a Section 5 lawsuit, and the county

reversed the change. With regular early voting hours reinstated, 300 PVAMU students took ad-

vantage of early voting, whereas only 60 voted on Election Day. The PVAMU student won a

seat on the Commissioner’s Court by a narrow margin.60

         Waller County’s attacks on PVAMU students’ voting rights did not end then. From 2007

to 2008, the county made a number of voting changes without preclearance. These changes came

on the heels of Senator Barack Obama’s announcement of his candidacy for president and the

projected (and realized) higher African-American turnout for the election. Waller County reject-


57
   Perales et al., Voting Rights in Texas, 25.
58
   Prairie View Chapter of NAACP v. Kitzman, Settlement Agreement, 4-5.
59
   Perales et al., Voting Rights in Texas, 25-26; National Commission on the Voting Rights Act, Protecting Minority
Voters: The Voting Rights Act at Work, 1982-2005 (2006), 65-66.
60
   Perales et al., Voting Rights in Texas, 26.


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ed “incomplete forms” (a designation that seemed to be at the county’s discretion), mandated

that volunteer deputy registrars (VDRs, most of whom were PVAMU students) must personally

notify registrants that their applications were rejected, limited the number of registrants a VDR

could submit (severely limiting the effectiveness of PVAMU voter registration drives), rejected

applications that omitted a ZIP code or used an older version of the form (despite federal voting

law against such rejections), and did not alert registrants if applications were sent to another non-

contiguous county. Most of the rejections the county made were PVAMU students’ applica-

tions.61 According to the consent decree issued in October 2008, these practices were prohibited

after the parties agreed that the changes were legally unenforceable because Waller County had

not yet submitted the proper paperwork to obtain pre-clearance pursuant to Section 5 of the Vot-

ing Rights Act.62

                 7. Voter Intimidation by Local Poll Officials and Police Officers in Texas

         In Texas, voter intimidation by poll workers and other public officials has often masquer-

aded as “fraud prevention.” Waller County prosecutors’ threats of indicting PVAMU students for

voting provides just one example. Government and election officials in Texas have at times

threatened minority voters with severe penalties for voting or have challenged their right to vote.

Leonel Castillo, a Houston city controller and a member of the Texas advisory committee to the

Civil Rights Commission, testified to the realities of discrimination in Texas in 1974 before the

House subcommittee, stating that he observed “a highly visible presence of armed law enforce-

ment officials near polling places, and excessive demands for personal identification.”63


61
    Complaint, United States v. Waller Cnty., Tex., No. 4:08-cv-03022 (S.D. Tex. Oct. 9, 2008), available at
http://www.justice.gov/crt/about/vot/sec_5/waller_comp.pdf.
62
   4.     Consent Decree, United States v. Waller Cnty., Tex., No. 4:08-cv-03022 (S.D. Tex. Oct. 17, 2008), availa-
ble at http://www.justice.gov/crt/about/vot/sec_5/waller_cd.pdf.
63
   “Discrimination in Voting Booth Still Major Problem,” Sarasota Herald Tribune, April 18, 1975, 5C.


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         Both before and after the passage of SB 14 in 2011, poll workers and other public offi-

cials have used voter ID and other requirements to intimidate African-American and Latino vot-

ers in Texas. For example, a 2013 federal court opinion found that openly discriminatory voting

practices continue to exist in Texas:

         Latinos encounter resistance from poll workers. Throughout her career in politics,
         [State Senator Sylvia Garcia] has observed consistent problems with poll workers
         and access to the polls more generally. Over the course of her career in politics,
         voters have told her that they were told that they: (i) cannot bring someone in to
         assist them; (ii) are not registered to vote; and (iii) cannot vote in the election be-
         cause they do not possess a valid driver’s license. Occasionally, she also receives
         complaints that poll watchers have intimidated Latino voters at the polls, such as
         inquiring about the voters’ citizenship status.64

         Similarly, in 2004, poll workers in Texas also were reportedly subjecting African-

American voters to racialized insults and more stringent screening processes than white voters.

That same year, people allegedly left a Harris County early voting site without voting after police

officers stood outside and threatened to arrest people with a warrant and demanded ID.65

         There is a sobering conclusion about modern Texas race relations in America’s Modern

Poll Tax, which, in comparing Texas to other states, proffers that “[m]ost of the barriers to mi-

nority voting rights outlined in this report concern election administration – faulty technology,

lack of poll worker training, shoddy voter registration practices, and a shortage of capacity to

absorb a large turnout. In Texas, barriers to minority voting rights were of a different sort. They

concerned instances of outright voter intimidation more reminiscent of the Jim Crow era than

21st century America.”66



64
   Garcia and Birnberg testimonies, Rodriguez v. Harris Co., Civil Action No. 4:11-2907, 2013 WL 3980651, *72
(S.D. Tex. Aug. 1, 2013)
65
   Perales et al, Voting Rights in Texas, 29-31.
66
   Steven Donziger, principal author, America’s Modern Poll Tax: How Structural Disenfranchisement Erodes De-
mocracy (Nov. 7, 2001 by Advancement Project, 1730 M Street, N.W., Suite 401, Washington, DC 20036 202- 728-
9557), 24-26. http://election2000.stanford.edu/penda.pdf. The latter incident is also documented in the Sworn Tes-


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    B.       Senate Factor 5: Racial Disparities in Socioeconomic Areas of Life

         Since the State’s admission to the Union, Texas, as well as its political subdivisions, have

engaged in racial discrimination against its African-American and Latino citizens in all areas of

public life,67 including, as described below, in the areas of education, employment, housing, and

transportation. The foreseeable result of such past and present discrimination is the substantial

socioeconomic inequalities that exist between minority and Anglo voters in the state.

                  1. Education

         Racial segregation and discrimination in the Texas education system is longstanding.

Texas’s 1866 Constitution provides an early example of legislative support for separate schools:

“The legislature may provide for the levying of a tax for educational purposes… provided, that

all the sums arising from said tax which may be collected from Africans, or persons of African

descent, shall be exclusively appropriated for the maintenance of a system of public schools for

Africans and their children.”68 The earliest formal codification of segregated schools is found in

the 1875 Texas Constitution, which stated that “Separate schools shall be provided for the white

and colored children, and impartial provision shall be made for both.”69 Segregated schools were

also incorporated into the 1879, 1895, 1911, and 1925 revisions of the Civil Statues of Texas.

         Mexican-American students were not segregated by statute, but they also faced discrimi-

nation in Texas’s schools. At the end of the nineteenth century and beginning of the twentieth,



timony of C. G. Walywn, who was the African-American candidate for sheriff in Wharton County, Texas, at the
Voter Intimidation Hearing, Palmer Center Business and Technology Center, Houston, Texas, Dec. 19, 2000, 33-56.
67
   LULAC v. Perry, 548 U.S. 399, 426 (2006).
68
   The Constitution, as Amended, and Ordinances of the Convention of 1866, Together with the Proclamation of
Governor Declaring the Ratification of the Amendments to the Constitution, and the General Laws of the Regular
Session of the Eleventh Legislature of the State of Texas. Austin: Printed at the Gazette office, by Jo. Walker, state
printer. 1866. pp. 29-30.
69
   Constitution of the State of Texas, Adopted by the Constitutional Convention, Begun and Held at the City of Aus-
tin, on the Sixth Day of September, 1875. Official. Galveston: Printed at the “News” Steam Book and Job Estab-
lishment. [1875.] p. 14.


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Mexican-American families in South Texas often established escuelitas (private schools) be-

cause their children faced discrimination and segregation in public schools.70 Hearne, Texas, was

the home of a lawsuit because of the huge discrepancies between white and African-American

schools. Other minority students in Texas also successfully sued for school equalization in the

years leading to Brown v. Board.71

       In 1950, Sweatt v. Painter, a pivotal desegregation case that preceded Brown v. Board of

Education, dealt segregation a major blow in Texas. This critical case compelled the Supreme

Court to overturn segregation in state-supported higher education, forecasting the full repeal of

the “equal but separate” doctrine. Heman Sweatt, an African-American Wiley College graduate

and Houston postal worker, applied to the University of Texas (UT) Law School, but was reject-

ed in 1946 because the law school was all-white. No law school in Texas admitted African-

American students. Sweat secured Thurgood Marshall’s representation and sued. Executing a

trial court’s order, Texas quickly established an African-American law school in Houston, which

the lower courts said provided an equal education, but the African-American law school was

clearly unequal. Marshall argued the case before the Texas Court of Civil Appeals and Texas

Supreme Court, which held that the Black law school and UT Law School were equal. Marshall

appealed to the U.S. Supreme Court, where Marshall again argued the case, stressing the Afri-

can-American law school’s inferior facilities and its students’ professional isolation.

       The Supreme Court compared the two law schools and found the African-American law

school significantly lacking in facilities, extracurricular activities, and overall prestige. The Afri-


70
   Emilio Zamora, The World of the Mexican Worker in Texas (College Station: Texas A&M University Press,
1993), 104-5.
71
   Mark V. Tushnet, NAACP’s Legal Strategy against Segregated Education (Chapel Hill: University of North Caro-
lina Press, 1987), 106. For example, in Hearne, the white school was worth $3,000,000 and had an average class size
of 27 students while the Black school facilities were worth $300,000 and had an average class size of 60 students.


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can-American law school was not accredited, and because of its segregated nature, would not

fully prepare its students to interact with white lawyers, judges, jurors, witnesses, and experts.

The Court emphasized the disparities between the racially-segregated law schools, stating “It is

difficult to believe that one who had a free choice between these law schools would consider the

question close.”72 Thus, convinced of the inequality, the Court ordered UT to enroll Sweatt. Alt-

hough UT Law School admitted Sweatt, the Supreme Court’s order did not overturn the laws of

Texas and other states supporting segregation.73

         The Supreme Court decided Brown v. Board of Education in 1954. Even after the Su-

preme Court’s historic ruling, “the State of Texas adopted a policy of official resistance to inte-

gration of its public schools…. Many of the school districts found to be operating dual systems

of education were also found to practice official discrimination against black and Mexican

American students.”74 With Brown v. Board, white southerners began to fight back. The first of-

fensive of what became known as Massive Resistance came in 1956 when many white Southern

politicians drafted and signed the “Southern Manifesto.” The Manifesto decried the Supreme

Court’s abuse of judicial powers because the Justices “substituted their personal political and so-

cial ideas for the established law of the land” and had thereby “planted hatred and suspicion

where there had been heretofore friendship and understanding.”75 U.S. Senator Price Daniel of

Texas was one of the signers. That year he was elected governor.

         Into the 1970s, Dallas, Houston, and Austin all resisted attempts to give minority students

72
   Sweatt v. Painter, 339 U.S. 629 (1950), 631-634; see also, Merline Pitre, In Struggle against Jim Crow: Lula B.
White and the NAACP, 1900-1957 (College Station: Texas A & M University Press, 1999); Amilcar Shabazz, Ad-
vancing Democracy: African Americans and the Struggle for Access and Equity in Higher Education in Texas
(Chapel Hill: University of North Carolina Press, 2004). For more on Sweatt v. Painter, see Tushnet, Making Civil
Rights Law, 126-29, 131-36; Tushnet, NAACP’s Legal Strategy against Segregated Education, 116, 126-36.
73
   Hopwood v. Texas, 861 F. Supp. 551, 555 (1994).
74
   Hopwood, 861 F. Supp. at 554.
75
   Congressional Record, 84th Congress Second Session. Vol. 102, part 4. Washington, D.C.: Governmental Printing
Office, 1956. 4459-4460.


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anything more than decidedly inferior educational experiences. African-American and Latino

students had “inadequate facilities, outdated curricula, and limited educational enrichment oppor-

tunities.”76 In Dallas, after several appeals and reversals, the school board submitted a desegrega-

tion plan in May 1960 that would have required schools to desegregate one grade at a time,

thereby achieving desegregation in 12 years’ time. A legal scholar noted that the Texas judge

rejected the plan because it “imposed too much integration.” The judge suggested a freedom-of-

choice plan for the area schools, and the court of appeals later accepted a one-grade-a-year

plan.77 In the 1970s, the Harris County school board resisted Brown by labeling all Latino stu-

dents as “white” and then claiming the African-American and Latino populated schools were

now integrated. Latino students protested by boycotting the schools, creating their own huelga

(“strike”) schools.78 The Austin-area school district also dragged its feet on desegregation in the

1970s, placing the burden of school closures and busing solely on African-American students

and arguing that, because Texas never statutorily segregated Latino students, the district was un-

der no obligation to integrate them into schools. A federal court rejected these arguments, finding

that the district had drawn school attendance zones and built schools so that racial demographic

and residential patterns “further lock[ed] the school system into a mold of separation of the rac-

es.” As a result, while Latinos were never segregated by statute, they were de facto segregated by

the school district’s school zones and other official decisions that created segregated Latino

schools.79

         Today’s young Texans do not experience state-mandated segregated schools. But the leg-

acy of those practices remains palpable, and to a large extent race still determines their experi-

76
   Garcia and Birnberg testimonies, Rodriguez v. Harris Co., 2013 WL 3980651, *68 (2013).
77
   Tushnet, Making Civil Rights Law, 251-52; Borders v. Rippy, 184 F. Supp. 402 (N.D. Tex 1960).
78
   Garcia and Birnberg testimonies, Rodriguez v. Harris Co., 2013 WL 3980651, *68 (2013).
79
   U.S. v. Texas Education Agency, 467 F. 2d 848, 856-57, 872, 855, 863-64, 866 (5th Cir. 1972).


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ence at school. In Texas, “black students are three times more likely to be removed from school

for lower-level offenses than whites.”80 A study done by the Council of State Governments Jus-

tice Center and the Public Policy Research Institute found that “multivariate analyses, which en-

abled researchers to control for 83 different variables in isolating the effect of race alone on dis-

ciplinary actions, found that African-American students had a 31 percent higher likelihood of a

school discretionary action, compared to otherwise identical white and Hispanic students.” In

real numbers, that means that if “African-American students had the same probability as whites

of being involved in a school disciplinary action, there would have been 13,496 fewer African-

American pupils disciplined.” This disparity has significant longterm consequences as well; the

students who were suspended or expelled had a higher rate of dropping out of school than those

who did not receive disciplinary action.81 Graduation rates between whites and historically-

disadvantaged minorities are substantial; fewer than 60% of African-American and Latino stu-

dents in Texas earn regular diplomas alongside their classmates.82

         These problems create substantial educational deficits for minorities that continue into

adulthood. In Texas, almost a third of African Americans older than 25 have not graduated from

high school.83 Similarly, the number of limited-English proficiency Latino adults in the State is

in part attributable to the discrimination often experienced in their education in Texas.84



80
   “Editorial: Poverty is Root Cause of Disparities in School Discipline,” The Dallas Morning News, March 2, 2011,
http://www.dallasnews.com/opinion/editorials/20110302-editorial-poverty-is-root-cause-of-racial-disparities-in-
school-discipline.ece (last accessed June 27, 2014).
81
   Fabelo, Tony et al. “Breaking School’s Rules: A Statewide Study of How School Discipline Relates to Students’
Success and Juvenile Justice Involvement.” Council of State Governments Justice Center/ The Public Policy Re-
search                 Institute.              July                 2011.                 http://csgjusticecenter.org/wp-
content/uploads/2012/08/Breaking_Schools_Rules_Report_Final.pdf (last accessed June 27, 2014). p. 46, x-xi.
82
   Losen, Daniel, Gary Orfield, and Robert Balfanz, “Confronting the Graduation Rate Crisis in Texas,” 22, 4, The
Civil    Rights     Project,      October  2006,     http://civilrightsproject.ucla.edu/research/k-12-education/school-
dropouts/confronting-the-graduation-rate-crisis-in-texas/losen-confronting-graduation-rate-texas-2006.pdf.
83
   William Earl Maxwell, Ernest Crain, and Adolfo Santos, Texas Politics Today (Boston: Wadsworth, 2009), 77.
84
   Garcia and Birnberg testimonies, Rodriguez v. Harris Co. 2013 WL 3980651, *68 (2013).


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         Furthermore, schools in Texas have increasingly become resegregated and racially isolat-

ed. In Texas schools typically attended by African-American students, only 30.7% of students

were white in 1970, and that number increased to 35.2% in 1980, and decreased to 31.4% in

1996. In 2009-10, 82.4% of African Americans were in schools with 50-100% minority students.

Over 39% of African-American students were in schools that had minority student populations

of 90-100%, and 11.9% of African-American students were in schools that are 99-100% minori-

ty.85 That is a marked increase in racial isolation and segregation in just the last two decades. 86

                 2. Employment

         Racial discrimination in employment by Texas state or local agencies continue to disad-

vantage African Americans and other minorities. In the 1990s, the city of Houston Police De-

partment required officers to take promotional exams to advance to the ranks of Sergeant and

Lieutenant. But these exams, which African-American and Latino police alleged “were not job-

related or consistent with business necessity,” discriminated against minority police officers.

This issue was resolved in a 1993 Consent Decree with the City which agreed to promote minori-

ty police officers who had previously failed the exams and to strike “racially biased items” from

the exams.87 In the last decade, the Texas Department of Health, the City of El Paso, and the City

of Houston have all entered into extensive consent decrees that required Texas agencies and mu-




85
   Gary Orfield and John Yun, Resegregation in American Schools: A Report by the Civil Rights Project at Harvard
University (UCLA: The Civil Rights Project, 1999), http://escholarship.org/uc/item/6d01084d (last accessed June
27, 2014), 19; Gary Orfield, John Kucsera, and Genevieve Siegel-Hawley, “E Pluribus . . . Separation: Deepening
Double Segregation for More Students,” The Civil Rights Project, October 18, 2012,
http://civilrightsproject.ucla.edu/research/k-12-education/integration-and-diversity/mlk-national/e-
pluribus...separation-deepening-double-segregation-for-more-students/orfield_epluribus_revised_omplete_2012.pdf
(last accessed June 27, 2014), 46.
86
   Gary Orfield and John Yun, Resegregation in American Schools: A Report by the Civil Rights Project at Harvard
University (UCLA: The Civil Rights Project, 1999), http://escholarship.org/uc/item/6d01084d (accessed June 13,
2014), 19.
87
   Edwards v. City of Houston 78 F.3d 983, 989-92 (5th Cir. 1996).


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nicipalities to make concessions to redress claims of racial discrimination in employment.88 In

2002, an African-American employee in the Matagorda County sheriff’s department filed a dis-

crimination suit. He claimed he experienced “disparate discipline,” including being fired, be-

cause of his race and in retaliation of his complaint.89 In 2008, a woman filed a complaint against

the Housing Authority of the City of El Paso. She claimed that she was not promoted on account

of her national origin and age. In the Consent Agreement of October 2008, El Paso agreed to

compensate her and to protect her from retaliation in job performance meetings. 90 An African-

American man working in the Texas Department of Family and Protective Services (DFPS) filed

a complaint claiming that he was discriminated against because of his race, and the Settlement

Agreement required training DFPS employees on anti-discrimination and anti-harassment poli-

cies.91

          Employment discrimination against African Americans and Latinos likely contributes to

high poverty rates of 25.8% and 23.3%, respectively, compared to only 8.8% among whites. Fur-

thermore, 21.8% of African-American and 24% of Latino Texans worked in service jobs, com-

pared to 12.1% of whites.92

                 3. Housing

88
   See e.g., Edwards v. City of Houston, 78 F.3d 983, 989-92 (5th Cir. 1996) (en banc); Consent Decree, United
States v. Texas Dep’t of Family & Protective Serv., No. Ep-11-CA-364-FM (W.D. Tex. Nov. 30, 2011), ECF No.
10, available at http://www.justice.gov/crt/about/emp/documents/texasdeptsa.pdf; Consent Decree, United States v.
Hous. Auth. of the City of El Paso, Tex., No. 3:08-cv-00313-KC (W.D. Tex. Oct. 21, 2008), ECF No. 15, available
at http://www.justice.gov/crt/about/emp/documents/elpaso_cd.pdf.
89
   Settlement Agreement, United States v. Matagorda County, TX, No. G-01-010 (S.D. TX 2002), available at
http://www.justice.gov/crt/about/emp/documents/matagordafinalcd.html (last accessed June 27, 2014).
90
   Complaint, United States and EEOC v. Housing Authority of the City of El Paso, TX, EP-08-cv-0313 (W.D. TX
Aug. 11, 2008), available at www.justice.gov/crt/about/emp/documents/elpaso_complaint.pdf (last accessed June
27, 2014); Consent Decree, United States and EEOC v. Housing Authority of the City of El Paso, TX, No. 3:08-cv-
00313-KC (W.D. TX Oct. 21, 2008), available at http://www.justice.gov/crt/about/emp/documents/elpaso_cd.pdf.
91
   Settlement Agreement, United States v. Texas Department of Family and Protective Services, No. 3:11-cv-00364-
FM (W.D. TX Nov. 30, 2011), available at http://www.justice.gov/crt/about/emp/documents/texasdeptsa.pdf (last
accessed June 27, 2014). DFPS denied accounts of racial discrimination.
92
   DOJ Request for Judicial Notice, Texas v. Holder, Civil Action No. 12–cv–128 (DST, RMC, RLW), ECF 219,
available at http://moritzlaw.osu.edu/electionlaw/litigation/documents/RequestforJudicialNotice.pdf.


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         The State of Texas’s longstanding official policy was to enforce state and local laws and

private covenants that either required racial segregation or overtly permitted discrimination in

housing. Even today, long after the passage of the Fair Housing Act of 1968, Texas and its polit-

ical subdivisions have persisted in pursuing policies that promote discrimination in housing.

         The Texas state and local governments, for example, have been complicit in promoting

racial segregation in housing. In 1916, for instance, the “City of Dallas passed a law providing

for segregation in residential areas,”93 and in 1927 the state legislature passed a comprehensive

zoning statute, which “would give towns and cities the right to withhold building permits to such

firms or individuals as seek to build houses for negro inhabitants in white committees or visa-

versa.”94 In addition, prior to the 1948 Supreme Court decision in Shelley v. Kraemer, Texas “en-

force[d] restrictive covenants that created and maintained racially and ethnically segregated

neighborhoods.”95 The impact of redlining, racially restrictive covenants, and other policies

which promoted housing discrimination remains evident. In San Antonio, for instance, decisions

to build the University of Texas at San Antonio and the University of Texas Health Science Cen-

ter towards the city’s north side and concentrating low-income housing developments on the

west side were based on racial separation.96

         Housing discrimination has continued in more recent years. A 1988 federal court decision

found that HUD and the Texas Public Housing Authorities had “knowingly created, promoted,

and funded racially segregated housing in thirty-six counties in East Texas.”97 In 2008, Farmers

Branch, a city in Dallas County, passed Ordinance 2952, which established a classification

93
   Bruce A. Glasrud, “Jim Crow’s Emergence in Texas,” American Studies 15 (1974), 55
94
   The Dallas Morning News, February 24, 1927.
95
   Virginia Raymond “Enriching Rodriguez: Alberta Zepeda Snid of Edgewood,” in Recovering the Hispanic Histo-
ry of Texas, ed. Monica Perales and Raul A. Ramos (Houston: Arte Púlblico Press, 2010), 82.
96
   Christopher Ramos, “The Educational Legacy of Racially Restrictive Covenants: Their Long Term Impact on
Mexican Americans,” The Scholar: St. Mary’s Law Review on Minority Issues 149 (2001), 165.
97
   Young v. Pierce, 685 F.Supp. 984, 984 (E.D. Tex. 1988).


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scheme for determining whether non-citizens may rent an apartment. A federal court invalidated

the law, and found that “Farmers Branch, rather than deferring to the federal government’s de-

termination of immigration status, ... created its own classification scheme for determining which

non-citizens may rent an apartment in that city.”98 The Ordinance was widely viewed as an anti-

Latino measure designed to discourage the continued growth of the City’s Latino population,99

which had grown significantly from 37.2% in 2000 to 45.4% in 2010.100

         Dallas County overall provides an excellent case study because it is home to the promi-

nent, drawn-out Walker housing desegregation case. Beginning in 1985 — and continuing

through the 2000s101 — a group of African-American public housing residents sued the Dallas

Housing Authority (DHA), the City of Dallas, and its surrounding suburbs for refusing to accept

public housing and Section 8 vouchers; this refusal perpetuated housing segregation. 102 As the

United States Court of Appeals for the Fifth Circuit observed in 1999, “[t]he history of public

housing in Dallas is a sordid tale of overt and covert racial discrimination and segregation”:

         Virtually all non-elderly public housing units were constructed in minority areas
         of Dallas. No new public housing units were built between 1955 and 1989 at least
         in part for fear that they might be located in white areas. Tenant selection and as-
         signment procedures for public housing units were crafted and administered to
         maintain racially segregated projects. DHA’s Section 8 housing programs were
         operated to discourage blacks from moving into white areas of metropolitan Dal-
         las. Blacks were purposefully segregated for decades into either Section 8 housing

98
   Villas at Parkside v. City of Farmers Branch, 577 F. Supp. 2d 858, 879 (N.D. Tex. 2008).
99
       “Texas     Town       Oks     Anti-Immigrant      Measure”,    Associated     Press,    Nov.    14,    2006,
http://www.nbcnews.com/id/15686734/ns/us_news-life/t/texas-town-oks-anti-immigrant-
measures/#.U1U146K9Y14
100
     U.S. Census Bureau, American Fact Finder, Race and Hispanic or Latino Origin: Texas 2010,
http://factfinder2.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=DEC_10_SF1_QTP3; U.S. Cen-
sus Bureau, Population by Race and Hispanic or Latino Origin for Texas: 2010, Table 1,
http://www.census.gov/census2000/pdf/tx_tab_1.PDF.
101
    See generally Walker v. HUD, 734 F. Supp. 1231, 1272, 1289 (N.D. Tex. 1989), which was reversed in part in
Walker v. City of Mesquite, et al., 912 F.2d 819 (5th Cir. 1990); Walker v. City of Mesquite, 169 F.3d 973 (5th Cir.
1999), certiorari denied, 528 U.S. 1131(2000); and Walker v. U.S. Dept. of HUD 326 F.Supp.2d 780, 781 (N.D.
Tex. 2004), affirmed, 402 F.3d 532 (5th Cir. 2005).
102
    Walker v. HUD, 734 F.Supp. 1289, 1293-1312 (N.D. Tex. 1989); Walker v. HUD, 912 F.2d 819, 821-25 (5th
Cir.1990); Walker v. City of Mesquite, 169 F. 3d 973, 976-78 (5th Cir. 1999).


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        in minority areas of Dallas or predominantly black housing projects in minority
        areas of Dallas.103

        The predominantly white suburbs in Dallas County fought throughout Walker and other

cases to prevent minority public housing residents from moving into their cities. In 2000, for ex-

ample, a federal court found that the Town of Sunnyvale, a suburb in Dallas County, had inten-

tionally used segregative zoning laws to keep the city 94.0% white and that city officials and res-

idents had feared that the presence of the “kind of characters” that live in public housing and

apartment complexes (“slums”) would ruin the neighborhood and require “more police protec-

tion.”104 By 2004, however, the efforts to desegregate housing finally had broken ground in Dal-

las County.105

        This history of racial discrimination in housing in Texas is consistently reflected in

measures of housing segregation, racial disparities in homeownership, and other data. In the

Houston and Dallas metropolitan areas, for example, the African-American population has al-

ways been concentrated in discrete locations. In 1980, according to the definitive study of racial

segregation in American cities, the Dallas-Fort Worth area scored a 77.1 and Houston a 69.5 on

the “index of dissimilarity,” the standard sociological measure of segregation. This index defines

a score of 60 as “high” segregation; 80 denotes “extreme” segregation. Dallas at the time was

ranked the third most segregated southern city with a large African-American population.106




103
    Walker v. City of Mesquite , 169 F. 3d 973, 976 (5th Cir. 1999)
104
    Dews v. Town of Sunnyvale, Texas, 109 F. Supp. 2d 526, 526, 529, 538-39, 544-47 (N.D. Tex. 2000).
105
    See Walker v. U.S. Dept. of HUD, 326 F. Supp. 2d 780, 781 (N.D. Tex. 2004).
106
    The index of dissimilarity measures the degree to which racial groups are evenly spread among neighborhoods in
a metro area or city, with respect to the racial composition of the city or region as a whole. Thus, as Massey and
Denton note: “The index of dissimilarity gives the percentage of blacks who would have to move to achieve an
‘even’ residential pattern – one where every neighborhood replicates the racial composition of the city.” Douglas S.
Massey and Nancy A. Denton, American Apartheid: Segregation and the Making of the Underclass (Cambridge,
Mass: Harvard University Press, 1993), 20, 64.


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        Three research studies based on the 2010 census continue to identify the Dallas and Hou-

ston areas as highly segregated metropolises. William Frey of the University of Michigan and the

Brookings Institution, who examined segregation rates in 102 U.S. Cities, found that Houston /

Sugar Land / Bayton posted a 64.1 Black-White segregation rate (ranking as 36th most segregat-

ed U.S. city) and Dallas / Fort Worth / Arlington a rate of 56.6 (ranking 48th). 107 Texas cities

rank higher for Latino segregation, but the rates of Latino segregation are less intense – the

“Hispanic-White” segregation rate in 2010 was 52.3 in Houston (ranked 18 overall) and 50.3 in

Dallas (ranked 24). A second 2011 study of 50 U.S. cities by Brown University Professor John

Logan and Brian Stults of Florida State found that Black-White segregation in Houston and Dal-

las is 60.6 (ranked 21st) and 55.1 (ranked 32nd), respectively.108 According to Logan and Stults,

Houston ranks 10th and Dallas 12th for Hispanic-White racial segregation. A third study by Ed-

ward Glaeser of Harvard and Jacob Vigdor of Duke measured simply “black-nonblack” segrega-

tion, which, although a less reliable measure of segregation than the traditional “Black-White”

index, still found that Houston (47.8) and Dallas (47.5) are amongst the nation’s most segregated

cities.109

        Racial discrimination in Texas also contributes to the significant racial disparities in the

number of heads of household that own their own homes. In 2010, 72.4% of Anglo heads of

households owned their own homes, while 27.6% rented. This compares strikingly to the only




107
    William Frey, “New Racial Segregation Measures for Large Metropolitan Areas: Analysis of 1990-2010 Decen-
nial Census,” University of Michigan Population Studies Center, Institute for Social Research, available at
http://www.psc.isr.umich.edu/dis/census/segregation2010.html.
108
    John R. Logan and Brian J. Stults, The Persistence of Segregation in the Metropolis: New Findings from the
2010 Census (Mar. 24, 2011), available at http://www.s4.brown.edu/us2010/Data/Report/report2.pdf.
109
    Edward Glaeser and Jacob Vigdor, The End of the Segregated Century: Racial Separation in America’s Neigh-
borhoods, 1890-2010, Manhattan Institute for Policy Research, Civic Report, January 2012, available at
http://www.manhattan-institute.org/html/cr_66.htm.


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45.6% of African-American heads of households and 57.9% of Latino heads of households who

owned their own homes and the 54.4% and 42.1% respectively that rented.110

                     Home Ownership and Residency by Ethnicity, 2000, 2010

                                   2000                                    2010
 Measure                           Anglos Blacks Hispanics                 Anglos Blacks Hispanics
 home owners                       70.7% 46.4% 56.1%                       72.4% 45.6% 57.9%
 home renters                      29.3% 53.6% 43.9%                       27.6% 54.4% 42.1%
 live in same place as 5 years ago 51.2% 47.0% 49.1%
 live in same place as 1 year ago                                          82.2%     75.5%     80.9%
                                   2000 Census, Summary File
                                   3                                       ACS, 2005-2009 Estimates


        The above table shows racial discrepancies in home ownership and residency in Texas.

The lower rate of home ownership and the lack of wealth in minority communities in Texas is a

direct consequence of the above described state-sponsorship of discrimination in education, em-

ployment, and housing. Moreover, the Pew Research Center has released a recent report that the

decline in home values disproportionately affected minorities, because “a much higher share of

their wealth is tied up in the value of their homes.” Using the most recent national wealth data,

from 2005 to 2009, Pew found that “Hispanic households saw their net worth drop 66%, while

black households’ fell 53% and whites’ fell 16%.” Another study, by the Center for Responsible

Lending in 2010, determined that “Nationally, nearly 8% of African American and Latino mort-

gage borrowers have lost their homes to foreclosures, compared with 4.5% of whites.”111

                4. Transportation

        Access to motor vehicles in Texas differs significantly across racial and ethnic groups.

African-American and Latino households are much less likely to own a vehicle than non-Latino

  U.S. Census Bureau, 2005-2009 American Community Survey 5-Year Estimates, “TENURE”, B25003.
110
111
   Both the Pew Study and the one from Center for Responsible Lending are reported in USA Today, on August 5,
2011 (p. 5B), I have requested copies of both studies and specific data for Texas.


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white households. Census data shows that in Texas, 13.1% of African Americans and 7.3% of

Latinos live in households without access to a motor vehicle, compared with only 3.8% of

whites.112 Texas also ranks among the bottom of states in per capita investment in public trans-

portation, and this lack of spending on public transportation is exacerbated by Texas’s recent

cuts to funding for public transit.113 Because minorities in Texas are less likely to own vehicles

than whites, the lack of public transportation spending is felt more acutely by minorities.

      C.      Senate Factor 6: Racial Appeals in Political Campaigns in Texas

           Race has been a central feature of politics in the South and Texas from the beginning,114

from slavery and the Civil War to the present post-civil rights movement era. Particularly since

the 1970s, following the civil rights movement and the Voting Rights Act, the majority of white

Texans have moved away from the Democratic Party toward voting for the Republican Party.115

The reasons for this shift are complicated, but indicate that Southern politics was and is largely

influenced by race.116 Accordingly, racial appeals remain a mainstay of Texas politics, and

played an important role in the passage of SB 14.

                  1. Racial Appeals in American Politics (1960s-1990s)

           Through the twentieth century, racial appeals— once more explicit — have become in-

creasingly subtle. Beginning in the 1960s, the modern Republican Party has become inextricably

tied to distinguishing themselves from the heavily African-American Democratic Party, and in


112
    DOJ Request for Judicial Notice of Census Data, Texas v. United States, ECF No. 219 Ex. 4 at 8, 17.
113
    Gaskins and Iyer, “Challenge of Obtaining Voter Identification,” 5. Texas invests only $1.16 per capita into pub-
lic transportation.
114
    Nicholas A. Valentino and David O. Sears. “Old Times There Are Not Forgotten: Race and Partisan Realignment
in the Contemporary South,” American Journal of Political Science. vol. 49, no. 3., pp. 672-688. p. 673.
115
    Schaller. Whistling Past Dixie, 295.
116
    While white partisan affiliation is based not only on race but also on class, African Americans tend to be more
monolithic in their political affiliations. Byron E. Schaffer and Richard Johnston, The End of Southern Exceptional-
ism: Class, Race, and Partisan Change in the Post-War South (Cambridge, MA: Harvard University Press, 2009),.
4, 87, 90, 82-83.


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Texas, the Latino Democratic Party, as well. In other words, in Texas, the Democratic Party is

heavily supported by African Americans and Latinos.117

        This racial identification in party politics began in 1964 when, in the midst of the civil

rights movement, the Republican Presidential nominee, Senator Barry Goldwater, announced

that he did not support the Civil Rights Act of 1964. As he told a group of Republicans from

southern states, it was better for the Republican Party to forego the “Negro vote” and instead

court white southerners who opposed equal rights.118 Historians agree that Goldwater “sought to

create a general polarization of southern voters along racial lines.” The effectiveness of what was

called the “Southern strategy” during Richard Nixon’s presidency had a profound impact on the

development of the nearly all-white modern Republican Party in the South. Although more sub-

tle in his appeal to white southern voters, Nixon followed the advice of Republican Party strate-

gist Kevin Phillips in 1970. Phillips argued that “The GOP can build a winning coalition without

Negro voters.” He understood, and made certain others understood, that “Negro-Democratic mu-

tual identification” was important for the building of a white Republican Party in the South. With

Phillips’s “Southern Strategy,” the Democratic Party would become the “Negro party through

most of the South,” which, in turn, would lead whites in the South to become Republicans and

allow the Republican Party to become the majority party in what had traditionally been the solid

Democratic South.119 After studying Phillips’s plan, Nixon told his staff to implement the strate-

gy and emphasized, “don’t go for Jews and Blacks.”120


117
    Schaffer and Johnston, End of Southern Exceptionalism, 4.
118
    Dan T. Carter, “Unfinished Transformation: Matthew J. Perry’s South Carolina,” in Matthew J. Perry: The Man,
His Times, and His Legacy, ed., W. Lewis Burke and Belinda F. Gergel (Columbia: University of South Carolina
Press, 2004), 251.
119
    Kevin P. Phillips, The Emerging Republican Majority (New York: Arlington House, 1969), 467-68.
120
    Carter, From George Wallace to Newt Gingrich, 45; Kenneth O'Reilly, Nixon’s Piano: Presidents and Racial
Politics from Washington to Clinton (New York: Free Press, 1995), 285-86; Dan Carter, “Civil Rights and Politics
in South Carolina: The Perspective of One Lifetime, 1940-2003” in Toward the Meeting of the Waters: Currents


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        The Southern Strategy continued into the 1980s. Ronald Reagan, in his 1980 presidential

campaign, effectively used implicit racial appeals to win white votes. Using racially coded terms

such as “welfare queen” and “strapping young buck,” Reagan motivated 22% of Democrats to

leave the party, and this happened at even higher rates among racially conservative Democrats.

Of Democrats who believed civil rights leaders were moving too fast, 34% voted for Reagan,

and 71% of Democrats who felt “the government should not make any special effort to help [Af-

rican Americans] because they should help themselves” voted for Reagan.

        In the 1988 presidential campaign, Vice President George H.W. Bush associated Gover-

nor Michael Dukakis with Willie Horton, an African American convicted of murder who com-

mitted an additional murder and rape when released on a weekend furlough program for prison-

ers that Governor Dukakis had supported. The Bush campaign showed images of Mr. Horton,

rendering the racial appeal clear: supporting Dukakis would allow African-American murderers

to roam the streets. Bush’s appeal to the racial fears of whites contributed to his victory in

1988.121

                 2. Racial Appeals in Texas Politics (2008-2014)

        Implicit or subtle appeals to race, as well as overt racial appeals, are still common in cur-

rent electoral politics in Texas. Part of the process of – and an effect of – the current racial polar-

ization in Texas and the American South is the use of racial appeals in political campaigns.

        Political operative Lee Atwater outlined the new approach to racial appeals in an inter-

view given in 1981. According to Atwater, overt racial appeals became ineffective by 1968, and

were instead supplanted by implicit racial appeals grounded in arguments about “forced busing,


in the Civil Rights Movement of South Carolina during the Twentieth Century, ed. Winfred B. Moore, Jr. and Orville
Vernon Burton (Columbia: University of South Carolina Press, 2008), 413.
121
    Lopez, Dog Whistle Politics, 59, 105-7.


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states’ rights, and all that stuff.”122 Implicit racial appeals communicate the same ideas as explicit

racial appeals but do so without using racial nouns or adjectives. They obliquely reference race

and allude to “racial stereotypes or a perceived threat” from racial or ethnic minorities. Mendel-

berg defined an implicit racial appeal as “one that contains a recognizable – if subtle – racial ref-

erence, most easily through visual references.”123 Ian Haney Lopez described implicit racial ap-

peals as a “coded racial appeal,” with “one core point of the code being to foster deniability.”

One characteristic of implicit racial appeals is that they are usually most successful when their

racial subtext goes undetected.124 Implicit racial appeals make use of coded language to activate

racial thinking.125 Racial cues, in the form of code words, such as “welfare queen,” “lazy,”

“criminal,” “taking advantage,” “corruption,” and “fraud” are explicit racial code words that re-

fer back to Reconstruction era when African Americans were elected to office. Other coded is-

sues, such as “poverty” and “immigration,”126 prime racial attitudes in white voters.127

        Overt racial appeals still appear in Texas campaigns for national offices as well as in

campaigns for state and local offices. In 2008, Texas House District 144 saw the use of an overt

or explicit racial appeal. In October 2008, Empower Texans, a conservative political action

committee based in Austin, sent a mailer to voters in Pasadena. The mailer showed a picture of

Joel Redmond, an Anglo Democrat running for the House seat, surrounded by pictures of Demo-

122
    Rick Perlstein, “Exclusive: Lee Atwater’s Infamous 1981 Interview on the Southern Strategy,” The Nation. No-
vember 13, 2012, http://www.thenation.com/article/170841/exclusive-lee-atwaters-infamous-1981-interview-
southern-strategy (last accessed June 27, 2014).
123
    Tali Mendelberg, The Race Card: Campaign Strategy, Implicit Messages, and the Norm of Equality (Princeton:
Princeton University Press, 2001), 9, 11.
124
    Lopez, Dog Whistle Politics, 130, 4.
125
    Nicholas A. Valentino, Vincent L. Hutchings, and Ismail K. White. “Cues that Matter: How Political Ads Prime
Racial Attitudes During Elections,” American Political Science Review 96 (2002), 75-90.
126
    Charlton D. Mcllwain and Stephen M. Caliendo, Race Appeal: How Candidates Invoke Race in US Campaigns
(Philadelphia: Temple University Press, 2011) 19-21, 153, 154; Rosalee A. Clawson. “Poor People, Black Faces:
The Portrayal of Poverty in Economics Textbooks,” Journal of Black Studies 32 (2002), 352-61; Rosalee A. Claw-
son and Rakuka Trice. “Poverty as We Know It: Media Portrayals of the Poor,” Public Opinion Quarterly 64
(2000), 53-64.
127
    Valentino, Hutchings, and White, “Cues that Matter,” 87.


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crats Mario Gallegos, Garnet Coleman, Shelia Jackson Lee, and Barack Obama, with a caption

stating “Birds of a Feather Flock Together.” The pictures of the politicians were placed over an

image of a flock of black birds perched on a tree. The reverse of the flyer has Redmond in the

same group of pictures but with the caption “Bad Company Corrupts Good Character.” Signifi-

cantly, all of the politicians surrounding Redmond are racial minorities. The racial appeal made

by the mailer is obvious: Redmond is associated with minority politicians, which makes him an

unacceptable candidate. While the primary argument made by the flyer is that Redmond is a lib-

eral, the decision to surround Redmond with politicians who were racial minorities—rather than

other Democrats, generally—is an unmistakable racial appeal. Moreover, the use of “black

birds” is a symbolic signal, and the black birds can be interpreted as ravens or crows, which

would be even more of an explicit racial appeal to “Jim Crow.” (See Exhibit 1: Empower Tex-

ans, “Birds of a Feather Flock Together,” Austin, TX: Empower Texans, 2008.).

       A 2008 mailer sent to African-American voters in Dallas, Texas reads on the front “Don’t

be a victim of voter fraud!” The back of the mailer warns that an unnamed “national political

group suspected of voter fraud is currently working in your neighborhood trying to bring people

to the polls on election day.” The mailer also threatens that if a person is a victim of “voter fraud

– it could result in jail time for you,” and that “[p]olice and other law enforcement agencies will

be at the voting locations.” (See Exhibit 2: “Don’t be a victim of voter fraud,” Dallas, TX: Un-

known, 2008.).

       In a Texas city council race with a Latino candidate, his Anglo opponent had a campaign

mailer that showed two roads: one was clean and well-kept, the other with a dirt-road with build-

ings that indicated it was in Mexico. The Latino candidate interpreted the message of the mailer




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to be that if the Anglo were elected, the neighborhood would flourish, while if he were elected,

the neighborhood would become downtrodden.128

        During a 2008 campaign for a seat in the Texas House, one non-minority candidate, Bill

Zedler, used racial appeals against his non-minority opponent, Chris Turner. A computer manip-

ulated image of Mr. Turner from a Zedler campaign mailer darkened his skin, pinned a Mexican

flag button on his shirt, and placed him in front of a Chinese flag. The Zedler campaign mailer

also accused Mr. Turner of “vot[ing] to give tax credit to companies that ship Texas’ jobs to

China” and “campaign[ing] against illegal immigration”, but failing to “file a single bill to secure

and protect our border,” closely associating Mr. Turner with Chinese and Mexican “others” who

allegedly threatened Texans’ livelihoods. (Exhibit 3: “The Great Pretender,” Arlington, TX: Bill

Zedler Campaign, 2008.).

        While implicit appeals to race are more subtle, they were recently evident in the 2014

Party Platform of the Republican Party of Texas, which opposes “reparations,” presumably for

African-American slavery, demands the restoration of Confederate-honoring plaques that were

“illegally” removed from the State Supreme Court by former Republican Governor George W.

Bush, and supports a pre-Civil War theory of a state’s right to “nullify any federal mandated leg-

islation which infringes upon the states’ 10th Amendment Right.”129




128
   Rodriguez v. Harris Co., 2013 WL 3980651 p. *76-77.
129
    The 2014 Republican Party of Texas Platform, http://www.texasgop.org/wp-content/uploads/2014/06/2014-
Platform-Final.pdf.


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                 3. Racial Appeals and Voter Identification Laws in Texas

        In Texas, supporters of voter ID laws relied heavily on implicit and overt racial appeals.

“[P]oorer, inner-city, and minority” voters are often associated with “voter fraud.”130 Implicit

racial appeals, including code words like “immigration” and “fraud,”131 which prime racial atti-

tudes in white voters,132 for instance, were prominent throughout the debates over SB 14 and its

predecessor bills.

        During his primary campaign for United States Senator, for example, Texas Lieutenant

Governor David Dewhurst, who shepherded SB 14 through the State Senate, linked his stance on

tough immigration restrictions to the need for a strict voter ID law.133 In 2010, in a dramatic and

drastic move, State Representative Debbie Riddle camped outside of the State House for two

days to simultaneously file a voter ID bill and a bill empowering local police officials to arrest

undocumented immigrants.134 Later, in her 2012 deposition for the Section 5 case, Representa-

tive Riddle, who backed SB 14 in 2011, was asked to identify a specific instance of voter fraud

or non-citizen voting. Her answer was that she once saw a Spanish-speaking Latina woman re-

ceive help with voting, strongly insinuating, with no basis other than the voter’s language, that

the Latina woman was a non-citizen engaging in voter fraud. Representative Riddle subsequently



130
    Spencer Overton, Stealing Democracy: The New Politics of Voter Suppression (New York: Norton, 2007), 160,
quoting John H. Fund, Stealing Elections: How Voter Fraud Threatens Our Democracy (San Francisco: Encounter
Books, 2004).
131
    Mcllwain and Caliendo. Race Appeal, 19-21, 153, 154; Clawson. “Poor People, Black Faces,” 352-61; Clawson
and Trice. “Poverty as We Know It,” 53-64.
132
    Valentino, Hutchings, and White, “Cues that Matter,” 87.
133
    Attorney General’s Proposed Findings of Fact and Conclusions of Law ¶ 189, Texas v. Holder, Civil Action No.
12–cv–128          (DST,         RMC,           RLW),        ECF        No.       223,       available        at
http://moritzlaw.osu.edu/electionlaw/litigation/documents/HoldersProposedFindingsofFactandConclusionsofLaw.pd
f.
134
    Kevin Koloian, “Debbie Riddle Files Immigration Reform, Voter ID Bills,” Spring Observer, Nov. 17, 2010,
http://www.yourhoustonnews.com/spring/news/article_e8b26a0c-ba9d-5c30-94ec-87953808de6d.html.


                                                      39
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admitted, however, that she knew only that the voter was a Spanish-speaking Latina, and nothing

about the voter’s citizenship status.135

        Racial appeals in support of voter ID legislation also came from the Texas-based affili-

ates of the Tea Party movement, such as the King Street Patriots. At the invitation of key spon-

sors of SB 14, Catherine Engelbrecht, a leader of the King Street Patriot, spoke in support of SB

14 before the 2011 Texas legislature.136 Tellingly, this occurred soon after the King Street Patri-

ots organized a voter intimidation campaign in Texas during the 2010 congressional elections.

Before the elections, the King Street Patriots analyzed over 3,000 voter registrations in African-

American Congresswoman Sheila Jackson’s district. Because of the work of the King Street Pa-

triots, over 400 voters were placed in “suspense,” requiring that they update their registration in-

formation before being eligible to vote. In fall 2010, members of the group volunteered as poll

watchers. Dozens of primarily white volunteers showed up at 37 polling places throughout the

district, leading one observer to describe the influx of white election observers, many of whom

frequently came into conflict with voters and poll workers, into African-American neighbor-

hoods as racial intimidation.137 On the first day of early voting for the 2010 election, the Harris

County clerk’s office “received 14 complaints of alleged voter intimidation at 11 voting loca-

tions.”138 As a Texas federal court found in 2013: “The racist element of these efforts was evi-

dent in a photo posted in October on the King Street Patriots website showing a black man hold-


135
    Defendant-Intervenors’ Proposed Supplemental, Non-Duplicative Findings of Fact and Conclusions of Law, ¶
247, Texas v. Holder, Civil Action No. 12–cv–128 (DST, RMC, RLW), available at
http://www.brennancenter.org/sites/default/files/legacy/Democracy/VRE/241%20DI%20Proposed%20Findings%20
of%20Fact%206.27.2012.pdf.
136
     Witness List, SB 14, House Committee, Voter Identification and Voter Fraud, Select (Mar. 23, 2011),
http://www.hro.house.state.tx.us/pdf/ba82r/sb0014.pdf; Witness List, SB 14 House Committee Report, Voter Identi-
fication                and            Voter                Fraud,          Select         Committee,           ,
ftp://ftp.legis.state.tx.us/bills/82R/witlistbill/pdf/senate_bills/SB00001_SB00099/SB00014H.pdf.
137
    Stephanie Saul, “Looking, Very Closely, for Voter Fraud,” The New York Times, September 17, 2012. A1.
138
    Joe Holley, “Some Harris County Early Voters Upset by Poll Watchers,” The Houston Chronicle, Oct. 18, 2010.


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ing a sign with the words ‘I only got to vote once,’ with a white woman behind him holding a

second sign saying ‘I’m with stupid.’”139 The King Street Patriots’ efforts failed to find reliable

evidence of voter fraud but succeeded in suppressing the votes of lower income African Ameri-

cans.140 Moreover, in May 2013, Dallas Tea Party leader Ken Emmanuelson stated that “The

Republican Party does not want black people to vote if they are going to vote 9-to-1 for Demo-

crats.”141

      D.      Senate Factor 9: “Voter Fraud” as a Rationale for SB 14 is Tenuous

           Voter fraud is the primary justification of supporters of more restrictive voter identifica-

tion requirements. It has been the chief reason for restricting access to the polls since the nine-

teenth century with the enfranchisement of African Americans during Reconstruction, it domi-

nated the twentieth-century disfranchisers’ excuses for eliminating minority voters, and it con-

tinues today with the tenuous reason given for SB 14. “Most Texas politicians grasp the basic

rule that elections laws are never neutral in their effects… although the ostensible reasons given

[for disfranchising election laws] are usually benign.142” Senate Factor 9 examines whether the

prevention of “voter fraud,” Texas’s justification for implementing SB 14, is tenuous. Here, Tex-

as’s history of using fraud to justify everything from poll taxes to annual registration require-

ments, the lack of in-person voter impersonation, and the failure of SB 14 as an effective means

of preventing non-citizens’ voting shows the tenuousness of SB 14’s purported justification.

           As detailed under Senate Factor 1 above, fraud was a constant refrain for all of the major

disfranchisement devices of the nineteenth and twentieth centuries, from the white primary to the

139
    Plaintiffs’ Expert Report, Rodriguez v. Harris Co., 2013 WL 3980651, at *73-74 (2013).
140
    See Abby Rapoport, “Voter Intimidation in Houston? The View from Acres Homes,” Texas Observer, Oct. 29,
2010, http://www.texasobserver.org/floor-play/inside-one-harris-county-polling-station (last access June 27, 2014).
141
    Jay Root, Tea Party Leader Says He Misspoke About Black Voters, Texas Tribune, June 4, 2013, available at
www.texastribune.org/2013/06/04/gop-distances-itself-tea-party-leaders-remarks/.
142
    Chandler Davidson, Race and Class in Texas Politics (1990), p. 51.


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poll tax and the re-registration systems. As recently as 2004, the Waller County district attorney

unjustifiably threatened to prosecute any African-American students of Prairie View A&M Uni-

versity who voted in local county elections for “voter fraud” until the students successfully sued

the county to enjoin its officials from engaging in further acts of voter harassment.143 Thus, in

Texas, the purported prevention of fraud is an enduring “pretext” for exclusionary devices that

have the intent or result of denying African Americans and Latinos their voting rights.

        SB 14 is also justified as an anti-voter fraud measure, and yet there is not significant evi-

dence that in-person voter impersonation actually occurs or that SB 14 would successfully pre-

vent non-citizens from voting at the polls in Texas. First, although over 46 million votes were

cast in general, primary, and special constitutional elections in Texas between 2002 and 2011,

there were only two alleged instances of in-person voter fraud, i.e., the only form of fraud that

SB 14 may prevent.144 The issue of in-person fraud as a pretext for SB 14 is aptly summarized by

Mr. Randall “Buck” Wood, in the affidavit that he submitted in the Section 5 case. Mr. Wood

has practiced election law in Texas for over 40 years, served as the Director of Elections for the

Texas Secretary of State from 1969 to 1972, and has been involved in more than 100 election

contests. Mr. Wood stated that, after searching extensively for in-person fraud, he has never

found “one case of in-person voter fraud in Texas involving voter impersonation, voting dead

people or other fraud that would be prevented by SB 14.” According to Mr. Wood, “in-person

voter fraud is not difficult to detect in an election contest or by law enforcement authorities.” In-

deed, despite there being “significant voter fraud discovered by persons who cast ballots by

mail,” Mr. Wood believes that the Texas legislature did not address “ballot by mail because more


143
  Perales et al., Voting Rights in Texas, 26.
  Defendant-Intervenors’ Proposed Supplemental, Non-Duplicative Findings of Fact and Conclusions of Law ¶¶
144

86B-86D, Texas v. Holder, Civil Action No. 12–cv–128 (DST, RMC, RLW), ECF No. 226-2.


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Anglo citizens cast ballots by mail than do minority voters.” His opinion is that SB 14 dispropor-

tionately burdens Latino and African-American voters who lack acceptable photo IDs.145

        Moreover, as noted in Senate Factor 6, legislators and private political groups both used

racial appeals about the threat of non-citizen immigrants voting to garner support for SB 14, but

then utterly failed to draft a bill that would actually prevent a non-citizen from voting. Non-

citizens may lawfully possess many of SB 14-required photo ID, like a U.S. military ID. Other

odd drafting choices for SB 14 — such as forbidding the use of student IDs, but allowing the use

of a concealed handgun license — are also incredible. These deliberate choices by SB 14’s

drafters to permit certain forms of photo ID that white voters are perhaps more likely to possess

(even if non-citizens also may also possess them) but preventing the use of other otherwise valid

forms of photo ID demonstrates that voter fraud not a credible justification for SB 14 and strong-

ly suggests that fraud is a pretext for unlawful racial discrimination.

IV.     CONCLUSION

        The totality of the circumstances suggest that, because of race—in particular Texas’s pat-

tern of official historical and modern discrimination in voting, education, employment, and hous-

ing—SB 14 causes an inequality of access to the electoral process for African-American and mi-

nority voters in Texas. In addition, my analysis of the totality of the circumstances together with

other factors related to the timing, legislative history, and implementation of SB 14 strongly sug-

gests that SB 14 is discriminatory in purpose.




145
   Affidavit of Randall “Buck” Wood, Texas v. Holder, Civil Action No. 12–cv–128 (DST, RMC, RLW) (dated
June 8th, 2012). Furthermore, Mr. Wood believes that “SB 14 [was] designed to decrease the number of effective
ballots cast by minority citizens” and “it was the Legislature’s purpose with SB 14 to discourage turnout among mi-
nority citizens.” Id.


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      A.      SB 14 Results in Discrimination Because of Race.

           My analysis of the totality of the circumstances reveals that SB 14 substantially burdens

the ability of African-American and minority voters in general to cast a ballot. Senate Factors 1,

5, and 6 in particular demonstrate that SB 14 causes discrimination by following in the footsteps

of Texas’s infamous use of other devices that, while appearing to be race-neutral, in fact act to

hinder voting by African Americans. Since Reconstruction, Texas has used a variety of disfran-

chising devices and tactics that ranged from outright prohibitions, e.g., all-white primaries, to

those that appeared race-neutral but disproportionately disfranchised minorities, including poll

taxes and burdensome voter registration practices. Since the 1940s, however, federal courts have

invalidated each of these tactics, soundly rejecting all of Texas’s arguments in their favor. Here,

the disfranchising effect of the financial costs associated with obtaining forms of SB 14-required

photo ID, including a “free” Election Identification Certificate (EIC), function much the same

way as the poll tax once did. Newspaper articles, and national studies by private organizations

have shown the prohibitive cost – both in economic terms and in energy spent – to African-

American and other minority voters who do not currently possess SB 14-required ID.146

           For the reasons discussed above, these financial burdens fall heaviest on African-

American and Latino voters because of the continued existence of official discrimination and the

resulting racial disparities in education, employment, housing, and transportation. Education is


146
   Keesha Gaskins and Sundeep Iyer, Challenge of Obtaining Voter Identification (New York: Brennan Center for
Justice, 2012); Citizens without Proof: A Survey of Americans’ Possession of Documentary Proof of Citizenship and
Photo Identification (New York: Brennan Center for Justice, 2006); John Lewis, “A Poll Tax by Another Name,”
New York Times, 27 August 2011, A19; Matt A. Barreto, Stephen A. Nuño, and Gabriel R. Sanchez, “The Dispro-
portionate Impact of Voter-ID Requirements on the Electorate – New Evidence from Indiana,” Political Science and
Politics 42 (Jan 2009): 111-16; Letter from Thomas E. Perez (Assistant Attorney General for the U.S. DOJ) to Keith
Ingram (Direct of Elections in the Office of the Texas Secretary of State) 12 March 2012, available at
http://www.justice.gov/crt/records/vot/obj_letters/letters/TX/l_120312.pdf.


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an important determinant of voter turnout.147 Those who have graduated from college are signifi-

cantly more likely to have interest in elections and their outcomes.148 Lower minority educational

attainment and the legacy of segregated schools, as well as current racial isolation and discrimi-

nation in Texas schools (all forms of state action), still have far-reaching implications for minori-

ty Texans’ economic standing, political engagement, and knowledge about voting requirements.

For example, a 2012 Pew Research Center poll found that 24% of the Latino registered voters,

compared to 18% of all registered voters, in states with photo ID laws did not know about the

photo ID requirement.149 Many African Americans may be similarly uninformed about their

state’s voter ID laws.150 Limited educational attainment also may drive minorities into hourly

wage or service professions, likely creating additional burdens under SB 14. In the Section 5

case, for example, the court summarized the testimony of Lydia Camarillo of the Southwest Vot-

er Registration Project: “[f]or working class Latinos, the requirement of travelling to the DPS

during regular business hours may prevent them from obtaining ID because their work hours are

not flexible.”151

        In addition to educational disparities, the effect of SB 14 is amplified by other racial dis-

parities in poverty rates, housing patterns, and transportation, each attributable to the various

forms of official discrimination, to cause a discriminatory result. African-American Texans re-

main largely clustered in racially identifiable and high-poverty neighborhoods that are less likely

to be located near Department of Public Safety (DPS) offices, where photo IDs are issued. In

147
    John E., Filer, Lawrence W. Kenney and Rebecca B. Morton. “Voting Laws, Education Policies, and Minority
Turnout.” Journal of Law and Economics, vol. 34, no. 2 (October 1991), pp. 371-393. p. 374
148
    Katherine Tate, ed. From Protest to Politics: The New Black Voters in American Elections (Cambridge, MA:
Harvard University Press, 1994). p. 87.
149
    Mark Hugo Lopez & Ana Gonzalez-Barrera, Latino Voters Support Obama by 3-1 Ratio, But Are Less Certain
than Others about Voting, at 20, Pew Research Center, Oct. 11, 2012, available at
http://www.pewhispanic.org/files/2012/10/2012_NSL_latino_vote_report_FINAL_10-18-12.pdf.
150
    Ibid.
151
    Texas v. Holder, 888 F. Supp. 2d 113, 140 (D. D.C. 2012).


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Dallas County, persistent housing discrimination and segregation works in conjunction with SB

14 to make it particularly difficult for minority voters to reach DPS offices. The City of Dallas

has an ID-issuing office in the city center. Yet, a 2012 analysis done by the Brennan Center

shows that many of the city’s African-American voters live outside of the city center in the

southeastern quadrant of Dallas County, which has no DPS offices. In Dallas’s southeast quad-

rant, there are 244,100 eligible voters, nearly 30% of residents live in poverty, and 52% are Afri-

can-American residents. By contrast, in the rest of Dallas County, there are eight full-time DPS

offices, 1.1 million eligible voters, just 17% of residents there live in poverty, and only 22% of

residents are African Americans. Although public transportation can take one from the southeast

quadrant to the Dallas city center’s DPS office, many of the predominately African-American

voters in the southeast quadrant must travel two-to-four hours roundtrip to reach that office.152

The same inaccessibility exists elsewhere in Texas. As Texas Representative Trey Martinez

Fischer of San Antonio testified in the Section 5 case: “you will not find a DPS office from

downtown San Antonio to the western boundary, which is heavily concentrated with African-

Americans, and particularly Hispanics.” State Senator Carlos Uresti also testified that in his 70%

Latino and 5% African-American voting district: “[t]here are some towns . . . where the nearest

DPS office is about a 100 to 125” mile trip each way. State Senator Rodney Ellis testified that

DPS offices in “inner city” Houston are not “easily accessible by public transportation.” 153 Afri-

can-American and Latino Texans are overrepresented among the 5.4% of the voting age popula-




152
    Keesha Gaskins and Sundeep Iyer, “The Challenge of Obtaining Voter Identification,” at 12-13, Brennan Center
for                       Justice                     (2012),                   available                     at
http://www.brennancenter.org/sites/default/files/legacy/Democracy/VRE/Challenge_of_Obtaining_Voter_ID.pdf
(last accessed June 27, 2014).
153
    Texas v. Holder, 888 F. Supp. 2d 113, 140 (D. D.C. 2012).


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tion that lacks a vehicle.154 Of this total, 7.2% of those without vehicle access live over ten miles

away from a DPS office.155 As the 2012 Brennan Center report concludes, although Texas offers

the EIC without a direct charge, “[i]n the real world, poor voters find shuttered offices, long

drives without cars or with spotty or no bus service, and sometimes prohibitive costs.”156

        Traveling to DPS offices is even more difficult for the disproportionate number of Afri-

can-American and Latino voters who lack driver’s licenses. Indeed, Texas’s own study showed

that Spanish-surnamed registered voters are between 46.5% and 120% more likely than Anglo

voters to lack state-issued photo ID, such as driver’s licenses.157 Two national studies from 2012

suggest that these racial differences in driver’s license ownership are even more pronounced

among young people. A study by the AAA Foundation for Traffic Safety found that 55% of Af-

rican-American and 57% of Latino youth aged 18-20 had a driver’s license; substantially less

than the 79% of white youth who reported having a license. Although minority youth across in-

comes were less likely to have a license, two of the most common reasons for delayed licensure

were financial: “not having a car,” and “the costs associated with driving.” This suggests that

racial disparities in income and/or wealth also contribute to racial differences in driver’s licen-

sure.158 A second 2012 national study by the Black Youth Project also showed racial disparities

in driver’s license ownership for youth aged 18-29. Of that age group, 71.2% of African Ameri-

cans, 67.0% of Latinos, but 85.1% of white youth had a driver’s license. Notably, although SB


154
    “Undisputed census data shows that in Texas, 13.1% of African Americans and 7.3% of Hispanics live in house-
holds without access to a motor vehicle, compared with only 3.8% of whites.” Texas v. Holder, 888 F. Supp. 2d 113,
140 (D. D.C. 2012).
155
    Gaskins and Iyer, “Challenge of Obtaining Voter Identification,” 4.
156
    Ibid.
157
    Gaskins and Iyer, “Challenge of Obtaining Voter Identification,” 24; Letter from Thomas E. Perez (Assistant
Attorney General for the U.S. DOJ) to Keith Ingram (Direct of Elections in the Office of the Texas Secretary of
State) 12 March 2012; available at http://www.justice.gov/crt/records/vot/obj_letters/letters/TX/l_120312.pdf.
158
     AAA Foundation for Traffic Safety, Timing of Driver’s License Acquisition and Reasons for Delay among
Young People in the United States, 2012, 9, 2, 11 (table 3).


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14 does not permit the use of student IDs, disparities between African-American (24.9%), Latino

(28.6%) and white youth (30.9%) were much less pronounced for college ID ownership.159

        Social science research makes clear that the socioeconomic disadvantages experienced by

African Americans and Latinos constitute a clear hindrance to the effective participation of those

groups in the political process. In their highly regarded study, Who Votes, political scientists

Raymond Wolfinger and Steven Rosenstone document the strong and direct correlation between

political participation and socioeconomic status (SES). Their central conclusion is that “citizens

of higher social and economic status participate more in politics.” In the South, they conclude,

this disparity in turnout between the rich and the poor and between the educated and uneducated

is even more pronounced. Southerners with eight years of schooling or less, they note, vote 16

percentage points less than their northern counterparts. All these factors have a disparate racial

impact since African Americans and Latinos remain grouped in the ranks of lower educational,

economic, and social status. Moreover, the authors attribute some of the disparity to the past his-

tory of race discrimination, what they call a “regional memory” of the time when it was danger-

ous for African Americans to vote. Older, undereducated African Americans who are poor are

thus particularly unlikely to vote.160 Three more recent studies build upon Wolfinger and Rosen-

stone’s classic work and come to similar conclusions about education and income and voter par-



159
    Jon C. Rogowski & Cathy J. Cohen, “Black and Latino Youth Disproportionately Affected by Voter Identifica-
tion Laws in the 2012 Election” at 5, http://research.blackyouthproject.com/files/2013/03/voter-ID-laws-feb28.pdf.
160
    The standard work of the effects of SES is still Raymond E. Wolfinger and Steven J. Rosenstone, Who Votes?
(New Haven: Yale University Press, 1980). See esp, pp.13, 93. A more current survey of research on political partic-
ipation is Richard G. Niemi and Herbert F. Weisberg, eds., Controversies in Voting Behavior (Washington, D. C.,
2001, 4th ed.), pp 22-37; and the most recent study, Jan E. Leighley and Jonathan Nagler, Who Votes Now? De-
mogrpahics, Issues, Inequality and Turnout in the United States (Princeton: Princeton University press, 2013). None
of the recent studies challenge the basic conclusions of Wolfinger and Rosenstore, In Northwest Austin Mun. Utility
Dist. Number One v. Mukasey, 573 F. Supp. 2d 221, 248 (D.D.C, 2008), the trial court notes – citing
http://www.census.gov/population/socdemo/voting/cps 2004/tab 04 a.xls - that, if one compares the registration &
turnout rates for non-Hispanic whites with those for African Americans and Latinos in Texas, there remained, as of
2004, significant disparities (see the rates in Table 4a for Texas).


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ticipation.161 Social scientists have demonstrated that income, which is most directly related to

education and employment, also correlates with housing. Income, education, employment, and

housing are all areas where Texas has engaged in official discrimination, and all work together to

disadvantage minority voters.162

           As one recent study found, even a seemingly minor inconvenience, like locating a new

polling place, depresses turnout, especially for poor and young voters. 163 Therefore, given the

much more complicated and substantial changes associated with this voter ID law, which will

then interact with the history of racial discrimination by Texas in all areas of African-American

and minority voters’ lives, the discriminatory disfranchisement resulting from SB 14 is foreseea-

ble and certain.164

      B.      SB 14 is Racially Discriminatory.

           I infer the discriminatory purpose of SB 14’s photo ID requirement from my thorough

examination of the totality of the circumstances and several additional factors, including: (1) the


161
    Steven J. Rosenstone and John Mark Hansen, Mobilization, Participation, and Democracy in America (New
York: Macmillan, 1993), see especially Chapters 6 and 7 which focus on institutional factors that influence turnout
(chp. 6) as well as the rise and decline of African American voter turnout (part of chp. 7); Sidney Verba, Kay Leh-
man Schlozman, and Henry E. Brady, Voice and Equality: Civic Voluntarism in American Politics (Cambridge:
Harvard University Press, 1995), see esp. 6, 7, 8 and 12; Leighlery and Nagler, Who Votes Now.. See also Patricia
Gurin, Shirley Hatchett, and Jon S. Jackson, Hope and Independence: Minority’s Response to Electoral and Party
Politics (New York: Russell Sage Foundation, 1989); Sidney Verba, and Norman H. Nie, Participation in America:
Social Equality and Political Democracy (New York: Harper and Row, 1972); and for an international perspective
see Sidney Verba, Norman H. Nie, and Jae-on Kim, Participation and Political Equality: A Seven National Com-
parison (Cambridge: Cambridge University Press, 1978).
162
    Leighlery and Nagler, Who Votes Now?, p. 71 analyze differences in black and white voting rates, and conclude
after careful multivariate analysis, that “It is the other characteristics of blacks (most likely lower levels of education
and income) that result in a lower overall voting rate as a group than whites.” When controlling for education and
income, African Americans actually vote at a higher rate than whites.
163
    Henry E Brady and John E. McNulty, “Turning Out to Vote: the Costs of Finding and Getting to the Polling
Place.” American Political Science Review 105 (2011):115-134.
164
    An additional broader and more general analysis of the extent to which increasing costs even slightly depresses
turnout is subtitled, “How Increasing the Difficulty of Voting Dissuades Even the Most Motivated Voters.” This
subtitle speaks volumes to the impact that SB 14 will have on African Americans and minorities in Texas who, as
the SES data shows, are less educated and poorer. John E McNulty, Conor M. Dowling, and Margret H. Ariotti.
“Driving Saints to Sin: How Increasing the Difficulty of Voting Dissuades Even the Most Motivated Voters,” Politi-
cal Analysis 17 (2009): 435-455.


                                                           49
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substantial and recent growth of the minority voter population in Texas; (2) SB 14’s passage by

the same Texas legislature that enacted intentionally discriminatory redistricting plans; (3) the

ways that the Texas legislature departed from its usual procedural practices to pass SB 14; and

(4) SB 14’s implementation even after a court found that the voter ID law had a discriminatory

effect (see Appendix B: Passage and Implementation of Voter Identification Legislation).

        To begin, an important basis for understanding the motivation behind SB 14 is the inte-

gral link between race and party in the South in general, and in Texas specifically, as described

above in Part C, Sections 1 and 2. Democrats in the 1890s and early 1900s disfranchised African

Americans and other minorities to prevent them from asserting political power. Today, voting in

Texas is extremely polarized by race — with white voters favoring the Republican Party and the

Democratic Party being heavily supported by African Americans and Latinos165 — a polarization

that, in turn, means that any reduction in African-American (and Latino) turnout benefits the

state’s Republican Party. Conversely, significant gains in minority voting strength are a threat to

the state Republican Party’s electoral success.166




165
    Schaffer, Byron E. and Richard Johnston. The End of Southern Exceptionalism: Class, Race, and Partisan
Change in the Post-War South. (Cambridge, MA: Harvard University Press, 2009), p. 4.
166
    Bernard Cosman and Herbert Huckshorn, eds., Republican Politics: the 1964 Campaign and Its Aftermath for the
Party (NY: Praeger, 1968), p. 242; Numan Bartley and Hugh Davis Graham, Southern Politics and the Second Re-
construction (Baltimore: Johns Hopkins University Press, 1975), p. 187; Earl Black and Merle Black, Politics and
Society in the South (Cambridge: Harvard University Press, 1987), pp. 143-44; Kenneth O’Reilly, Nixon’s Piano:
Presidents and Racial Politics from Washington to Clinton (NY: Free Press, 1995), pp. 285-86; Dan T. Carter, From
George Wallace to Newt Gingrich: Race in the Conservative Counterrevolution, 1963-94 (Baton Rouge: Louisiana
State University Press, 1996), p. 45, and Carter, The Politics of Rage: George Wallace, The Origins of the New Con-
servatism, and the Transformation of American Politics (New York: Simon & Schuster, 1995); Declaration of Dan
T. Carter, U.S. v. Charleston County Council, D.S.C., No. 2-01-0155-11 (2001), at 20; Carter, “Unfinished Transfor-
mation: Matthew J. Perry’s South Carolina,” in W. Lewis Burke and Belinda F. Gergel, Matthew J. Perry: The Man,
His Times, and His Legacy (Columbia: University of South Carolina Press, 2004), p 251; See also, Michelle Alex-
ander, The New Jim Crow: Mass Incarceration in the Age of Colorblindness (New York: The New Press, 2010), 43-
44 and notes for a brief description of the Southern Strategy.
         Racial bloc voting remains prevalent in Texas. Voting Rights Act: Evidence of Continued Need: Hearing
Before the Subcomm. on the Constitution of the H. Comm. on the Judiciary, 109th Cong. (2006), Volume IV , pp.
5340-5358, 5359-5387. 5411-5494; Davidson, Chandler, Expert Report, Vera v. Richards (1994), p. 39.


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       Other factors also tend to demonstrate that the other reasons given for enacting SB 14

was a pretext for racial discrimination. Into the 1970s, for instance, Texas used fraud as a tenu-

ous justification for passing discriminatory laws, like the purposefully discriminatory poll tax

and the annual registration requirements described in Part A, Sections 3 and 4. In addition, be-

cause of the racial polarization in Texas, overt and subtle racial appeals still play a role in current

electoral politics in Texas. Indeed, as noted in Part C, Section 3 of this report, coded and overt

racial appeals, like associating minority voters with “fraud” and “immigration,” by politicians

like Lieutenant Governor Dewhurst and Representative Riddle, and leaders in the “Tea Party”

movement in Texas — active and prominent Texas partisans and voter ID supporters — led the

way for the passage of voter ID legislation in Texas. Yet, SB 14 prevents neither non-citizen vot-

ing nor even absentee ballot fraud — the most prevalent form of fraud — exposing SB 14 as a

“solution in search of a problem.”

       SB 14 also was enacted against the backdrop of substantial population growth by minori-

ties in Texas and the increase in minority voter turnout beginning in the 2008 presidential elec-

tion of Barack Obama as the nation’s first African American President. Texas’s population in-

creased by 4,293,741 from the 2000 to 2010 census, with Latinos comprising 60% of this total

increase. Latinos now comprise 37.6% of Texas’s population. Although the total population of

Texas increased by 20.6%, the Latino population increased by 41.9% and the Anglo population

increased by only 4%. Between 2005 and 2009, the Latino citizen voting age population (CVAP)

also increased from 24.6% of Texas’s total CVAP to 25.5%. In each year from 2005 to 2009, the

number and proportion of Latino CVAP increased. As the minority population has increased in

Texas, so too has minority voter turnout. For instance, African-American CVAP turnout in Texas




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rose from 60% in 2008 to 63.1% in 2012, making the 2012 presidential election likely the very

first time that African-American voter turnout surpassed white turnout.167

         The Texas legislators who enacted SB 14 were likely aware of these facts as they were

the same legislators who had used racialized anti-immigration appeals to first garner support for

the voter ID law and who had passed a series of post-2010 Census statewide redistricting plans,

which a federal court in Washington, D.C., blocked under Section 5 of the Voting Rights Act.168

That federal court also found that Texas’s U.S. Congressional and State Senate redistricting

plans were intentionally discriminatory,169 and strongly suggested that the same was true for the

State House plan.170 The detailed manner in which the Texas legislature purposefully “cracked”

and “packed” districts along racial lines, as well as its clear awareness of how high and low areas


167
    While there are some issues of debate on the actual rate of black turnout, it was clearly higher than usual, and it
was recorded as exceeding the white turnout. Thom File, “The Diversifying Electorate—Voting Rates by Race and
Hispanic Origin in 2012 (and Other Recent Elections).” U.S. Census Bureau Current Population Survey (May 2013),
http://www.census.gov/prod/2013pubs/p20-568.pdf; A Look at 2012 Turnout by Ethnicity in Texas, Texas Redis-
tricting & Election Law, http://txredistricting.org/post/49970427560/a-look-at-2012-turnout-by-ethnicity-in-texas;
Dan Balz and Ted Mellnik, “Census: Blacks Voted at Higher Rates than Whites in 2012,” The Washington Post,
http://www.washingtonpost.com/politics/census-blacks-voted-at-higher-rates-than-whites-in-
2012/2013/05/08/7d24bcaa-b800-11e2-b94c-b684dda07add_story.html.
          There is a great deal of research in political science over the last three decades showing that sample data
published biennially by the Current Population Survey (CPS), a monthly survey of households conducted by the
Bureau of Census for the Bureau of Labor Statistics are skewed by over-reporting. An early example is Allan J.
Lichtman and Samuel Issacharoff, “Black/White Voter Registration Disparities in Mississippi: Legal and Methodo-
logical Issues in Challenging Bureau of Census Data,” Journal of Law and Politics (Spring, 1991). Every group
tends to over-report registration and voting. African Americans over-report at a higher rate than whites over-report.
The most recent and careful synthesis of all this literature, Jan E. Leighley and Jonathan Nagler, Who Votes Now?
Demographics, Issues, Inequality and Turnout in the United States (Princeton: Princeton University Press, 2013),
cite in their discussion articles showing that African-Americans are more likely to inflate reported registration and
turnout than whites (pp. 18-23). Lieghley and Nagler conclude, “there are significant differences in misreporting
rates between blacks and whites, with blacks being more likely to overreport voting.” (pp. 19-20). Unless this long-
standing over-reporting pattern has changed, there are questions as to whether the report that African Americans
voted at a higher percentage than whites in 2012 is entirely reliable.
168
    Texas v. United States, 887 F. Supp. 2d 133 (D.D.C. 2012).
169
    “Although we have already concluded that the Congressional Plan cannot be precleared under section 5’s effect
prong, we are also persuaded by the totality of the evidence that the plan was enacted with discriminatory intent...
“We conclude that Texas has not shown that the Senate Plan was enacted without discriminatory intent.” Texas v.
United States, 887 F. Supp. 2d 133, 159-66 (D.D.C. 2012).
170
    Texas v. United States, 887 F. Supp. 2d 133, 178 (D.D.C. 2012) (“[R]ecord evidence may support a finding of
discriminatory purpose in enacting the State House Plan. Although we need not reach this issue, at minimum, the
full record strongly suggests that the retrogressive effect we have found may not have been accidental.”)


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of minority voter turnout could be shifted to affect election outcomes, strongly suggests that the

same legislature’s care and knowledge of census and minority turnout data went into the crafting

of SB 14.

        SB 14’s supporters also engaged in various unusual procedural maneuvers to pass SB 14,

such as attempting to attach voter ID requirements to unrelated bills as amendments 171 and using

the life-threatening illness of one Democratic senator to try to overrule dissent.172 In response,

the minority Democratic Party had a “chub” in the House173 and threatened filibusters to prevent

the passage of voter ID legislation.174 In 2009, the Senate passed SR 14, which added Senate

Rule 5.11(d), exempting voter ID legislation from the usual two-thirds rule practiced in the Sen-

ate.175 This rule was carried over into the rules that the Senate adopted for the 82 nd legislature on

19 January 2011.176 On 20 January 2011, Governor Perry declared voter ID requirements an

emergency item, which allowed lawmakers to begin considering the issue in the initial 30 days of

the legislative session.177 Lieutenant Governor Dewhurst expedited that passage of SB 14; Sena-

tor Fraser originally filed his photo identification bill as SB 178, but he was permitted to re-file

the bill using a low bill number reserved by Dewhurst for legislative priorities.178 In the House,

Speaker Straus announced SB 14 would be on a “fast track” Select Committee on Voter Identifi-

cation and Voter Fraud, the only committee “fast tracked” that session, with SB 14 as its only


171
     Texas House Journal, 79th Legislature, Regular Session. 76th day (May 24, 2005).
172
     Gary Scharrer, “Ailing Gallegos Risks Health to Stop Voter ID,” Houston Chronicle, May 22, 2007.
173
     Dave Montgomery, “Democrats in House talk to kill voter ID bill,” Fort Worth Star Telegram, May 23, 2009,
B01.
174
     Associated Press, “Democrats derail voter-ID bill with threat of filibuster, exercise of Senate rules,” Lubbock
Avalanche-Journal, May 29, 2005.
175
         Texas       Senate       Resolution      14;     Legislative      Session      81      (R).      01/14/2009.
http://www.legis.state.tx.us/tlodocs/81R/billtext/pdf/SR00014F.pdf (last accessed June 27, 2014)
176
     Senate Rules. Adopted by the 82nd Legislature, January 19, 2011.
177
    “Gov. Perry Adds Voter I.D. and Balanced Budget Amendment to Emergency Items for Legislative Session.”
Office of the Governor, Rick Perry. January 20, 2011. http://governor.state.tx.us/news/press-release/15602/ (last
accessed June 27, 2014).
178
     DOJ findings of fact/law in Section 5 case, 174.


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legislation.179 Two elected House Democrats switched parties, giving Republicans a two-thirds

majority in the House, allowing them to suspend the rules anytime to break a Democratic

chub.180 The House proposed 53 amendments; 35 were tabled, 3 failed, and 15 were adopted but

later removed, and many of these amendments would have made the photo IDs less restrictive or

would have provided a study of the impact of the voter ID law.181 Although citing fraud preven-

tion and claiming to use the Indiana voter ID law as a template, the authors of SB 14 ignored the

various amendments that would have made the law less burdensome and rejected the more leni-

ent aspects of the Indiana law, to craft the most extremely and exclusionary voter ID requirement

in the nation. (For further details about the legislative history of SB 14, which was characterized

by departures from normal legislative processes and customs, please see Appendix B: Passage

and Implementation of Voter Identification Legislation).

        In fact, at the time SB 14 was finally implemented in 2013, Texas was fully aware of the

real difficulties that African Americans and other minority voters faced in obtaining an SB 14

required photo ID. Most tellingly, in 2012, a federal court in Washington, D.C., had already used

the Voting Rights Act to block implementation of the law. On June 25, 2013, however, the U.S.

Supreme Court struck down as unconstitutional a separate part of the Voting Rights Act,182 giv-

ing Texas the option of enforcing SB 14. Within mere hours of the Supreme Court’s decision, the

Texas Governor and Attorney General both announced that SB 14 would be enforced immediate-

ly and without any alterations to mitigate the law’s discriminatory effect.183



179
    DOJ findings of fact/law in Section 5 case, 195-196.
180
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶53.
181
    DOJ findings of fact/law in Section 5 case, 200.
182
    Shelby Cnty., Ala. v. Holder, 133 S. Ct. 2612, 570 U.S. __, 186 L. Ed. 2d 651 (2013).
183
    Michael Cooper, After Ruling, States Rush to Enact Voting Laws, N.Y. Times, July 6, 2013, at A9, available at
http://www.nytimes.com/2013/07/.06/us/politics/after-Supreme-Court-ruling-states-rush-to-enact-voting-laws.html;
Todd J. Gillman, Texas AG Greg Abbott: Voter ID law “Will Take Effect Immediately,” Dallas Morning News, June


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        Thus, the Senate Factors examined in this report, as well as the additional context above,

describe the racially charged atmosphere in Texas leading to the enactment and ultimate imple-

mentation of SB 14. Following substantial increases in both African-American voter turnout and

Latino population growth, the Texas legislature and others used procedural tricks, racial appeals,

and the pretext of nearly non-existent fraud to pass and implement SB 14. In the past, compara-

ble contexts also led to Texas’s enactment of other discriminatory voting devices. All of this his-

tory and context strongly suggests that SB 14 was enacted with a discriminatory intent.



Respectfully submitted by,




Orville Vernon Burton, Ph.D.

Date: June 27, 2014




25, 2013, available at http://www.wfaa.com/news/texas-news/Hours-after-SCOTUS-ruling-Texas-declares-voter-
ID-law-effective-immediately-212993711.html.


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                              Exhibit 1
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                              Exhibit 2
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                              Exhibit 3
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                            Appendix A
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               ORVILLE VERNON BURTON, BIOGRAPHY AND CURRICULUM VITAE
         Orville Vernon Burton is Creativity Professor of Humanities, Professor of History, Sociology,
and Computer Science at Clemson University, and the Director of the Clemson CyberInstitute. From
2008-2010, he was the Burroughs Distinguished Professor of Southern History and Culture at Coastal
Carolina University. He was the founding Director of the Institute for Computing in Humanities, Arts,
and Social Science (I-CHASS) at the University of Illinois, where he is emeritus University Distinguished
Teacher/Scholar, University Scholar, and Professor of History, African American Studies, and Sociology.
At the University of Illinois, he continues to chair the I-CHASS advisory board and is also a Senior Re-
search Scientist at the National Center for Supercomputing Applications (NCSA) where he served as As-
sociate Director for Humanities and Social Sciences from 2002-2010. Burton serves as vice-chair of the
Board of Directors of the Congressional National Abraham Lincoln Bicentennial Foundation. In 2007 the
Illinois State legislature honored him with a special resolution for his contributions as a scholar, teacher,
and citizen of Illinois. A recognized expert on race relations and the American South, and a leader in Dig-
ital Humanities, Burton is often invited to present lectures, conduct workshops, and consult with colleges,
universities, and granting agencies.
         Burton is a prolific author and scholar (twenty authored or edited books and more than two hun-
dred articles); and author or director of numerous digital humanities projects. The Age of Lincoln (2007)
won the Chicago Tribune Heartland Literary Award for Nonfiction and was selected for Book of the
Month Club, History Book Club, and Military Book Club. One reviewer proclaimed, “If the Civil War
era was America's ‘Iliad,’ then historian Orville Vernon Burton is our latest Homer.” The book was fea-
tured at sessions of the annual meetings of African American History and Life Association, the Social
Science History Association, the Southern Intellectual History Circle, and the latter was the basis for a
forum published in The Journal of the Historical Society. His In My Father’s House Are Many Mansions:
Family and Community in Edgefield, South Carolina (1985) was featured at sessions of the Southern His-
torical Association and the Social Science History Association annual meetings. The Age of Lincoln and
In My Fathers’ House were nominated for Pulitzers.
        Recognized for his teaching, Burton was selected nationwide as the 1999 U.S. Research and Doc-
toral University Professor of the Year (presented by the Carnegie Foundation for the Advancement of
Teaching and by the Council for Advancement and Support of Education). In 2004 he received the
American Historical Association’s Eugene Asher Distinguished Teaching Prize. At the University of Illi-
nois he won teaching awards at the department, school, college, and campus levels. He was the recipient
of the 2001-2002 Graduate College Outstanding Mentor Award and received the 2006 Campus Award for
Excellence in Public Engagement from the University of Illinois. He was appointed an Organization of
American Historians Distinguished Lecturer for 2004-14.
         Burton's research and teaching interests include the American South, especially race relations and
community, and the intersection of humanities and social sciences. He has served as president of the
Southern Historical Association and of the Agricultural History Society. He was elected to honorary life
membership in BrANCH (British American Nineteenth-Century Historians). Among his honors are fel-
lowships and grants from the Rockefeller Foundation, the National Endowment for the Humanities, the
Pew Foundation, the National Science Foundation, the American Council of Learned Societies, the
Woodrow Wilson International Center for Scholars, the National Humanities Center, the U.S. Department
of Education, and the Carnegie Foundation. He was a Pew National Fellow Carnegie Scholar for 2000-
2001. He was elected to the Society of American Historians and was one of ten historians selected to con-
tribute to the Presidential Inaugural Portfolio (January 21, 2013) by the Joint Congressional Committee
on Inaugural Ceremonies.




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Education: 1976, Ph.D. Princeton University          Ph.D. dissertation: “Ungrateful Servants?
       Edgefield's Black Reconstruction: Part I of the Total History of Edgefield County, South
       Carolina.” Advisors Sheldon Hackney and James McPherson
           1969, B.A. Furman University, magnum cum laude

Military Service: active service 1969, 1974 U.S. Army, Honorably Discharged as Captain, 1977

Academic Positions:
Creativity Chair of Humanities, Clemson University, 2013-
Professor Computer Science, Clemson University, 2011-
Director Clemson CyberInstitute, 2010-
Associate Director for Humanities, Arts, and Social Sciences, Clemson CyberInstitute, 2010
Professor of History, Clemson University, 2010-
Burroughs Distinguished Professor of Southern History & Culture, Coastal Carolina University,
       2008-10
University of Illinois at Urbana-Champaign (UIUC), 1974-2008
       2009- Chair, Advisory Board for Institute for Computing in Humanities, Arts, and
               Social Science (I-CHASS)
       2008-11, Consultant for Humanities to Chancellor’s and Provost’s Office
       2004-09, Founding Director I-CHASS
             2008, Emeritus University Distinguished Teacher/Scholar, University Scholar, and
             Professor History, African American Studies, and Sociology
       2006-08, Professor African American Studies
       1989-2008, Professor, History
       1989-2008, Professor, Sociology
       1988-2008, Graduate College Statistics Faculty
       1986-2008, Campus Honors Program
       1985-2006, Faculty Affiliate, African American Studies and Research Program
       1982-1989, Associate Professor, History
       1976-1982, Assistant Professor History
       1974-1976, Instructor
   National Center for Supercomputing Applications (NCSA)
              2002-10, Associate Director, Humanities and Social Sciences
              1993-2002, Head, Initiative for Social Sciences and Humanities
              1986- Senior Research Scientist
Princeton University

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       1972-74, Assistant Master, Woodrow Wilson Residential College
       1971-72, Instructor, Mercer County Community College, NJ

College of Charleston
       2001-, Executive Director, Program in the Carolina Lowcountry and the Atlantic World
              (CLAW) http://claw.cofc.edu
       1987, Professor of History, Governor’s School of South Carolina

Selected Honors, Fellowships, Awards
U.S. Professor of the Year, Outstanding Research and Doctoral Universities Professor (Council
        for Advancement and Support of Education and Carnegie Foundation for the Advance-
        ment of Teaching), 1999
American Historical Association Eugene Asher Distinguished Teaching Prize, 2004
Chicago Tribune’s Heartland 2007 Literary award for nonfiction for The Age of Lincoln
Illinois House Resolution of Congratulations, HR 0711, 2007. The Illinois State legislature
        passed a special resolution acknowledging my contributions as a scholar, teacher, and cit-
        izen of Illinois.
Society of American Historians, Elected 2012
Fellow, National Humanities Center (NEH Senior Scholar Award), 1994-95
Fellow, Woodrow Wilson International Center for Scholars, 1988-89
Fellow, Pew Foundation, 1996
National Fellowship Program for Carnegie Scholars, 2000-2001
Rockefeller Humanities Fellowship, 1978
Earl and Edna Stice Lectureship in the Social Sciences at the University of Washington, 2005
Strickland Visiting Scholar, Department of History, Middle Tennessee State University, 2006
Pew-Lilly Foundation Graduate Professor, Notre Dame University, 2001
Mark W. Clark Distinguished Chair of History, The Citadel, 2000-01
Elected to honorary life membership in BrANCH (British American Nineteenth-Century Histori-
        ans)
Organization of American Historians Distinguished Lecturer, 2004-2014
Choice Outstanding Academic Book for The Age of Lincoln, 2008
Choice Outstanding Academic Title for Slavery and Anti-Slavery: Transnational Archive, 2009
Booklist’s Editors’ Choice Title for Slavery and Anti-Slavery: A Transnational Archive, 2009
Choice Outstanding Academic Book for Computing in the Social Sciences and Humanities, 2003
Richard F. Fenno Prize, Legislative Studies Section, American Political Science Association, for
        Quiet Revolution, 1995
President Southern Historical Association, 2011-12
President Agricultural History Society, 2001-02


Publications:
Books:
Penn Center: A History Preserved. Athens: University of Georgia Press, 2014.
The Age of Lincoln. NY: Hill and Wang, 2007. (Audio: Blackstone Audio Books). Paperback
    edition 2008. Selection for Book of the Month Club, History Book Club, Military Book
    Club. The Age of Lincoln was nominated by Farrar, Straus, and Giroux for the Pulitzer

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    Prize. Three historical associations featured sessions on the book, Association for the Study
    of African American Life and History, 2008; Social Science History Association, 2008; The
    Southern Intellectual History Circle, 2009.
(with Judy McArthur) “A Gentleman and an Officer”: A Military and Social History of James
         B. Griffin's Civil War. NY: Oxford University Press, 1996; second printing 1999.
In My Father's House Are Many Mansions: Family and Community in Edgefield, South Caroli-
         na. Chapel Hill: University of North Carolina Press, 1985. Paperback edition 1987; 5th
         printing 1998. In My Father's House was nominated by the University of North Carolina
         Press for the Pulitzer Prize. Two Historical Associations featured this book in sessions at
         their annual meetings: Social Science History Association, 1986; Southern Historical
         Association, 1987.
(annotated and edited with Georganne B. Burton, introduction pp. 1-48) “The Free Flag of Cu-
         ba”: The Lost Novel of Lucy Pickens [orig. pub. 1854] in the Library of Southern Civili-
         zation series, edited by Lewis P. Simpson. Baton Rouge: Louisiana State University
         Press, 2002. Paperback 2003.
 (edited with Ray Arsenault) Dixie Redux: Essays in Honor of F. Sheldon Hackney. Montgom-
         ery, AL: New South Books, 2013.
(edited with Jerald Podair and Jennifer L. Weber) The Struggle for Equality: Essays on Sectional
         Conflict, the Civil War, and the Long Reconstruction in Honor of James M. McPherson.
         Charlottesville: University of Virginia Press, 2011.
Editor, The Essential Lincoln. NY: Hill and Wang, 2009.
(edited with Winfred B. Moore, Jr.) “Toward the Meeting of the Waters”: Currents in the Civil
         Rights Movement in South Carolina during the Twentieth Century. Columbia: The Uni-
         versity of South Carolina Press, 2008. Paperback 2011.
(edited with David O’Brien) Remembering Brown at Fifty: The University of Illinois Commem-
         orates Brown v. Board of Education. Urbana: University of Illinois Press, 2009.
Editor, Slavery in America: Gale Library of Daily Life, 2 vols. NY, Detroit: Gale Cengate
         Learning, 2008.
Editor, Computing in the Social Sciences and Humanities. Urbana: University of Illinois Press,
         2002.
(edited with David Herr and Terence Finnegan) Wayfarer: Charting Advances in Social Science
         and Humanities Computing. Urbana: University of Illinois Press, 2002. This CD-ROM
         contains more than 65 essays and research and teaching applications, including illustra-
         tive interactive multimedia materials.
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(with Ian Binnington and David Herr) “Computer Mediated Learning Environments: How Use-
        ful Are They?” AHR Perspectives: Newsmagazine of the American Historical Associa-
        tion 41:1 (January 2003): 14, 22 (More detailed Carnegie Report as “Historians Face the
        E-Future: Findings from the Carnegie Scholar Survey on Computer Mediated Learning
        Environments,”                    at                   AHA                     Website
        www.theaha.org/perspectives/issues/2003/0301/0301not3.cfm).

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(with Terence Finnegan and Beatrice Burton) “The Census Workbench: A Distributed Compu-
        ting U.S. Census Database Linkage System,” in Wayfarer: Charting Advances in Social
        Science and Humanities Computing. Edited by Orville Vernon Burton, David Herr, and
        Terence R. Finnegan. (Urbana: University of Illinois Press, 2002).
(with David Herr and Beatrice Burton) “RiverWeb: History and Culture of the Mississippi River
        Basin American Bottom,” in Wayfarer: Charting Advances in Social Science and Hu-
        manities Computing. Edited by Orville Vernon Burton, David Herr, and Terence R. Fin-
        negan. (Urbana: University of Illinois Press, 2002).
“Interviews with Exemplary Teachers: Orville Vernon Burton,” The History Teacher 35 (Febru-
        ary 2002): 237-251.
“A Special Kind of Community,” Furman Magazine 44, no. 1 (Spring 2001), 16-19.
“Why Care About Teaching? An interview with an Accomplished Scholar and National Teach-
        ing Award Winner,” The Real Issue (January/February 2000): 2-5.
“The Use of Historical and Statistical Data in Voting Rights Cases and Redistricting: Intent and
      Totality of Circumstances Since the Shaw Cases,” “Understanding Ecological Regression
      Techniques for Determining Racial Bloc Voting: An Emphasis on Multiple Ecological
      Regression,” and “Report on South Carolina Legislative Delegation System for Vander
      Linden v. South Carolina, Civ. Non. 2-91-3635-1, December 1995,” in Conference Work-
      book. Lawyer’s Committee for Civil Rights Under Law Voting Rights Project, American
      University Washington College of Law, Voting Rights Conference, November 19-20,
      1999, Washington D.C.
“Presenting Expert Testimony in Voting Rights Cases” and “Understanding Ecological Regres-
        sion Techniques for Determining Racial Bloc Voting,” in Conference Proceedings.
        CLE/NAACP Annual Meeting, Indianapolis, IN, 1993.
(with James W. Loewen, Terence Finnegan, Robert Brischetto) “It Ain't Broke, So Don't Fix It:
        The Legal and Factual Importance of Recent Attacks on Methods Used in Vote Dilution
        Litigation,” lead article in The University of San Francisco Law Review 27:4 (Summer
        1993): 737-780.
“Teaching Historians with Databases,” History Microcomputer Review 9:1 (Spring 1993): 7, 9-
        17.
(with Terence Finnegan), “Two Societies at War, 1861-1865,” pp. 273-90 in Documents Collec-
        tion America's History, vol. 1. Edited by Orville Vernon Burton, et al., to accompany
        James Henretta, et al., America's History, 2nd ed. (NY: Worth Publishers, 1993).
“Populism,” pp. E7-E11, in Instructor's Resource Manual America's History, 2nd ed., vol. 2 to
        accompany James Henretta, et al., America's History (NY: Worth Publishing, 1993).
“Quantitative Methods for Historians: A Review Essay,” Historical Methods 25:4 (Fall 1992):
        181-88.
“Computers, History, and Historians: Historians and Converging Cultures?” History Microcom-
        puter Review 7:2 (Fall 1991): 11-23.
(with Terence Finnegan) “Historians, Supercomputers, and the U.S. Manuscript Census,” in Pro-
        ceedings of the Advanced Computing for the Social Sciences Conference. Edited by
        Bruce Tonn and Robert Hammond. Washington, D.C.: GPO (U.S. Department of Com-
        merce Bureau of the Census), 1990. Revised edition published in Social Science Com-
        puter Review 9:1 (Spring 1991), 1-12.
(with Terence Finnegan) “Developing Computer Assisted Instructional (CAI) Materials in the
        American History Surveys,” The History Teacher 24:1 (Nov. 1990): 1-12.
(with Terence Finnegan) “Teaching Historians to Use Technology: Databases and Computers,”
        International Journal of Social Education 5:1 (Spring 1990): 23-35.
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“Complementary Processing: A Supercomputer/Personal Computer U.S. Census Database Pro-
       ject” in Supercomputing 88, vol. 2 Science and Applications. Edited by Joanne L. Martin
       and Stephen Lundstrom. Washington, D.C.: IEEE Computer Society Press, 1990, pp.
       167-177.
“History's Electric Future” in OAH (Organization of American Historians) Newsletter 17: #4
       (November 1989): 12-13.
“New Tools for ‘New’ History: Computers and the Teaching of Quantitative Historical Meth-
       ods” in Proceedings of the 1988 IBM Academic Information Systems University AEP
       Conference, "Tools for Learning," Dallas/Ft. Worth, Texas, June 1988. Edited by Freder-
       ick D. Dwyer. Abstract in Agenda, pp. 73-74. An expanded and significantly different
       version with Terence Finnegan as coauthor appears in History Microcomputer Review 5:1
       (Spring 1989): 3, 13-18.
(with Robert Blomeyer, Atsushi Fukada, and Steven J. White) “Historical Research Techniques:
       Teaching with Database Exercises on the Microcomputer,” Social Science History 11:4
       (Winter 1987): 433-448.
The United States in the Twentieth Century (History 262). Champaign: University of Illinois
       Guided Individual Study, Continuing Education and Public Service, 1986.
“The South in American History” in American History: Survey and Chronological Courses, Se-
       lected Reading Lists and Course Outlines from American Colleges and Universities, Ed-
       ited by Warren Susman and John Chambers, vol. 1: 121-27. (NY: Marcus Wiener Pub-
       lishing, Inc., 1983, rev. 2nd ed. 1987, rev. 3rd ed. 1991).
“Using the Computer and the Federal Manuscript Census Returns to Teach an Interdisciplinary
       American Social History Course,” The History Teacher 12 (November 1979): 71-88.
       Reprinted with a few changes in Indiana Social Studies Quarterly 33 (Winter 1980-81):
       21-37.

Interviews, Reports, and Other Publications:
“A Brief Conversation with James M. McPherson,” in The Struggle for Equality: Essays on Sec-
        tional Conflict, the Civil War, and the Long Reconstruction in Honor of James M.
        McPherson. Edited by Burton et al., pp. 288-92 (Charlottesville: University of Virginia
        Press, 2011).
“A Few Words about Allen Stokes as He Retires as Director of the South Caroliniana Library,
        U.S. Caroliniana Society Newsletter, Spring 2013, pp. 1, 4-5.
“UI Earns Right to be Mr. Lincoln’s University: Excerpted from remarks by Prof. Vernon Bur-
        ton, April 1, 2010 keynote address at the UI College of Law,” The News Gazette (Cham-
        paign, Illinois) May 23, 2010, pp. C-1 and C-4.
“Learning from the Bicentennial: Lincoln’s Legacy Gives Americans Something for which to
        Strive,” The News Gazette (Champaign, Illinois) February 12, 2010, pp. C-1 and C-4.
“Life of Lincoln Resonates Today,” The Atlanta Journal-Constitution, Opinion, Dec. 9, 2009,
        A19.
“Remarks by Professor Orville Vernon Burton at the October 10, 2009 Celebration of Abraham
        Lincoln’s September 30, 1959 Speech,” Delivered at the Milwaukee War Memorial Cen-
        ter at the Invitation of the Wisconsin Lincoln Bicentennial Commission, Appendix pages
        166-177 in Final Report and Appendix of the Wisconsin Lincoln Bicentennial Commis-
        sion, To: The Governor of the State of Wisconsin, Jim Doyle, Responsive to: Executive
        Order #245, Date: February 12, 2010.

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“Max Bachmann's Bust of Abraham Lincoln, Circa 1915,” pp. 88-89 in Lincoln in Illinois, Ron
        Schramm, Photographer and Richard E. Hart, Compiler and Editor (Springfield: pub-
        lished by the Abraham Lincoln Association, 2009.
“Is There Anything Left to Be Said about Abraham Lincoln?” Historically Speaking 9:7 (Sep-
        tember/October 2008): 6-8.
“An Interview with Vernon Burton” Lincoln Lore, no. 1894 (Fall 2008), pp. 18-24.
“Lincoln’s Generation also Faced Crisis Involving Religion and Terrorism,” in History Network
        Newsletter, February 25, 2008.
“Abraham Lincoln, Southern Conservative: An Interview with Orville Vernon Burton” ( 2 Parts),
        posted          by         Allen         Barra,          October         2,           2007.
        http://www.americanheritage.com/blog/200710_2_1259.shtml                                and
        http://www.americanheritage.com/blog/200710_2_1260.shtml
Interview by Roy A. Rosenzweig, 2001, “Secrets of Great History Teachers,” History Matters, at
        http://historymatters.gmu.edu/browse/secrets/.
“Keeping Up With the e-joneses: Information Technology and the Teaching of History,” Pro-
        ceedings for First Annual Charleston Connections: Innovations in Higher Education
        Conference. Learning from Each Other: The Citadel, The College of Charleston, The
        Medical University of South Carolina, Charleston Southern University and Trident Tech-
        nical College. June 1 and 2, 2001, The Citadel, Charleston, South Carolina, p. 63.
(with Terence Finnegan and Barbara Mihalas) “Developing a Distributed Computing U.S. Cen-
        sus Database Linkage System,” Technical Report 027 (December 1994). National Center
        for Supercomputing Applications, UIUC.
“On the Study of Race and Politics,” Clio: Newsletter of Politics & History, An Organized Sec-
        tion of the American Political Science Association 3:1 (Fall & Winter, 1992/1993): 6.
“Benjamin Mays of Greenwood County: Schoolmaster of the Civil Rights Movement,” South
        Carolina Historical Society News Service, published in various newspapers, 1990.
“Quantitative Historical U.S. Census Data Base” in Science: The State of Knowing. National
        Center for Supercomputing Applications, Annual Report to the National Science Founda-
        tion 1987, p. 29.
“Computer-Assisted Instructional Database Programs for History Curricula” Project EXCEL.
        1986-87 Annual Report. Office of the Chancellor, UI at Urbana-Champaign, pp. 41-42.
“Postmodern Academy,” The Octopus, January 24, 1997, p. 6.
(with David Herr and Ian Binnington) “Providing Lessons in Mississippi River Basin Culture
      and History: riverweb.ncsa.uiuc.edu,” in Touch the Future: EOT-PACI, 1997, p. 43.
“The Coming of Age of Southern Males During Reconstruction: Edgefield County, South Caro-
        lina,” Working Papers in Population Studies, School of Social Sciences, University of Il-
        linois at Urbana-Champaign, 1984.
In Memorial – Essays for F. Sheldon Hackney and Bertram Wyatt-Brown in the American His-
        torical Association (AHA) Perspectives; Thomas Krueger and Philip Paladin in Organi-
        zation of American Historians OAH Newsletter, and F. Sheldon Hackney and Ernest L.
        “Whitey” Lander, in Journal of Southern History.
A number of brief essays about the Clemson CyberInstitute, for example, “Clemson’s Cyber-
        Institute encourages Collaboration,” http://features.clemson.edu/inside-clemson/inside-
        news/clemson%E2%80%99s-cyberinstitute-encourages-collaboration/
In addition, I have written a number of reports as expert witness for minority plaintiffs in voting
        rights and discrimination cases.


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Accepted and In Press:
“Liberty,” in the Fetzer Institute's Booklet of Notable Lincoln Quotations, expected 2014.

Digital Publications and Projects:
Editor in Chief, The Long Civil War: A Digital Research and Teaching Resource, Alexander
        Street Publishers, 2013-
Editor in Chief, Slavery and Anti-Slavery: A Transnational Archive. The Largest Digital Ar-
chive on the History of Slavery. Farmington Hills, MI: Thompson-Gale, 2008-- 14.
http://www.galetrials.com/default.aspx?TrialID=16394;ContactID=15613. Advisory Board: Ira
        Berlin, Laurent Dubois, James O. Horton, Charles Joyner, Wilma King, Dan Littlefield,
        Cassandra Pybus, John Thornton, Chris Waldrep.
        Part I: Debates Over Slavery and Abolition, 2009
        Part II: Slave Trade in the Atlantic World, 2011
        Part III: Institution of Slavery, 2012
        Part IV: Age of Emancipation, 2013
Webmaster for the Abraham Lincoln Bicentennial Commission Website, 2007-10, now main-
        tained by the ALB Foundation. http://www.lincolnbicentennial.gov/
Lincoln Remembered: Nine essays – “Lincoln and the Founding of Democracy’s Colleges,”
        “Lincoln: America’s “First and Only Choice,” “Picturing Lincoln,” “Putting His Politics
        on Paper,” “Belief in the Rule of Law,” “Taking a Stand Against Slavery,” “The Move-
        ment Toward Civil Rights,” “Political Brilliance on the Path to the Emancipation Proc-
        lamation,” “Lincoln’s Last Speech,” commemorating the bicentennial of Lincoln’s birth,
        February 2009 to February 2010. A monthly blog for the Illinois LAS On-line Newslet-
        ter; available at http://www.las.illinois.edu/news/lincoln/.
Writing the South in Fact, Fiction and Poetry: A Conference Honoring Charles Joyner. Thurs-
        day and Friday Sessions. DVD produced of Conference I organized at Coastal Carolina
        University, Conway, SC, Feb. 17-19. Produced CD Aug. 2011.
Editor, “Slavery in America in Sources in U.S. History Online.” Farmington Hills, MI: Thomp-
        son Gale, 2007.
“The Mississippi River in American History,” for Mark Twain’s Mississippi, including essays
        with Simon Appleford and Troy Smith, on “Economic Development, 1851–1900,” “Poli-
        tics, 1851–1900,” “African Americans in the Mississippi River Valley, 1851–1900,” “Na-
        tive Americans in the Mississippi River Valley, 1851–1900,” “Religion and Culture,
        1851–1900,” and “Women in the Trans-Mississippi West,1851–1900.” Edited by Drew
        E. VandeCreek, Institute of Museum and Library Services (IMSL) Project (2007). Online
        Resource: http://dig.lib.niu.edu/twain/.
RiverWeb: An interdisciplinary, multimedia, collaborative exploration of the Mississippi River's
        interaction with people over time (now redone as Cultural Explorer). CD-ROM and
        Website http://riverweb.ncsa.uiuc.edu/.
The Illinois RiverBottom Explorer (IBEX). Part of the East Saint Louis Action Research Project
        (ESLARP) where Faculty and East St. Louis neighborhood groups and local churches
        work on tangible and visible projects that address the immediate and long-term needs of
        some of the city's poorest communities.                        (More is available at
        http://www.eslarp.uiuc.edu/). IBEX serves as a resource for historical documents, prima-
        ry     and      secondary     sources,     and   oral    history   interviews. Website:
        http://www.eslarp.uiuc.edu/ibex/archive/default.htm.

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   Text96. A collection of primary source electronic texts for teaching American History.
   Website http://www.history.uiuc.edu/uitext96/uitexttoc.html.
“Database Exercises and Quantitative Techniques: Exercise I: Colonial America.” Madison, WI:
         Wiscware, 1987. (for IBM and compatible computers, 1 disk, Instructional Workbook,
         and Teacher's Instructional Sheet).
“Lessons in the History of the United States.” Wentworth, NH: COMPress, 1987 (1989 with
         QUEUE, Fairfield, CT). For IBM color monitor; originally 50 computer exercise mod-
         ules on 25 computer disks + instructor's manual. An interactive electronic textbook of
         U.S. history.
Automated linkage and statistical systems Unix Matchmaker, AutoLoad, RuleMatch, Display-
         Match, ViewCreate (Urbana: UI NCSA, 2000).
         Website http://www.granger.uiuc.edu/aitg/maps/1870/htm/default.htm
"Illinois Windows Dataentry System for U.S. Census." University of Illinois, 1988 (for IBM PS2
         and compatible computers with Windows applications, 1 disk, Instructional Sheet)
The Age of Lincoln website at (ageoflincoln.com) temporarily housed at 128.174.199.229.
Current Digital Projects include Social Media Learning Center Studies of Elections, Redistrict-
         ing, Minorities, and Discussions of the American South, Race, and the Civil War. Also
         text and data analytics (mining) – developing techniques using the HathiTrust, Internet
         Archive II Digital Book Collection, and Library of Congress Chronicling America U.S.
         newspaper archive to study “DNA” of writings of Abraham Lincoln, changing views of
         American South over time, interpretations of Civil War and development of “Lost Cause
         Mythology.”
     In addition, I continue to use Edgefield County, South Carolina to investigate, “large ques-
     tions in small places.” I have accumulated a quantitative database that includes every person
     and farm recorded in the U.S. manuscript census returns linked from 1850 to 1880 for old
     Edgefield District, South Carolina (a region now comprising five different counties). With
     this unique database I (and my students) can study, test, and suggest themes in American
     History with details and specificity related to the lives of ordinary folks.


Other Selected Honors, Awards, and Grants:
   Certificate of Excellence from the Carnegie Academy for the Scholarship of Teaching and
   Learning for Work that Advances the Practice and Profession of Teaching In Support of Sig-
   nificant Student Learning, 2001
H-Net received the James Harvey Robinson Prize for teaching from the American Historical As-
       sociation, 1997
Award of Distinction in the Film/Video-History/Biography category from the International
       Academy of the Visual Arts, 16th Annual Communicator Awards, for “People: A Lincoln
       Portrait” television interstitial series (The Communicator Awards is the leading interna-
       tional awards program honoring creative excellence for communications professionals),
       2010 (part of program I put together for Lincoln commemoration at UIUC).
   SC African American Heritage Commission's 2009 “Preserving Our Places in History” Pro-
   ject Award for Claw’s (Executive Director, College of Charleston Carolina Lowcountry and
   Atlantic World) work in commemorating the banning of the international slave trade
Florida Historical Society, Medallion Lecture, 2002

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Auburn University, Eminence in the Arts and Humanities Fellows Lectures Medallion, “awarded
        to persons of distinguished achievement in the arts and humanities: writers, artists or re-
        nowned scholars in one or more of the liberal arts disciplines,” 2012
Senior Research Fellow, Southern Studies, University of South Carolina, 1988
Phi Beta Kappa, Furman University, 1986
Princeton University Scholar Award, 1969
National Defense Educational Award Title IV Fellowship, 1971 (Princeton University)
Clark Foundation Scholarship, 1966-69 (Furman University)
Wicker Award for Outstanding Student (sophomore), Furman University, 1967
Endel History Award, Furman, 1969
    Bradshaw-Feaster General Excellence Award (Furman’s highest honor for the graduating
    senior selected by faculty), 1969


UIUC Honors and Teaching Awards and Recognition
Inaugural University “Distinguished Teacher/Scholar,” 1999-2008
University Scholar, 1988 – 2008
Campus Award for Excellence in Public Engagement, 2006
Graduate College Outstanding Mentoring award, 2001-02
Fellow, Center for Advanced Study, 1982, Associate, 1994
Burlington Northern Faculty Achievement Award (UIUC), 1986
Study in a Second Discipline, Statistics and Demography, 1984
All-Campus Award for Excellence in Undergraduate Teaching, 1999
LAS Dean’s Award for Excellence in Undergraduate Teaching, 1999
LAS Award for Distinguished Teaching, 1986
School of Humanities Teaching Award, 1986
George and Gladys Queen Excellence in Teaching Award in History, 1986
Undergraduate Instructional Award (UIUC), 1984
    Every semester and for every undergraduate course that I taught at the University of Illinois
    (excluding large survey classes of between 300-750 students), I was deemed excellent in the
    UIUC “Incomplete List of Excellent Teachers.” I was noted on the list for more than twenty
    different courses. I was noted as “outstanding” from 1979 as long as they used that designa-
    tion.
Recognized by the Pan-Hellenic Council at as an “outstanding staff member for furthering scho-
       lastic achievement”
Selected by History Department as the “one instructor whom you believe best at creating intel-
       lectual excitement in students” for an educational study of teaching practices of college
       teachers, 1978
Received the Resident Hall Association Award for the Best Educational Program for lec-
       tures/discussion on Gone With the Wind and Jubilee for Black History Month, 1996
The Honor Society of Phi Kappa Phi, UIUC, Vice President, 2002-03; President, 2003-04
Ronald E. McNair Scholars Program Dedicated Service Award for Minority Students, 1996
Associate Vice Chancellor Academic Affairs award for contributions to the Student Research
       Opportunities Program and work with minority students (1995, 2006)



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   Selected Grants:
National Science Foundation (NSF), GK-12: Ed Grid Graduate Teaching Fellows Program,
       2003-09 ($4,990,015)
NSF, EAGER: Prototype Tool for Visualizing Online Polarization (co-Pi), 2012-14 ($262,654)
NSF CISE/IRIS Division Award, Grant No. ASC 89-02829, Automated Record Linkage, 1991
NSF Grant No. CDA-92-11139, “Historical U.S. Census Database with High Performance Com-
       puting,” 1992
NSF, EPIC Grant, 2006-08 ($20,000)
NSF Catalyst Grant for Social Science Learning Center (with MATRIX, Michigan State Univer-
       sity), 2006-09 ($175K)
NSF, Senior Investigator on the MRI award, Award #1228312 MRI: Acquisition of High Per-
       formance Computing Instrument for Collaborative Data-Enabled Science ($1,009,160)
       See:
       http://nsf.gov/awardsearch/showAward?AWD_ID=1228312&HistoricalAwards=false
Abraham Lincoln Bicentennial Foundation, “Lincoln’s Unfinished Business: Conference on The
       South and Race,” 2012-2015 ($27,000)
Clemson University, “Tracking Themes Across Time and Space,” 2012 ($10,000)
National Endowment for the Humanities (NEH) Challenge Grant for Institute for Computing in
       Humanities, Arts, and Social Science, 2008-11 ($750,000, 3 mil. Total with challenge
       matches)
NEH Educational Technologies Grant, ED-20758, 1997-99
NEH Humanities High Performance Computing Advance Research and Technology (HpC): Co-
       ordinating High Performance Computing Institutes and the Digital, 2008-09 ($249,997).
       To support a total of nine institutes and one joint conference for humanities scholars, to
       be hosted by three different high-performance computer centers: the National Center for
       Supercomputing Applications, the Pittsburgh Supercomputing Center, and the San Diego
       Supercomputer Center.
NEH, NSF, and the Joint Information Systems Committee, “Digging Into Image Data to Answer
       Authorship Related Questions,” 2009-11 ($100,000).
(with Max Edelson) NEH, The Cartography of American Colonization Database Project, To
       support the development of a database of 1000 historical maps illustrating the trajectory
       of colonization in the Americas. The database will provide a searchable introduction to
       the mapping of the western hemisphere in the era of European expansion, ca. 1500-1800.
       2008-09 ($24,997)
NEH Conference Grant (with R. C. McMath, Jr., History and Social Sciences, Georgia Institute
       of Technology), 1978
NEH Summer Research Fellowship, 1983
American Council of Learned Societies (ACLS) Travel grant, 1977
American Council of Learned Societies (ACLS) Grant- to Recent Recipients of the Ph.D., 1977
PT3/Technology Across Learning Environments for New Teachers grant, U.S. Department of
       Education, 2002-03, 2003-04
Academy of Academic Entrepreneurship, 2006-08
National Archives Record Administration grant for digital records, 2003-05
IBM Shared University Research Grant, 1994
IBM Innovations grant, Educational Technologies Board, 1992
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IBM Technology Transfer IBM grant, 1988
IBM EXCEL II, History Database Teaching Project, 1987
IBM EXCEL Project, History Database Teaching Project, 1986
Partnership Illinois Award, 1998 (with Brian Orland, Pennsylvania State University Landscape
       Architecture, East St. Louis Research Project), RiverWeb 2002-03, 2003-04
East Saint Louis Action Research Program Grant, 2005-06, 06-07, 07-08
Andrew Carnegie Foundation 3-year Baccalaureate Study Grant, 1976
Sloan Center for Asynchronous Learning Environment Grant, 1998
The Humanities Council (South Carolina) Outright Grant ($8,000), THC grant #10-1363-1
       (Writing the South in Fact, Fiction, and Poetry), 2011
South Carolina Humanities Council Conference Grant (with Tricia Glenn), 2005
South Carolina Humanities Council Conference Grant (with Winfred Moore), 2002-03
South Carolina Humanities Council Conference Grant (with Bettis Rainsford), 2000-01

Selected Grants from University of Illinois
Office of Continuing Education Grant, 2005-06, 06-07
Chancellor, Provost, and Vice Chancellor Research, RiverWeb Grant, 2004-05 ($30K)
Advanced Information Technologies Group Research Award, 1994, 96, 97, 2000
Applications of Learning Technologies in Higher Education grant for UI--Text96 Project, 1995--
       2000 (co-principal investigator with Richard Jensen of UIC campus)
Educational Technologies Board Grant for RiverWeb 1998
Guided Individual Study Grant for RiverWeb, 1997-98
Program for the Study of Cultural Values and Ethics, Course Development Award, 1993
Arnold O. Beckman Research Grant Award, UIUC Research Board, 1989, 1992
Language Laboratory Computer Assisted Instruction Award, 1988
Research Board Humanities Faculty Research Grant, 1986
Graduate Research Board, support for various projects, 1976-08

Selected Grants from Clemson University
2011/2012 University Research Grant Committee (URGC) Program ($10,000)
2013-14 CAAH & Library Digital Humanities Grant ($4000)

Selected Professional Activities and Service:
Officer Congressional Abraham Lincoln Bicentennial Commission Foundation, 2008-2010;
        Board of Directors, Abraham Lincoln Bicentennial Foundation, interim President, 2010,
        vice-chair 2010-
Southern Historical Association, President 2011-12, President Elect, 2011, Vice President Elect,
        2010, Executive Council, 2005-08; Program Committee 1989, 1998; 2005 (Chair); Mem-
        bership Committee, 1986-87, 1991-92; 1995-98; 2002; Committee on Women, 1992-95,
        Nominating Committee, 1999-2000, Chair H.L. Mitchell Book Award Committee, 2000-
        02
    Agricultural History Society, President 2001-02, Vice President 2000-01, Executive Commit-
    tee, 1997-2006; Committee to Review and Revise Constitution and By-Laws, 2004-05; Nom-
    inating Committee, 1991-94, chair 1993-94; Committee to Select first Group of Fellows for
    Society, 1995; Committee to select new Secretary/Treasurer, 2009-10



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Organization of American Historians, OAH/ALBC (Abraham Lincoln Bicentennial Commis-
       sion) Abraham Lincoln Higher Education Awards Committee, 2007-09; ABC-CLIO
       “America: History and Life” Award Committee, 1997-99; Membership Committee,
       1990-94
Social Science History Association, Executive Committee 2000-03; Nominating Committee
       1990-91; Program Committee 1989, 1993; Community History Network Convener,
       1976-79; Rural History Network Convener, 1988-90, 1993-94
Social Science Computing Association, Executive Council, 1993-2002; Organizing Committee
       Chairperson for Annual Conference, 1993, Conference on Computing for the Social Sci-
       ences (CSS93); program committee 1993-95, 2001
Southern Association for Women Historians, Membership Committee, 1996-99
South Carolina Historical Association, Executive Board, 2009-12
H-Net, founding member of H-Net, Treasurer and Executive Committee, 1993-99; Chair, com-
       mittee to evaluate multimedia NEH grant; Editor H-South (book review editor 1997-
       2000); Editorial Board of H-Rural, H-Slavery, and H-CivWar.
Advisory Board, The Virtual Archives for Land-Grant History Project, Association of Public-
       Land Grant Universities, 2012-
Scholarly Advisory Group, President Lincoln’s Cottage at the Soldier’s Home, 2012-
Executive Council, The University South Caroliniana Society, 2011-14
University of South Carolina, Search Committee for Director South Caroliniana Library, 2012
Executive Board South Carolina Jubilee Project, 2012-14

Member South Carolina Abraham Lincoln Bicentennial Commission, 2008-2010
Member Champaign County, Illinois, Abraham Lincoln Bicentennial Commission, 2006-10
  Council, U.S. Civil War Sesquicentennial Commission, 2009-15
   Historical Advisory Committee to the “Fort Sumter/Fort Moultrie Trust,” charged with or-
   ganizing Sesquicentennial Activities in Charleston and South Carolina Lowcountry, 2010-15
Associate Editor for History, Social Science Computer Review, 2012-
Editorial Board, Digital Humanities Series, University of Illinois Press, 2005-
Editorial Board, Change and Continuity, 1995-
Editorial Board Fides et Historia, 2010-
Editorial Board Proceedings of the South Carolina Historical Association, 2009-
Editorial Board, History Computer Review, 1990-2003
Editorial Board, Locus: An Historical Journal of Regional Perspectives on National Topics,
        1994-96
The Illinois Humanities Council Scholar, 2004-05
Invited to present to President’s Information Technology Advisory Commission (PITAC), 9-16-
        2004
Invited to NEH Digital Humanities Initiative Mini-Conference, March 2006 and Digital Humani-
        ties Summit, April 2011, December 2007
Digital Library Federation Scholars’ Advisory Panel, 2004-7
University of Tennessee Knoxville Horizon Project Steering Committee, 2014-
Peer Reviewer, ACH/ALLC/SDH-SEMI Joint Digital Humanities Conferences, 2007-13
E-Docs, (one of 3 founding members) Editorial Board, 1998-2005
Advisory Board, Postwar America: An Encyclopedia of Social, Political, Cultural, and Econom-
        ic History
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      Mentor for Southern Regional Council Minority Scholars Program, 1992-96
      UIUC Representative to Lincoln Presidential Library Committee: Educational Activities Com-
             mittee, 2001; Fellowship Committee, 2002
      Faculty Associate, Council for International Exchange of Scholars, 2002-03
         Evaluator/Referee (one of two for history) for the Pew Foundation Faculty Research Fellow-
         ships, 1997-98, 1998-99; 2001 (for graduate students for summer seminar)
          Evaluator and Referee for American Council of Learned Societies Grants, 2005-08
National Endowment Humanities, Review Panels: Scholarly Editions Program, 2007-08, for Digital
       Humanities Grants, 2010, NEH Division of Public Programs Panel, “America's Historical and
       Cultural Organizations” (AHCO) grant initiative, 2013
          National Science Foundation Review Panel for Knowledge and Distributed Intelligence
          grants, 1998, 1999
      Advisory Board for International Journal of Social Education, 1986-2000
      Advisory Reviewer for The Journal of Negro History (since 2002, The Journal of African Amer-
              ican History), 1992-
      Editorial Advisory Board, The South Carolina Encyclopedia, gen. editor Walter Edgar, 2000-06
      Advisory Board, Digital Library on American Slavery, University of North Carolina, Greensbo-
              ro, 2004-10
         Advisory Board, Biographies: The Atlantic Slaves Data Network (ASDN), 2010-
      Advisory Board, The Simms Initiatives of the Library at the University of South Carolina, 2009-
      Advisory Board, American Insight, 2013- (www.AmericanINSIGHT.org)
         Strategic Advisory Council for MATRIX: The Center for Humane Arts, Letters and Social
         Sciences On-line at Michigan State University, 2004-
          Humanities, Arts, Science, and Technology Advanced Collaboratory (HASTAC), Steering
          Committee and Planning Committee, 2003-04, Program Committee, 2009, 2010, 2013-14
      External Advisory Board, National Historic Preservation Research Commission (NHPRC) “Ef-
             fective User-Centered Access For Heterogeneous Electronic Archives” project, Illinois
             Institute of Technology, 2003-05
      Advisory Committee, American Studies Program, Bureau of Educational and Cultural Affairs,
             U.S. Information Agency, 1989-93
      Delegate to the Mexican/American Commission on Cultural Cooperation, Mexico City, June
             1990; Chairperson of United States delegation (Co-Chairperson with Mexican counter-
             part), U.S. Studies Working Group
      National Advisory Board to Alan Lomax's Global Jukebox: 1993-
      Advisor for “Crossroads of Clay”: NEH Alkaline Glazed Stoneware Exhibition and Catalog,
             McKissick Museum, University of South Carolina, 1987-90
      Advisory Committee Film Project for Historic Southern Tenant Farmers Union, 1986-90
      Consultant, Commercial film, “Roll the Union On” about H.L. Mitchell and the Southern Tenant
             Farmers Union
      Consultant on the Renewal of the 1965 Voting Rights Act, 1981-82, 2004-07, including consul-
             tation for an NBC TV Special.
         The Civil Rights Project at University of California, Berkeley, Advisory Board for “The
         Decade Ahead: Reauthorization of the Voting Rights Act and the Future of Democratic Par-
         ticipation,” 2004-07

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Consultant for Documentary, “Behind the Veil,” 1995-2005
Board of Directors of the Abraham Lincoln Historical Digitization Project, 1997-
Advisory Council for the Lincoln Prize at Gettysburg College, 1997-
Prize Committee for the Technology and History Award, The Gilder Lehrman Institute of Amer-
        ican History, 2000-01
International Committee on Historic Black Colleges and Universities, 2001-
Consultant, Belle Meade and The Hermitage and Vanderbilt University. Presentations of slav-
       ery.
Consultant, Morven Park, 2010-
Consultant, for Matt Burrows, documentary “The Assassination of N.G. Gonzales by James H.
       Tillman,” 2010-
Consultant, for Chris Vallilo musical performance, “This Land is Your Land: Woody Guthrie
       and the Meaning of America,” 2010-
   Organizing and Founding Committee International Society for the Scholarship of Teaching
   and Learning (IS-SOTL), 2003-7. Drafted initial mission statement for Society.
   Advance Research and Technology Collaboratory for the Americas (ARTCA) –Organization
   of American States, Advisory Board Chair, 2008-
Furman University Alumni Council Board, 2010-15

Service - University of Illinois (three campus system – Urbana, Chicago, Springfield)
UI Senate Conferences (elected), all three campuses of the University of Illinois, 2006-09, Pre-
        siding officer (chair) 2007-08
Lincoln Bicentennial Commission, 2006-09
Academic Affairs Management Team, 2007-08
Task Force for Global Campus, 2006-07
External Relations Management Team, 2006-09
Strategic Plan Committee, 2005-06

Service (selected) University of Illinois at Urbana-Champaign
Faculty Senate (elected), 1999-2001, 2002-03; 2005-06, 2006-07, Presiding Officer (Chair, Sen-
       ate Executive Committee), 2005-06, 2006-07 (was Senate Council) elected 2000-01,
       2003-04; 2005-06; 2006-07; Chair, Education Policy Committee, 2002-03, Chair 2003-
       04; Budget and Priorities Committee, 1999-01, Chair 2000-01
As Chair Faculty Senate Executive Committee, 2005-07 represented faculty at Board of Trustee
       meetings, and CIC meetings. Led in developing ideas of shared governance, helped in
       the drafting and implementing of a strategic plan for both the University of Illinois and
       the Urbana-Champaign campus. Oversaw establishment of the Illinois Informatics Insti-
       tute (I3) and the School of Earth, Society, and Environment. Dealt with issues of multi-
       year contracts for research faculty and staff policy, rehiring of retirees, Global Campus,
       and led study of Academic effects of Chief Illini and diversity issues.
Organizer and Chair, Planning Committee for the Lincoln Bicentennial, 2006-09
Task Force for Diversity and Freedom of Speech, 2007-08
Convocation address, August 21, 2000
Search Committee for Chancellor, vice-chair, 2004-5

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Association of American Colleges and Universities campus representative and Assoc., 2004-05
Martin Luther King, Jr., Week Planning Committee, co-chair, 2002-03, 03-04, 04-05, 05-06
Strategic Plan Committee, 2005-06
Chancellor’s Task Force (“Kitchen Cabinet”) for the Humanities, 2002-04
Provost’s ad hoc Committee on Evaluating Public Service for Promotion and Tenure, 2003-04
Brown Jubilee Planning Committee, Diversity Initiative, 2002-04
Law-Education Brown Jubilee Conference Program Committee, 2002-04
East St. Louis Action Research Projects (ESLARP) Campus Advisory Committee, 2004-
University Planning Council, 2000-01
Selection Committee for University Scholars, 1999 -- 2000, Chair Subcommittee for Social Sci-
         ences, Humanities, FAA, Communications, Education, Law 2000
UI President's Distinguished Speakers Program, 2000-02, 2006-08
University of Illinois Press Board, 1995-2000, Chair 1998-2000
Search Committee for Director University of Illinois Press, 1998-99
Committee on University Publishing, 1997-98
Graduate College Executive Committee, 1998-2000; Committee to Evaluate Dean of Graduate
         College, Committee to Review and Implement Graduate Program Revisions, Graduate
         Student Grievance Policy Committee
Graduate College Office of Minority Affairs Strategic Planning Committee, 1999-2000
University Administration Budget and Benefits Study Committee, 2000-02
Budget Strategies Committee, 1993-94, Subcommittee for Library. Subcommittee for Faculty
         Productivity and Teaching Models
Illinois Program for Research in the Humanities (IPRH) Advisory Committee, 2001-03
Center for Democracy in a Multicultural Society, Advisory Committee, 2002-08
Center for Advanced Study George A. Miller Committee, 2000-03
UI-Integrate Faculty Advisory Committee, 2003-04
Graduate College Area Subcommittee for the Humanities and Creative Arts, 1996-98
Campus-wide Advisory Committee for the Center for Writing Studies, 2000-01
Committee on Institutional Cooperation (CIC), Selection Committee for CIC Research Grants in
         the Humanities, 1993-94
Chancellor's Task Force for Minority Graduate Students, 1989-92
Chair, Subcommittee for Summer Program for Minority Graduate Students, 1990
Computer Resources Development Committee, Program for the Study of Cultural Values and
         Ethics, 1991-93
High Performance Computing Committee for the Social Sciences, 1989-95
Rural History Workshop Convener, 1989-94 (with Sonya Salamon)
Faculty Fellow, 1990-2003
Graduate College Fellowship Committee, 1988
Selection Committee for Lily Fellows, 1987
Social Studies Committee for the Preparation of Teachers, Council on Teacher Education, 1986
African American Studies and Research Program (AASRP), later Department of African Ameri-
         can Studies, Advisory Council, 1982-86; Curriculum Development & Faculty Recruit-
         ment Committee, 2002-2003; Research and Course Competition Committee, 1991-94,
         Chair 93-94; Electronic Networking Committee, 1996-2000, Chair 1997-98; Library Ad-
         visory Committee, 1997-2003
Chair, Search Committee for African-American Scholar, 1986-87
Search Committee, Director for AASRP, 1985-86, Chair 87-88

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Graduate College Appeals Committee, 1984
   Chancellor's Allerton Conference, 1988; Chancellor's Beckman Conference, 2001-06; Chan-
   cellor’s Conference on Diversity, 2002, faculty facilitator
Combating Discrimination and Prejudice Workshop, 1988
Krannert Art Museum, Committee on The Black Woman as Artist, 1992
H. W. Wilson Faculty Panel, 1993
Advanced Information and Technology Committee, 1992-97, Advisory Committee, 1993-94
Honors Symposium for UI recruitment of High School Seniors, 1993
Search Committee for Archivist, UIUC Computing and Communications Service Office, 1993
Search Committee for Research Librarian, UIUC Library, 1997; Undergraduate Library Adviso-
        ry Committee, 2002-
Member Human Dimensions of Environmental Systems Group, 1997-
Faculty Learning Circle for 2003-04
Illini Days Speaker, 1999, 2000, 2002
Public Interest Fund of Illinois Representative, 1996- 08
     Facilitator for Interinstitutional Faculty Summer Institute on Learning Technologies, UIUC,
     2000, 2002
   Board Advisors, Collaborative for Cultural Heritage and Museum Practices (CHAMP), 2005-
   08
Faculty Mentor for Campus Honors Program, 1980-2008


Service - College of Liberal Arts and Science UI:
Lecturer at Pedagogy 2000: Teaching, Learning and Technology, Annual UIUC Retreat on Ac-
       tive Learning (2000)
Keynote Address at LAS Awards Banquet, 2000 and Keynote at UIUC Campus Awards Ban-
       quet, 2000
Dean’s Committee to Evaluate Chair of History Department (1 of 3 elected by History Depart-
       ment), 1996
Oversight Committee Computing for the Social Sciences, 1993-95
Committee to select nominees for election to College Executive Committee, 1992
Academic Standards Committee, 1983-85, Chair 1984-85
School of Humanities Scholarship and Honors, 1986-88, Chair 1987-88
Social Sciences and Humanities Respondent to the Joint Task Force on Admission Requirements
       and Learning Outcomes, 1988
Advisory Committee, Social Sciences Quantitative Laboratory, 1987-88, 1989-93
Alumni Association Annual Speaker, 1990
General Education Committee, 1990-91
Awards Committee, Chair, 1991-92
Race & Ethnicity, Class & Community Area Committee of Sociology Graduate Program, 1993-
LAS Alumni Association Speaker, 2000
Cohn Scholars Honors Mentoring Program (choosing the 10-14 best Humanities first-year stu-
       dents), 1986-88, 1989-90, 1992-93, 1995-96, 1998-99, 2002
Faculty Mentor, Committee of Institutional Cooperation Summer Research Opportunities Pro-
       gram for Minority Students, 1987, 1991-95, 1997-2000, 2002, 2003

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Faculty Mentor, McNair Minority Scholars, 1993-94, 1996-97
Summer Orientation and Advance Enrollment Program, Faculty Leader, 1991-93, 2000, 2002,
       2004
Gender Inclusivity Seminar, 1992
The African-American Experience: A Framework for Integrating American History: An Insti-
       tute for High School Teachers of History, instructor 1992, 1994
Faculty Advisor for UIUC Law School Humanities Teaching Program, 1998-99
Senior Faculty Mentor, LAS Teaching Academy, 1999-2008


Service - Department of History UI:
Lincoln Bicentennial Committee, Chair, 2005-06, co-Chair 2006-08
Department Distance Learning and Global Campus committee, 2007-08
Carnegie Initiative on the Doctorate, 2003-05
Ethical Conduct Liaison, 2004-05
Phi Alpha Theta Faculty Advisor, 2005-06
Graduate Placement Officer, 1990, 1991-94, 1997-99
Graduate Admissions Officer, 1990-91
Graduate Committee, 1990-93
Organizer of OAH Breakfast Meeting, 1989-90, 1993-94
Computer Resources, 1976-88, 1989-91, 1995-99, Chair 1976-85, 1997-99
Teaching Awards, 1986-88, 1992-93, 1997-98, 1999-2000, Chair, 1987-88, 1997-98, 1999-2000
T.A. Evaluation, 1975-76, 1978-82, 1984-88, 1990-91, 1995, 1998-99, 2002, 2005-06
Speakers and Colloquia, 1981-82
Grants and Funding, 1981-82
Capricious Grading, 1985-86, 2002-03
Social Science History Committee, 1980
Advisor, History Undergraduate Club, 1976-78
Swain Publication Prize Essay Committee, 1991
Proposal-Writing Workshop, 1991-92, 2002
Teaching Workshop, 1993
Chair Library Committee, 1996-97
Faculty Advisor for Phi Alpha Theta, 2005-06
American History Search Committee, 1991-92
Chair, American History Search Committee, 1993-94
James G. Randall Distinguished Chair Search Committee, 1999-2000

Service Coastal Carolina University:
       Search committee for Archaeologist, 2008-09
       Selection Committee for Clark Chair of History, 2010
       Third Year Assistant Professor Faculty Review Committee, 2010

Service Clemson University:
       History Department Civil War Sesquicentennial Committee
       History Department Digital MA committee
       GIS Steering Committee, 2012-

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       Clemson University Computational Advisory Team (CU-CAT)
       University Academic Technology Committee, 2010-
       Ex-officio Steering Committee, Clemson CyberInstitute
       University Committee to commemorate the 50th Anniversary of the Integration of Clem-
                    son, 2011-13
              Outstanding Staff Employee Award, Academic Affairs Selection Committee,
       2011
       University Morrill Act Anniversary Celebration, 2011-13
       Ben Robertson Society (BRS) Foundation Advisory Board, 2013-
       Chair, Clemson University Humanities Grid committee, 2012-
       Chair, CAAH Humanities Computing committee, 2013-

A more complete list of Service and Public Engagement is available upon request.


Conferences Organized (selected list):
In 1978, I (with Robert C. McMath, Jr.) organized and chaired a National Endowment for the
Humanities Conference on Southern Communities at the Newberry Library. In 1993, I orga-
nized, hosted, and chaired the annual meeting of the Conference on Computing for the Social
Sciences at the National Center for Supercomputing Applications. In 1999, I organized and
hosted the 12th Annual Meeting of the Southern Intellectual History Circle (SIHC) in Edgefield
and Ninety Six, S.C, and again hosted SIHC for its 16th Annual meeting in 2004 at the College of
Charleston. In 2001, I organized a workshop and conference on diversity and racism in the
classroom with Carnegie Scholars at The Citadel in Charleston, S.C. In 2001, I organized a
South Carolina Humanities Council Edgefield Summit History Conference. In January 2003, I
organized a Workshop on Diversity and Racism and a Conference on the Scholarship of Teach-
ing and Learning, both at the University of Illinois. In March 2003 I organized The Citadel Con-
ference on the South: “The Citadel Symposium on the Civil Rights Movement in South Caroli-
na.” I organized the Humanities, Arts, Science, and Technology Advanced Collaboratory (HAS-
TAC) meeting in January 2004 in Washington, D.C. I organized and hosted a Humanities Com-
puting Summit in August 2004 at NCSA and UIUC. In 2005, I planned and hosted the British
American Nineteenth Century History (BrANCH) Conference in Edgefield, South Carolina and a
symposium honoring Jim McPherson’s retirement in April 2005 in Princeton. As program chair
I helped organize the Southern Historical Annual meeting in Atlanta in November 2005. In
2011, I organized a conference in honor of Charles Joyner, Writing the South in Fact, Fiction,
and Poetry, at Coastal Carolina University. In 2013, I organized a conference honoring F. Shel-
don Hackney at Martha’s Vineyard. As Director of I-CHASS, I regularly organized conferences
and workshops, at least two major conferences a year such as “Computing in Humanities, Arts,
and Social Sciences” (2005), “Spatial Thinking in the Social Sciences and Humanities” (2006),
and the “e-Science for Arts and Humanities Research: Early Adopters Forum” (2007). In 2007
we hosted the annual international meeting of The Alliance of Digital Humanities Organizations
including The Association for Computers and the Humanities. As Director of the Clemson
CyberInstitute, I regularly organize workshops, brownbags, conferences, and meetings. And as
Executive Director of the College of Charleston Atlantic World and Lowcountry (CLAW) Pro-
gram, I regularly work with others to organize conferences and meetings.



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Reviews:
I have reviewed books for numerous journals and book manuscripts for numerous presses. In
addition, I have refereed article manuscripts for numerous journals. I have also reviewed pro-
posals for various granting agencies. I have also reviewed and written outside letters of recom-
mendation for promotion, tenure, and endowed chair decisions for more than ninety cases at var-
ious colleges and universities. Lists of these reviews, presses, journals, universities, and granting
agencies are available upon request.

Invited lectures and conference participation available upon request. From 2010-14, selected
invited lectures include those at Harvard University, University of Pennsylvania, Black Congres-
sional Caucus, Printers Row Book Fair, Society of Civil War Historians, Society of Historians of
Early America, Abraham Lincoln Bicentennial Commission (ALBC), Atlanta Town Hall meet-
ing on Race at Morehouse College and at Jimmy Carter Presidential Library Center, the Crown
Forum Martin Luther King, Jr. lecture at Morehouse College, Western Illinois University, Drake
University, University of Illinois Law School, Union League Club of Chicago, Association of
Archivists and Librarians, CASC, University of Georgia, Lawrence University, Wisconsin Lin-
coln Bicentennial, University of Wisconsin at Milwaukee, University of Wisconsin at Madison,
University of Wisconsin at Eau Claire, University of Kansas, Samford University, Talladega
University, ALBC Morrill Act Conference, Arkansas State University, San Francisco State Uni-
versity, Lewis University, Clemson University, Notre Dame, University of Oklahoma, Universi-
ty of Florida, University of Southern Florida, Florida State University, University of South Caro-
lina, South Carolina State University, North Greenville University, Anderson University, Augus-
ta State University, Auburn University, Mercer University, American Historical Association, Or-
ganization of American Historians, Southern Historical Association, Agricultural History Socie-
ty, Wheaton College, University of Illinois, Florida Atlantic University, Lincoln College, Claflin
University, Francis Marion University, Policy Studies Association, Southern Studies Association
Meeting (regional affiliate of American Studies Association), Association for the Study of Afri-
can American Life and History (ASALH), Penn Center, Coastal Carolina University, Virginia
Polytechnic Institute and State University (Virginia Tech), South Carolina Historical Society,
South Carolina Department of Archives and History Civil War Symposium, Supercomputing11
(Seattle), History Miami, William Patterson University, USC Upstate, University of Hawaii,
University of North Carolina at Charlotte, University of North Carolina at Chapel Hill, The Lin-
coln Forum, Abraham Lincoln Presidential Library and Museum, Furman University, Berry Col-
lege, High Noon series at S.C. Upstate Museum, Erskine College, Mississippi State University.


Samples of recognition given to me or my work:
The Chronicle of Higher Education, Vol. L: 2 (September 5, 2003), cover page, A37-38. On-
       line at http://chronicle.com/prm/weekly/v50/i02/02a03701.htm
C. Vann Woodward, “District of Devils,” New York Review of Books, xxxii #15: 30-31
Chicago Tribune, October 13, 2007, cover of the Book Review Section, “Orville Vernon Bur-
       ton’s Heartland Prize-winning The Age of Lincoln.” Catherine Clinton, “Lincoln and His
       Complex Times,” pp. 4-5.
Featured      as     example      of   “Faculty    Excellence”    on    UIUC      Homepage:
       http://www.uiuc.edu/overview/explore/

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Call out in Sonia Sotomayor, My Beloved World (NY: Alfred A. Knopf, 2013), p. 132, and her
        Commencement Address at the University of South Carolina, 2011 (on C-Span) and “Su-
        preme Court Justice Sonia Sotomayor uses vivid examples from two key figures in her
        life—her mother and South Carolina native and historian Vernon Burton”; Wayne Wash-
        ington, “You Learn Values from Your Family, Supreme Court Justice Tells Grads,” The
        Columbia State, May 9, 2011; http://www.thestate.com/2011/05/07/1808978/sotomayor-
        parents-are-key.html#storylink=misearch#ixzz1NljBBgHA                             and
        http://dailygamecock.com/news/item/1422-sonya-sotomayor-delivers-personal-inspiring-
        message-at-university-of-south-carolina-graduation
In last three years, numerous national and local television, radio (NPR—for example, June 27,
        2013, “On Point” discussing the Supreme Court Ruling on Voting Rights Act, Sections 4
        and      5--        http://onpoint.wbur.org/2013/06/27/scotus-voting-rights;      and
        http://wbur.fm/138DolQ -- and commercial), and other media interviews and programs,
        including several C-SPAN Book TV (for example, “President Lincoln and Secession,”
        http://www.c-spanvideo.org/program/293631-3) and a two-hour Clemson University lec-
        ture on Southern Identity at “Lectures in History,” http://www.c-span.org/History/ –
        downloaded 492,791 times in 2012. Numerous appearances on SC ETV for documen-
        taries (more complete list available upon request).




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 PASSAGE AND IMPLEMENTATION OF VOTER IDENTIFICATION LEGISLATION

A. Previous Voter Identification Legislation in Texas

        The passage of Senate Bill (SB) 14, Texas voter photo identification (ID) law, was the

culmination of repeated attempts to pass more restrictive voter identification requirements. From

2005 to 2011, the Texas Legislature considered four different bills which increased the voter

identification requirements: House Bill (HB) 1706 (2005), HB 218 (2007), SB 362 (2009), and

SB 14 (2011). Legislation passed by the 75th Regular Session of the Texas Legislature in 1997,

HB 330, amended Section 63.0101 of the Election Code and provided that the following forms

of documentation were acceptable forms of identification: a driver’s license or personal identifi-

cation card issued by the Texas Department of Public Safety, a form of identification containing

the person’s photograph that establishes the person’s identity; a birth certificate or other docu-

ment confirming birth that is admissible in court of law and established the person’s identity;

U.S. citizenship papers; a U.S. passport; pre-printed checks; official mail; two other forms of

identification that establish a person’s identity; or any form of identification prescribed by the

secretary of state.184 HB 1549, which was passed by the 78th Legislature in 2003, amended these

requirements and limited the number of acceptable forms of identification. The legislation re-

moved pre-printed checks from the list of acceptable forms of identification and narrowed the

types of documents allowed by removing the statement which stipulated that two other forms of

identification that establish a person’s identity could be used. The amended election law, howev-

er, did allow voters to use a copy of a current utility bill, bank statement, government check,




184
   75(R) HB 330 Enrolled Version-Bill Text. http://www.legis.state.tx.us/tlodocs/75R/billtext/html/HB00330F.htm
(accessed June 4, 2014)


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paycheck, or other government document that shows the name and address of the voter. 185 HB

1549, authored by Mary Denny (R-Flowermound), amended election laws to implement the fed-

eral Help America Vote Act of 2002 (HAVA).

          In 2005, Mary Denny authored HB 1706, which sought to further limit the acceptable

forms of identification by requiring photo identification. Under HB 1706, in addition to a voter

registration certificate, voters would have to submit either one form of photo identification, or

two other pieces of identifying documentation. Acceptable forms of photo identification would

have included:

                a driver’s license or personal identification card issued to the person by the De-
                 partment of Public Safety or the equivalent agency of another state that has not
                 expired or that expired no earlier than two years before the date of presentation;
                a United States military identification card that contains the person’s photograph;
                a valid employee identification card that contains the person’s photograph and is
                 issued by an employer of the person in the ordinary course of the employer’s
                 business;
                a United States citizenship certificate issued to the person that contains the per-
                 son’s photograph;
                a United States passport issued to the person;
                a student identification card issued by a public or private institution of higher ed-
                 ucation that contains the person’s photograph;
                a license to carry a concealed handgun issued to the person by the Department of
                 Public Safety;
                an identification card issued by a Texas state agency that contains the person’s
                 photograph; or
                an identification card that contains the person’s photograph and is issued by a
                 county elections administrator or a county clerk.

      Acceptable pieces of identifying documentation would have included:

         a copy of a current utility bill, bank statement, government check, paycheck, or other
          government document that shows the name and address of the voter;
         official mail addressed to the person by name from a governmental entity;
         a certified copy of a birth certificate or other document confirming birth that is admissible
          in a court of law and establishes the person’s identity;

185
   78 (R) HB 1549 Enrolled Version-Bill Text. http://www.legis.state.tx.us/tlodocs/78R/billtext/pdf/HB01549F.pdf
(accessed June 4, 2014)


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         United States citizenship papers issued to the person;
          an original or certified copy of the person’s marriage license or divorce decree;
         court records of the person’s adoption, name change, or sex change;
         an identification card issued to the person by a governmental entity of Texas or the Unit-
          ed States for the purpose of obtaining public benefits, including veteran’s benefits, Medi-
          caid, or Medicare;
         a temporary driving permit issued to the person by the Department of Public Safety;
         a pilot’s license issued to the person by the Federal Aviation Administration or another
          authorized agency of the United States;
         a library card that contains the person’s name issued to the person by a public library lo-
          cated in Texas; or,
         a hunting or fishing license issued to a person by the Parks and Wildlife Department.186

          HB 1706 passed the Texas House, however, because of a Senate rule that required the

approval of two-thirds of the body to consider legislation outside of the regular order of business,

11 Senate Democrats were able to prevent the consideration of the bill by the Senate.187 Despite

this set-back to the enactment of photo identification requirements, Denny and other House Re-

publicans were determined to pass HB 1706, so Denny amended the House version of SB 89,

which added election officials to the list of individuals who were permitted to access the elec-

tronically readable information on a driver’s license, to include the voter identification regula-

tions of HB 1706.188 However, the Senate minority leader, Leticia Van de Putte, a Democrat

from San Antonio, raised a point of order that the House amendments to SB 89 were not ger-

mane to the body of the bill and that further consideration was in violation of Senate rules. The

chair ruled that the point of order was well-taken and sustained the point of order.189 SB 89 was




186
    79 (R) HB 1706 Enrolled Version-Bill Text. http://www.legis.state.tx.us/tlodocs/79R/billtext/pdf/HB01706E.pdf
(accessed June 4, 2014).
187
    No byline, “In Session,” San Antonio Evening News, May 4, 2005.
188
    Texas House Journal, 79th Legislature, Regular Session. 76th day (May 24, 2005). p. 4321.
189
    Texas Senate Journal, 79th Legislature, Regular Session. 80th day (May 27, 2005). p. 4509.


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referred to a conference committee, but the committee was unable to consider the legislation be-

fore the end of the session.190

          In 2007, Betty Brown (R-Athens) authored HB 218. This legislation, like HB 1706, re-

quired voters to present, in addition to a voter registration certificate, either one form of accepta-

ble photo identification or two other pieces of identifying documentation. Acceptable forms of

photo identification would have included:

         a driver’s license or personal identification card issued to the person by the Department
          of Public Safety that has not expired or that expired no earlier than two years before the
          date of presentation;
         a United States military identification card that contains the person’s photograph;
         a valid employee identification card that contains the person’s photograph and is issued
          by an employer of the person in the ordinary course of the employer’s business;
         a United States citizenship certificate;
         a United States passport issued to the person;
         a student identification card issued by a public or private institution of higher education
          located in the United States that contains the person’s photograph;
          a license to carry a concealed handgun issued to the person by the Department of Public
          Safety; or
         A valid identification card that contains the person’s photograph and is issued by:
               o an agency or institution of the federal government; or
               o an agency, institution, or political subdivision of Texas.

          HB 218 provided fewer acceptable forms of photo identification than HB 1706. While

HB 1706 would have permitted a driver’s license or personal identification card issued by the

Texas Department of Public Safety (DPS) or the equivalent agency of another state to be used by

voters as a form of photo identification, HB 218 allowed only a driver’s license or personal iden-

tification card issued by the Texas DPS. Additionally, while HB 1706 would have permitted

county commissioners courts to authorize county elections officials or county clerks to issue

photo identification cards to be used as proof of a voter’s identification, this provision is con-



  Associated Press, “Democrats derail voter-ID bill with threat of filibuster, exercise of Senate rules,” Lubbock
190

Avalanche-Journal, May 29, 2005.


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spicuously absent from HB 218. Like HB 1706, HB 218 would have allowed voters to present

two pieces of identifying documentation instead of photo identification. Acceptable pieces of

identifying documentation would have included:

       a copy of a current utility bill, bank statement, government check, paycheck, or other
         government document that shows the name and address of the voter;
       official mail addressed to the person by name from a governmental entity;
       a certified copy of a birth certificate or other document confirming birth that is admissible
         in a court of law and establishes the person’s identity;
       United States citizenship papers issued to the person;
       an original or certified copy of the person’s marriage license or divorce decree;
       court records of the person’s adoption, name change, or sex change;
       an identification card issued to the person by a governmental entity of Texas or the Unit-
         ed States for the purpose of obtaining public benefits, including veteran’s benefits, Med-
         icaid, or Medicare;
       a temporary driving permit issued to the person by the Department of Public Safety;
       a pilot’s license issued to the person by the Federal Aviation Administration or another
         authorized agency of the United States;
       a library card that contains the person’s name issued to the person by a public library lo-
         cated in Texas; or
       a hunting or fishing license issued to a person by the Parks and Wildlife Department.191

         The House passed HB 218 on 23 April 2007. Lieutenant Governor David Dewhurst took

advantage of the absence of two Democratic senators to schedule HB 218 for debate. 192 Because

of the threat of a filibuster, however, Senator Troy Fraser, the bill’s sponsor, agreed to a recount.

Democratic Senator Mario Gallegos whose biopsy indicated that his body was rejecting the liver

that had been transplanted four months earlier, ignored doctors’ advice, and returned to the Sen-

ate chamber. Because of the return of Senator Gallegos, the Democrats were able to block HB

218 from consideration by the Senate.193




191
    80 (R) HB 218 Enrolled Version-Bill Text. http://www.legis.state.tx.us/tlodocs/80R/billtext/pdf/HB00218E.pdf
(accessed June 5, 2014).
192
    Kristen Mack, “In trying to win, has Dewhurst lost a friend?,” Houston Chronicle, May 17, 2007.
193
    Mark Lisheron, “Senate, used to solidarity, repairs split,” Austin American Statesman, May 18, 2007


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       Following the large turnout of minorities in the 2008 election of President Obama, in

2009, Troy Fraser (R-Horseshoe Bay) and Craig Estes (R-Wichita Falls) introduced SB 362.

Like HB 1706 and HB 218, SB 362 would have required voters to present, in addition to a voter

registration certificate, either one form of acceptable photo identification or two other pieces of

identifying documentation. Acceptable forms of photo identification would have included:

     driver’s license or personal identification card issued to the person by the Department of
       Public Safety that has not expired or that expired no earlier than two years before the
       date of presentation;
     a United States military identification card that contains the person’s photograph;
     a United States citizenship certificate issued to the person that contains the person’s pho-
       tograph;
     a United States passport issued to the person;
     a license to carry a concealed handgun issued to the person by the Department of Public
       Safety; or
     a valid identification card that contains the person’s photograph and is issued by:
           o an agency or institution of the federal government; or
           o an agency, institution, or political subdivision of Texas.

       SB 362 provided four fewer acceptable forms of photo identification than HB 218. While

HB 218 would have permitted a valid employee identification card or a student identification

card to be used as forms of photo identification, both of these forms of identification were not

included in the list of acceptable photo identification in SB 362. Like HB 1706 and HB 218, SB

362 would have allowed voters to present two pieces of identifying documentation instead of

photo identification. Acceptable pieces of identifying documentation would have included:

      the voter’s voter registration certificate or a copy of a current utility bill, bank statement,
       government check, paycheck, or other government document that shows the name and
       address of the voter;
      official mail addressed to the person by name from a governmental entity;
      a certified copy of a birth certificate or other document confirming birth that is admissible
       in a court of law and establishes the person’s identity;
      United States citizenship papers issued to the person;
      an original or certified copy of the person’s marriage license or divorce decree;
      court records of the person’s adoption, name change, or sex change;



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         an identification card issued to the person by a governmental entity of Texas or the Unit-
          ed States for the purpose of obtaining public benefits, including veteran’s benefits, Medi-
          caid, or Medicare;
         a temporary driving permit issued to the person by the Department of Public Safety;
         a pilot’s license issued to the person by the Federal Aviation Administration or another
          authorized agency of the United States;
         a library card that contains the person’s name issued to the person by a public library lo-
          cated in Texas; or
         a hunting or fishing license issued to a person by the Parks and Wildlife Department.194

          SB 362 passed the Senate, in part because Lieutenant Governor Dewhurst and Senate Re-

publicans successfully changed Senate rules to allow legislation dealing with voter identification

to be brought to the floor as a special order with only the consent of a majority of the Senate in-

stead of the two-thirds majority normally required. 195 Disagreements between House Republi-

cans, however, delayed consideration of SB 362 until the end of the session, which allowed

Democrats to successfully “chub” to prevent the House from considering the bill.196 Chubbing is

a sort of filibuster practiced primarily in the Texas House of Representatives. 197 While chubbing

can be used in both the Senate and the House, chubbing is a particularly attractive delaying tactic

in the House, since filibusters are not permitted in the House of Representatives. Because debate

is limited to 10 minutes in duration,198 in the House, however, chubbing is used instead of a fili-

buster. Successful use of chubbing by the minority can be used to slow the legislative process

and even kill legislation.199 In 2009, House Democrats successfully chubbed a voter ID bill and


194
    81 (R) SB 362 Enrolled Version-Bill Text. http://www.legis.state.tx.us/tlodocs/81R/billtext/pdf/SB00362E.pdf
(accessed June 5, 2014).
195
    Jaime Castillo, “Redistricting, voter ID bills take wrong tracks,” San Antonio Evening News, April 1, 2009, p. 1B
196
    Dave Montgomery, “Democrats in House talk to kill voter ID bill,” Fort Worth Star Telegram, May 23, 2009,
B01.
197
    “Fillibusters and Chubbing,” Legislative Reference Library of Texas. May 23, 2011.
http://www.lrl.state.tx.us/whatsnew/client/index.cfm/2011/5/23/Filibusters-and-Chubbing (accessed March 24,
2014); Grant Barrett, ed. The Oxford Dictionary of American Political Slang. New York: Oxford University Press,
2006. p. 80.
198
    Texas House Rules, 83rd Legislature. Austin, TX: Texas Legislative, 2013. pp. 74-75.
199
    Andrew Weber. “Texplainer: What is Chubbing?” The Texas Tribune. Feburary 2, 2011.
http://www.texastribune.org/2011/02/02/texplainer-what-is-chubbing/ (accessed March 24, 2014.


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prevented the bill (SB 362) from reaching the floor by discussing other bills on the Local and

Consent Calendar.200 Chubbing can be ended only if 100 members vote to suspend the rules.201

        As long as Democrats kept up the chub, the House could not vote on any bills, so more

than 200 bills died at the end of legislative session to keep SB 362 from passing. 202 Republicans

blamed Speaker Straus for the failure to pass SB 362 because he complied with legislative pro-

cedure, which accommodated the chub.

B. Minority Demographic Shifts and Electoral Gains Motivate Stricter Voter Identifica-
   tion Requirements

        Two 2010 events changed the face and tone of the Texas congress and made Republi-

cans’ need for voter ID more urgent. First, the 2010 decennial census showed that Texas is now

a majority-minority state. Anglos, though still comprising the plurality, had decreased to less

than 50 percent of the Texas population. Second, Republicans saw a landslide victory in the

2010 midterm elections. In the House, Democrats lost 23 seats, of which 19 were held by Anglo

representatives. The vast majority of Democrats remaining in the house were African American

or Latino. 203 Morgan Kousser referred to this landslide as “The Irony of Victory.” Republicans

swept the elections, yet claimed there was widespread use of voter fraud, presumably to the ad-

vantage of Democrats. After their huge electoral victory, Republicans undermined the confi-

dence in the system that put them in the Capitol. As Sen. John Whitmire replied to voter ID bill




200
    Richard Whitaker. “Chubbing Republicans to Over the Head,” The Austin Chronicle. May 29, 2009.
http://www.austinchronicle.com/news/2009-05-29/787160/ (accessed March 24, 2014); James C. McKinley, Jr.
“The Talk, and the Talk, and the Talk, of Austin,” The New York Times. May 30, 2009. p. A7.
201
    Lyle Brown, Joyce A. Langenegger, Sonia R. Garcia, Ted Lewis, and Robert E. Biles. Practicing Texas Politics:
2013-14 Edition. Stamford, CT: Cenage Learning, 2014. p. 282.
202
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶48.
203
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶49. Of these 23 seats, 19
had been held by Anglos. The vast majority of the remaining Democrats in the House were African American or
Latino representatives.


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sponsor Troy Fraser (R), “Are you suggesting there was significant fraud in that election?”204

Sen. Rodney Ellis (D) suggested Republicans’ real purpose in pushing for voter ID was the

“changing demographics of Texas.”205

         Stymied the previous three sessions and now with their gains from the 2010 election, Re-

publicans were geared to make voter ID their priority for the legislative session. Representative

Wayne Smith (R-Baytown) had learned he would have to take a hard party line if he were to re-

main chair of the Election Committee. He introduced HB 401, a tougher ID bill, in December

2010, immediately after midterm elections. Smith said his constituents wanted “a hard photo

ID.”206 Despite Smith’s efforts, Patricia Harless, a conservative Republican, was named chair of

the Election Committee.207 Representative Debbie Riddle (R-Tomball) was also eager for voter

ID. She waited two days outside the clerk’s office at the beginning of the session so she could be

the first to file an ID bill and, significantly at the same time, an anti-immigration bill.208 Sen.

Fraser, too, began working on new voter ID legislation – what would become SB 14 – immedi-

ately after SB 362 died, on 31 May 2009. Dewhurst’s staff assisted with the drafting of the bill,

and “thus Sen. Fraser was prepared when a wave election cleared remaining procedural hurdles

to passage.”209

      In 2011, Troy Fraser introduced SB 14. Unlike HB 1706, HB 218, and SB 362, SB 14 would

have required voters to present, instead of a voter registration certificate and either one form of



204
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶50 originally in R.G.
Ratcliffe, in HC blogs, “The Lege, Voting,” 26 Jan 2011 <http://blogs.chron.com/texaspolitics/>
205
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶52 originally quoted in
Gary Scharrer, “Senate is set to ponder voter Ids,” SAEN, 21 Jan 2011, 1A
206
    David Montgomery, “Republicans Confident of Passing Texas Voter ID bill,” Fort Worth Star Telegram, De-
cember 18, 2010.
207
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶53.
208
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶51.
209
    DOJ findings of fact/law in Section 5 case, 164.


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acceptable photo identification or two other pieces of identifying documentation, one form of

photo identification. Acceptable forms of photo identification would have included:

         a driver’s license, election identification certificate, or personal identification card issued
          to the person by the Department of Public Safety that has not expired or that expired no
          earlier than 60 days before the date of presentation;
         a United States military identification card that contains the person’s photograph that has
          not expired or that expired no earlier than 60 days before the date of presentation;
         United States citizenship certificate issued to the person that contains the person’s photo-
          graph;
          a United States passport issued to the person that has not expired or that expired no earli-
          er than 60 days before the date of presentation; or
         a license to carry a concealed handgun issued to the person by the Department of Public
          Safety that has not expired or that expired no earlier than 60 days before the date of
          presentation.

          SB 14 permits even fewer forms of acceptable photo identification than previous itera-

tions of the voter identification legislation. While SB 14 continues to allow a driver’s license, a

military identification card, a U.S. passport, and a license to carry a concealed handgun to be

used as a form of photo identification, it only permits the use of these documents if they have not

expired more than 60 days before the date of presentation. Furthermore, while previous versions

of voter identification legislation had allowed voters to present a valid identification card that

contains the person’s photograph and is issued by an agency or institution of the federal govern-

ment or an agency, institution, or political subdivision of Texas, SB 14 makes no such allow-

ance. Significantly, unlike HB 1702, HB 218, or SB 362, SB 14 does not allow voters to substi-

tute two other forms of approved documentation in place of a photo ID, or accept college student

ID, even state supported school IDs.210




210
   82 (R) SB 14 Enrolled Version-Bill Text. http://www.capitol.state.tx.us/tlodocs/82R/billtext/pdf/SB00014F.pdf
(accessed June 6, 2014).


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C. Texas Voter ID Law Compared to Voter ID Laws in Other States

      When one places passage of Texas SB 14 into the larger context of what is happening in

other states and the courts, there is a strong implication of intent to discriminate against minority

voters. The passage of SB 14 was the culmination of repeated attempts to pass increased voter ID

requirements, restricting which IDs would be acceptable. Attempts to pass photo voter ID re-

quirements in Texas occurred as other states attempted to pass similar legislation.

      Since it went to the Supreme Court, the Indiana voter ID case was the one most studied

across the nation. In 2005, Indiana passed a voter identification law which required voters to

present proof of identification, defined as a document that shows the name of the individual to

whom the document was issued, and the name conforms to the name in the individual’s voter

registration record; shows a photograph of the individual to whom the document was issued; in-

cludes an expiration date, and is not expired or expired after the date of the most recent general

election; and was issued by the United States or the state of Indiana. Under the new law, voters

who did not have a photo ID were allowed to cast a provisional ballot. In order to have their

votes counted, voters were required to visit a designated government office within ten days and

either bring a photo ID or sign a statement saying they cannot afford one.211 The District Court

and the Seventh U.S. Circuit Court of Appeals upheld the law, which was then appealed to the

U.S. Supreme Court. In Crawford v. Marion County Election Board (553 U.S. 181 (2008)), the

Supreme Court upheld the election law.212 Also in 2005, Georgia passed a voter identification


211
    Acts 2005, First Regular Session of the 114th Indiana General Assembly. P.L.109-2005
[S.483. Approved April 27, 2005]. http://www.in.gov/legislative/pdf/acts_2005.pdf 109 (accessed June 5, 2014).
212
    Crawford v. Marion County Election Board (553 U.S. 181, 128 S. Ct. 1610, 170 L. Ed. 2d 574, 2008 WL
1848103, 2008 U.S. LEXIS 3846). Justice Stevens, in the majority opinion, stated that “each of Indiana’s asserted
interests in unquestionably relevant to its interests in protecting the integrity and reliability of the electoral process.”


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law, HB 244, which required voters to present proof of identification. Acceptable proofs of iden-

tification included: a Georgia driver’s license that was properly issued by the appropriate state

agency; a valid Georgia voter identification card or other valid identification card issued by a

branch, department, agency, or entity of the State of Georgia, any other state, or the United

States authorized by law to issue personal identification, provided that such identification card

contains a photograph of the elector; a valid United States passport; a valid employee identifica-

tion card containing a photograph of the elector and issued by any branch, department, agency,

or entity of the United States government, Georgia, or any county, municipality, board, authority,

or other entity of Georgia; a valid United States military identification card, provided that such

identification card contains a photograph of the elector; or a valid tribal identification card con-

taining a photograph of the elector. Student photo IDs from public colleges and universities are

also acceptable forms of voter identification.213 HB 244 dramatically reduced the number of ac-

ceptable forms of voter identification from 17 to 6. Under the law, those unable to produce any

of the items of identification would be allowed to vote a provisional ballot upon swearing or af-

firming that the elector is the person identified in the elector’s voter certification. The provisional

ballot would only be counted if the registrars were able to verify current and valid identification

of the elector.214 In September 2005, Common Cause/Georgia and others filed a lawsuit, Com-

mon Cause/Georgia v, Billups, against various Georgia county Boards of Elections and then-

Secretary of State Cathy Cox challenging the constitutionality of the new law. On 18 October

2005, the U.S. District Court for the Northern District of Georgia enjoined the voter identifica-



213
    “I Vote Students Corner: Beyond High School.” Georgia Secretary of State.
<http://sos.ga.gov/index.php/elections/students_corner>(accessed June 23, 2014).
214
    Georgia Legislature, 2005-06 session, House Bill 244 (As Passed by House and Senate). Section 59.
http://www.legis.ga.gov/Legislation/20052006/52923.pdf (accessed June 5, 2014).


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tion law.215 The case was then appealed to the US Court of Appeals for the Eleventh District. In

2006, the Georgia legislature passed SB 84, which required that “each county board of registrars

shall provide at least one place in the county at which it shall accept applications for and issue

Georgia voter identification cards to registered Georgia electors which shall under state law be

valid only for purposes of voter identification under Code Section 21-2-417 and available only to

registered electors of this state. No fee shall be charged or collected for the application for or is-

suance of a Georgia voter identification card.”216 On 26 April 2006, the plaintiffs in the case filed

a second amended complaint to reflect these changes, and the District Court enjoined enforce-

ment of SB 84 on 14 July 2006. The Court again enjoined enforcement of the amended law on

15 September 2006, but on 6 September 2007, the District Court upheld the voter identification

law.217

          The more restrictive requirements of SB 14 and its predecessor, SB 362, seem to be

counter-intuitive if, like supporters of photo voter identification argued, the legislation was in-

tended to reduce voter fraud, and points instead toward intent to discriminate against minority

voters. The voter identification laws of both Indiana and Georgia were upheld by federal courts

in 2008 and 2007, respectively. In Crawford v. Marion County Board of Elections, the Supreme

Court ruled that voter identification laws were constitutional if the laws balanced the state’s le-

gitimate interest in preventing fraud with the need to expand the franchise to as many voters as

possible.218 Since 2011, 14 states, eight of which are in the South (including Texas), have passed

voter ID laws, many with requirements similar to those of Indiana and Georgia. Texas’s and

215
    Tom Crawford. “Voter ID Law is Enjoined,” Tom Crawford’s Georgia Report. October 18, 2005.
http://gareport.com/story/2005/10/18/voter-id-law-is-enjoined/(accessed June 5, 2014).
216
    Georgia Legislature, 2005-2006 session, House Bill 84 (As Passed) Section 2.
http://www.legis.ga.gov/Legislation/20052006/54785.pdf(accessed June 5, 2014).
217
    “Common Cause/Georgia v. Billups.” Brennan Center for Justice. June 5, 2008.
http://www.brennancenter.org/legal-work/common-causegeorgia-v-billups (accessed June 5, 2014).
218
    Crawford v. Marion County Election Board, 553 U.S. 181 (2008).


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South Carolina’s attempt to pass voter ID laws paralleled one another. While awaiting the U.S.

Department of Justice’s (DOJ) decision on preclearance under Section 5 of the Voting Rights

Act for SB 14, Texas noted that the DOJ objected to South Carolina’s implementation of a voter

ID law, and Texas then requested judicial preclearance from the courts. South Carolina’s voter

ID law, H 3003 (2011) required voters to produce a “valid and current” South Carolina driver’s

license, any other photo ID issued by South Carolina Department of Motor Vehicles; U.S. pass-

port; U.S. military photo ID; or a new, free ID card for voters, a South Carolina voter registration

card with photo.219 But when challenged in court, as Texas SB 14 had been, the South Carolina

attorney general assured the courts that, under a very expansive reading of the South Carolina

law’s “safety valve” provision, no one would be kept from voting if they did not have one of the

required picture IDs, and the Court reflected that in its opinion.220 The authors of SB 14 and its

predecessor, SB 362, had to be aware of the South Carolina ruling as well as the Indiana and

Georgia rulings, and, instead of emulating the more inclusive voter identification laws of Indiana

that had received approval from the Supreme Court, crafted increasingly exclusionary voter iden-

tification requirements. In Common Cause/Georgia v. Billups, a major cause behind the favora-

ble ruling of the Eleventh Circuit Court of Appeals was the 2006 version of Georgia’s voter iden-

tification law, SB 84, which provided a way for voters to obtain, for no cost, photo identification,

and Georgia also accepted public or state school student IDs. Even as the federal courts articu-

lated the need for less restrictive voter identification requirements, Texas legislators worked to

enact more restrictive voter identification requirements. And certainly the South Carolina trial

and decision made it clear what courts expected. Even as the federal courts articulated the need


219
    South Carolina General Assembly, 119th Session, 2011-2012, House Bill 3003 (As Signed by the Governor).
http://www.scstatehouse.gov/sess119_2011-2012/bills/3003.htm (accessed June 12, 2014).
220
    South Carolina v. United States, 898 F. Supp. 2d 30 (D.D.C. 2012).


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for less restrictive voter ID requirements, succeeding Texas legislatures worked to enact more

restrictive voter ID requirements.

D. SB 14 Passage Characterized by Legislative Irregularities

        Republicans in the Texas legislature took advantage of legislative rules and traditions and

success in the 2010 elections to force the passage of SB 14. First, Senate rules continued to ex-

empt voter identification legislation from the two-thirds rule. In 2009, the Senate passed SR 14,

which amended Senate Rule 5.11. Rule 5.11 governs special orders. It mandates that “any bill,

resolution, or other measure may on any day be made a special order for a future time of the ses-

sion by an affirmative vote of two-thirds of the members present.” In 2009, however, the Senate

approved a change which allowed voter identification requirement legislation to be exempted

from this rule. Rule 5.11(d) stated that “a bill or resolution relating to voter identification re-

quirements reported favorably from the Committee of the Whole Senate may be set as a special

order for a time at least 24 hours after the motion is adopted by a majority of the members of the

Senate.”221 This rule was carried over into the rules for the Senate rules adopted by the 82nd leg-

islature on 19 January 2011.222

        Second, on 20 January 2011, Governor Rick Perry declared voter identification require-

ments be an emergency item, which allowed lawmakers to begin considering the issue in the ini-

tial 30 days of the legislative session.223 During the first 60 days of a session, the Texas legisla-




221
     Texas Senate Resolution 14; Legislative Session 81 (R). 01/14/2009.
http://www.legis.state.tx.us/tlodocs/81R/billtext/pdf/SR00014F.pdf (accessed June 3, 2014)
222
     Senate Rules. Adopted by the 82nd Legislature, January 19, 2011.
223
    “Gov. Perry Adds Voter I.D. and Balanced Budget Amendment to Emergency Items for Legislative Session.”
Office of the Governor, Rick Perry. January 20, 2011. http://governor.state.tx.us/news/press-release/15602/ (ac-
cessed June 3, 2014).


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ture is barred from passing legislation, unless an issue is declared an emergency by the gover-

nor.224

          Perry named three emergency measures; one of the others also targeted Latinos and dealt

with an imagined immigration problem by “outlawing non-existent ‘sanctuary cities’ for illegal

immigrants.”225 Perry included the voter ID bill as an emergency item just one day after the Sen-

ate adopted Rule 5.11(d).226

          Third, on 21 January 2011, Lieutenant Governor David Dewhurst notified the Senate that

the Committee on the Whole would consider SB 14 on 24 January 2011. Dewhurst expedited the

passage of SB 14; Senator Fraser originally filed his photo identification bill as SB 178, but he

was permitted to re-file the bill using a low bill number reserved by Dewhurst for legislative pri-

orities.227

          Fourth, two elected House Democrats switched parties. This meant that if all the Demo-

crats left the state, as they had done during the highly divisive 2003 redistricting plans, Republi-

cans still had a quorum. Furthermore, Republicans had a two-thirds majority in the House,

meaning they could suspend the rules anytime and break a Democratic chub.228

          Republicans in the House also adopted a rule which limited the consideration of a bill on

Local, Consent, and Resolutions calendar to one calendar day. An unfinished Local and Consent

calendar would no longer have special status requiring it to be considered first the very next day.




224
    Ross Ramsey. “Texplainer: What’s an Emergency Item in Texas?” The Texas Tribune. January 12, 2011.
http://www.texastribune.org/2011/01/12/texplainer-whats-an-emergency-item-in-texas/ (accessed June 2, 2014).
225
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶54.
226
    DOJ findings of fact/law in Section 5 case, 170-173.
227
    DOJ findings of fact/law in Section 5 case, 174.
228
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶53.


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Local bills not considered would go to the next Local and Consent calendar. This rule change

was designed to prevent Democrats from chubbing to prevent consideration of legislation.229

        With some of typical House and Senate rules suspended and in the wake of the 2010 elec-

tions, Democrats in both chambers knew they would be unable to stop SB 14 from passing. But

they fought anyway.

        On 21 January 2011, Dewhurst announced to the Senate that SB 14 would go to the Tex-

as Senate Committee of the Whole in three days. This was such unusually short notice that many

senators expressed concern they would not have the time to find any witnesses for the hearing. 230

In the Senate, legislators proposed 37 amendments to SB 14. Twenty-eight were tabled and nine

were adopted, and in the end only six passed.231 Democrats’ amendments focused on making

more IDs eligible, providing more information to voters, relieving the burden on voters to obtain

identification, and studying the effects of the voter ID law on minorities. 232 Democrats stressed

the hardships voters faced in getting identification from distant and often understaffed DPS of-

fices, and they pointed out SB 14 was more restrictive than the Indiana or Georgia laws, which

legislators had looked to as models.233 Republican Sen. Lloyd Duncan, a supporter of the bill,

added provisions to SB 14 that would alleviate the burden on voters who could not afford the

cost of a birth certificate, but the House removed the provision.234 Senators and witnesses testi-

fied and made statements that they were concerned that SB 14 would lead to minority disfran-

chisement.235 In the end, SB 14 passed the Senate in a highly racially polarized vote; no minori-


229
    Rules and Precedents of the Texas House, 82nd Legislature (Austin, TX: Texas Legislative Council, 2011), p. 31;
Robert T. Garrett, “Republicans act to avert Dems’ stalling,” Dallas Morning News, January 25, 2011, A03.
230
    DOJ findings of fact/law in Section 5 case, 174.
231
    DOJ findings of fact/law in Section 5 case, 186.
232
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶112, 54.
233
    Expert Report and Rebuttal Report of Kousser, J. Morgan, Ph.D. for Texas v. Holder, ¶54.
234
    DOJ findings of fact/law in Section 5 case, 185.
235
    DOJ findings of fact/law in Section 5 case, 175, 177-178.


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ty senators voting for it and nearly all Anglo senators voting for it. 236 As the Justice Department

noted, “It is unusual for legislation to pass the Senate within the legislative session’s first two

weeks.”237

         In the House, Speaker Straus announced SB 14 would be on a “fast track” Select Com-

mittee on Voter Identification and Voter Fraud, the only committee “fast tracked” that session,

and its only legislation was SB 14.238 The Select Committee had one hearing on SB 14. Wit-

nesses testified that voter ID laws had a negative impact on minority voters, and most voters who

cast provisional ballots do not return to verify their identities. No one testified to accounts of

fraud in the election system. Some witnesses did offer testimony about noncitizens voting, but

they could not provide evidence or examples.239

         The House proposed 53 amendments; 35 were tabled, 3 failed, and 15 were adopted.

Several of the amendments that passed were removed prior to enactment. Democrats’ amend-

ments focused on mitigating the cost on voters and the impact on minority voters, including by

prohibiting DPS from charging a fee for underlying ID; reimbursing the costs for indigent indi-

viduals to travel to obtain compliant ID; requiring a study showing no adverse impact on minori-

ties; requiring the Secretary of State to determine whether a majority of voters who cast provi-

sional ballots were minorities; requiring a study by county and ethnicity to determine access to

necessary ID and analysis of impact on voters; and, allowing county clerks to issue voter ID

cards.240 Because of the Republican win in 2010, voter ID legislation had a “foolproof majority”

in the House, and advocates of the law saw compromising with Democrats as “not relevant.”


236
    DOJ findings of fact/law in Section 5 case, 120A.
237
    DOJ findings of fact/law in Section 5 case, 188.
238
    DOJ findings of fact/law in Section 5 case, 192.
239
    DOJ findings of fact/law in Section 5 case, 195-196.
240
    DOJ findings of fact/law in Section 5 case, 200.


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One legislator explained that they “had their minds made up” before the debate and already knew

“we’re not taking any amendments.”241

        In the House, no racial minority Democrats voted for SB 14, and the “minority legislators

who voted in favor of SB 14 either did not receive the support of minority constituencies or

switched parties after the 2010 election.”242

        Later the conference committee narrowed the acceptable identification even more by re-

moving tribal ID and also eliminated a provision that prioritized voter education programs to mi-

nority and low-income communities.243 Perry signed SB 14 into law on 27 May 2011. As the

Department of Justice noted in its Finding of Fact/Law in the Section 5 case, “The bill analysis

prepared in his office included no analysis of the bill’s impact on minority voters….In a contem-

poraneous signing statement, he equated voting with cashing a check or applying for a library

card,”244 ignoring that access to the ballot is a constitutionally-protected right.

E. The Hurried, Problematic Implementation of SB 14

        On the morning of 25 June 2013, in its decision in Shelby County v. Holder, the U.S. Su-

preme Court found part of the Voting Rights Act to be unconstitutional, giving Texas the au-

thority to implement SB 14 without being subjected to Section 5 preclearance.245

        Almost immediately after the Supreme Court ruled on Shelby County v. Holder, Texas

Attorney General Greg Abbott announced that Texas would begin the process of implementing

SB 14, the Texas voter ID law. Within two hours after the announcement of the Court’s deci-

sion, Abbott declared in a statement that “With today’s decision, the State’s voter ID law will


241
    DOJ findings of fact/law in Section 5 case, 193-194.
242
    DOJ findings of fact/law in Section 5 case, 120B-C.
243
    DOJ findings of fact/law in Section 5 case, 204.
244
    DOJ findings of fact/law in Section 5 case, 205.
245
    Shelby County, Alabama v. Holder (570 U.S._ (2013)) at pp. 11, 21.


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take effect immediately. Redistricting maps passed by the Legislature may also take effect with-

out approval from the federal government.”246 On Wednesday, 26 June, Texas Governor Rick

Perry signed three redistricting bills, setting the district boundaries for the U.S. House of Repre-

sentatives, the state Senate, and the state House.247 On Thursday, 27 June, the Supreme Court

vacated an earlier decision made by a federal district court in D.C. that had denied federal pre-

clearance of Texas’s voter ID and redistricting laws,248 and the Texas Department of Public Safe-

ty began issuing election identification certificates (EICs) to voters.

        In the first few days of the implementation of SB 14, it became apparent that the process

would be plagued with difficulties. In order to obtain a “free” EIC, voters were required to apply

in person at a Texas DPS office. Seventy counties in Texas, however, did not provide Texas DPS

offices when the implementation process began, and uncertainty about the process was wide-

spread.249 More problems with the implementation of the voter identification law soon became

evident. Some women voters encountered problems when trying to cast their ballots because

their maiden names were listed as their middle name on their driver license or other forms of

identification, while on state voting rolls given middle names were used instead.250 The law re-

quires that voters bring a form of photo identification, and that the name on that photo identifica-




246
    “Statement by Texas Attorney General Greg Abbot.” www.oag.state.tx.us. June 25, 2013.
https://www.oag.state.tx.us/oagNews/release.php?id=4435 (accessed March 23, 2014).
247
    Tim Eaton. “Perry Signs Redistricting Maps,” American-Statesman, June 26, 2013.
http://www.statesman.com/news/news/perry-signs-redistricting-maps/nYXFZ/ (accessed March 23, 2014).
248
    “Supreme Court Throws Out D.C. Court’s Rulings Against Texas’ Voter ID, Redistricting Bills.”
www.oag.state.tx.us. June 27, 2013. https://www.oag.state.tx.us/oagNews/release.php?id=4438 (accessed March 23,
2014).
249
    Casey Michael. “New Voter ID, Unavailable in Seventy Counties in State, Opens With Wealth of Issues Remain-
ing,” HoustonPress. June 28, 2013. http://blogs.houstonpress.com/hairballs/2013/06/voter_id_problems_texas.php
(accessed March 23, 2014).
250
    Wade Goodwyn. “Texas' Voter ID Law Creates A Problem For Some Women,” National Public Radio. October
30, 2013. http://www.npr.org/2013/10/30/241891800/texas-voter-id-law-creates-a-problem-for-some-women (ac-
cessed March 23, 2014).


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tion match the name of the official list of registered voters. Implementation of the voter identifi-

cation bill has been complicated by the speed at which the law has been implemented.251

        National Public Radio (NPR) carried a story by Wade Goodwyn, “Texas’ voter ID law

creates a problem for some women,” on 30 October 2013. It recounted that the courts had

blocked Texas voter ID laws because “it would potentially disenfranchise hundreds of thousands

of minority voters.” Upon the implantation of “one of the most restrictive voter ID laws in the

nation,” it is also affecting others. Commenting on the voter IDs that Texas accepts, NPR noted,

“it is fine to use a concealed handgun carry permit to vote, but a student can’t use his or her uni-

versity photo ID as he could before. Texas Democrats complain that’s because those who carry

concealed tend to vote Republican while university students tend to vote Democratic.”

        The Democratic candidate for governor, state Sen. Wendy Davis, was forced to sign an

affidavit before she could vote , as was her colleague Sen. Leticia Van de Putte. Only because of

Wendy Davis’ amendment to SB 14, one of the few passed on SB 14 and one that allowed voters

with names that were close but not a complete match to cast a provisional ballot at the polls,

could these women cast even a provisional vote.252 Ironically, Texas General Attorney Greg

Abbott, who previously sought to indict those involved in the “epidemic of voter fraud” and a

champion of strict voter ID law, had to utilize Senator Davis’ amendment. His photo ID lists his

name as “Gregory Abbott,” but his voter registration is for “Greg Abbott.”253

        Implementation of the voter identification bill has been complicated by the speed at

which the law has been implemented. For the first primary, in March 2014, Meg Bonacorsi wrote


251
    ibid.
252
     Meg Bonacorsi, “Low turnout for voter identification program,” KXXV News Channel 25, February 25, 2014.
<http://www.kxxv.com/story/24821425/low-turnout-for-voter-identification-program>(accessed June 23, 2014)
253
    Dan Solomon, “Prominent Texans Who Have Struggled To Vote Under Texas’ New Voter ID Law,” Texas
Monthly, November 5, 2013.


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in an article on a Dallas Television website in late February, “Low turnout for voter identifica-

tion program,” that the DPS “is responsible for issuing election identification certificates, but not

many people are getting them.” According to Bonacorsi, since the DPS set up mobile stations to

“process election identification certificates or EIC’s” in June, fewer than 200 individuals had ac-

quired EICs. Noting that there are fewer mobile stations for primaries than the general election,

she reported that there is “only one open in our area this time around is in Falls County and they

haven’t had anyone come in.254

        A story titled “Texas granny collides with Texas voter ID law” in the Texas “progres-

sive” political blog called Crooks and Liars was picked up by a number of news outlets. The ar-

ticle explained all the difficulties that 80-year-old Laura Troth encountered in trying to vote, and

it provides a good illustration of all the hidden costs, a kind of subtle poll tax, of the new Texas

voter ID law. Twice she tried, and each time, “there was something else, another document, an-

other piece of proof she needed to convince the clerks that she’s the woman pictured in her ex-

pired Texas driver’s license.” Troth was not allowed to vote because she did not have a photo ID

so that very day a friend drove her to the DPS Office to acquire her voter ID, and she presented

her expired driver’s license, Social Security card, and Medicare card. The DPS worker told her

she needed her birth certificate. She returned with the birth certificate and described the clerk,

the same she had dealt with the first time as “rude.” That clerk then informed Troth that the

“birth certificate wasn’t good enough because the name on it differed from her married name.”

Troth explained, “I told them I didn’t get married out of the womb.” The clerk told Troth she

had to come back a third time, and to bring her marriage license, and that her daughter with

whom she lived, Alana Troth, needed to accompany her mother, “in person to verify her mother's

254
    Meg Bonacorsi, “Low turnout for voter identification program,” KXXV News Channel 25, February 25, 2014.
<http://www.kxxv.com/story/24821425/low-turnout-for-voter-identification-program>(accessed June 23, 2014)


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residency.” Troth, who was a licensed vocational nurse and who sees herself as neither Republi-

can or Democrat, protested, “I just don’t understand why they’re trying to keep me from voting

….To me, they’re taking my rights away.” The liberal blogger commented on how married

names are a problem for women, and raged, “This stupid law designed to solve a non-existent

problem only makes it worse.”255

        In another story, Dr. Mark McKenzie, a political science professor at Texas Tech, wor-

ried that there has been inadequate preparation for the actual people supervising elections. “It’s

unclear to me that the election officers will even inform the voters who vote provisionally that in

order for their vote to count they have to go back and show more documents.” 256 Even after the

1965 Voting Rights Act, local poll workers had too much discretion in determining who could

vote and who could not. Local election officials must be properly trained to apply the law equal-

ly to all voters because historically such officials have served as the last blockade to minority

voters’ right to cast a ballot.

        Patrick Michels, a reporter for a weekly newspaper, The Texas Observer, recounted the

well-known stories of the Greg Abbott and Senators Wendy Davis and Leticia Van de Putte, who

“had to sign affidavits in order to vote because the names of their IDs don’t exactly match their

voter registrations.” He also told the ordeal of the 90-year-old former Speaker of the U.S.

House, Jim Wright, who needed someone to drive him to a DPS office to get a voter ID card,

Michels, explained that for ordinary citizens, including elderly, the poorer, and minorities, “will

struggle with his system, or choose not to, quietly. They won’t have time to miss work while a

poll worker confirms their ID over the phone.” Unlike Wright, most “won’t have a personal as-

255
    karoli, “Texas Granny Colides With Texas Voter ID Law,” CrooksandLiars, February 12, 2014,
http://crooksandliars.com/2014/02/texas-granny-collides-texas-voterid-law (last accessed June 27, 2014).
256
    The Two-Way, “Supreme Court Strikes Down Key Provision Of Voting Rights Law, NPR broadcast.



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sistant to drive them around town.” Michels predicted that “Texas’ voter ID law is so dangerous

because its real harm is difficult to measure. The state that already has the lowest voter turnout in

the nation just sinks a little lower. High-level election administrators will simply see a system

running smoothly. And the prevalence of voter fraud will remain steady at almost zero.”257 A

number of the stories commented on the pretext that the law was to reduce or forestall in-person

voter fraud, all noting that there was none, or at most one case could be documented.

        As the chair of the History Department at the University of Texas, who also is African

American and a noted scholar of Texas politics and race, informed me, “The rollout of the law

has been a bit intimidating. We are constant[ly] warned that we will not be able to vote if we

forget our picture ID or if we do not have the registration card. As you will read, the law also

expects everyone to have access to a computer to find your precinct. Of course, my precinct has

changed three times in the last two years because of the changes wrought by the ID law.”258




257
    Patrick Michels, “Texas’ Voter ID Law: Nothing to See Here, Move Along,” Texas Observer, Tuesday, Novem-
ber 5, 2013< http://www.texasobserver.org/texas-voter-id-law-move-along/ >(accessed June 23, 2014)
258
    Email to Vernon Burton from Marvin Dulaney, March 17, 2014.


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